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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. CR 12-0128 JB

RAMON GONZALEZ, SR.,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Motion to Suppress, filed August 7,

2014 (Doc. 675)(“Motion”). The Court held evidentiary hearings on the Motion on January 22,

2015, January 28, 2015, and January 30, 2015. The primary issues are: (i) whether the United

States Drug Enforcement Agency’s investigation of the Homero Varela Drug-Trafficking

Organization (“Varela DTO”) gave Luis Almonte and Manny Marquez -- sheriff’s deputies with

the El Paso County Sheriff’s Office -- probable cause to stop Defendant Ramon Gonzalez, Sr.’s

truck and to search his trailer on November 10, 2011; (ii) whether the Court will suppress the

cocaine and marijuana that Almonte and Marquez discovered in Gonzalez, Sr.’s trailer, and

Gonzalez, Sr.’s post-arrest statements as fruit of an unlawful search and seizure under the Fourth

Amendment to the United States Constitution; and (iii) whether, if the Court cannot impute

probable cause from the DEA’s investigation of the Varela DTO to Almonte and Marquez, their

stop of Gonzalez, Sr.’s truck and search of Gonzalez, Sr.’s trailer violated the Fourth

Amendment. Under the collective knowledge doctrine, the DEA’s investigation of the Varela

DTO gave Almonte and Marquez probable cause to stop Gonzalez, Sr.’s truck and to search his

trailer. Accordingly, the Court will not suppress the cocaine and marijuana that the deputies
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discovered in Gonzalez, Sr.’s trailer, and will not suppress Gonzalez, Sr.’s post-arrest statements

as the fruit of an unconstitutional search or seizure.1 If the Court could not impute probable

cause from the DEA’s investigation to the deputies, however, their search of Gonzalez, Sr.’s

trailer was unlawful, and the Court would suppress the drugs that they discovered during their

search and Gonzalez, Sr.’s post-arrest statements as the fruit of an unlawful search and seizure.

Consequently, the Court will deny the Motion.

                                 FACTUAL BACKGROUND

       When ruling on a motion to suppress, the Court must state its essential findings on the

record. See Fed. R. Crim. P. 12(d) (“When factual issues are involved in deciding a motion, the

court must state its essential findings on the record.”). This Memorandum Opinion and Order’s

findings of fact shall serve as the Court’s essential findings for rule 12(d)’s purposes. The Court

makes these findings under the authority of rule 104(a) of the Federal Rules of Evidence, which

requires a judge to decide preliminary questions relating to the admissibility of evidence,

including the legality of a search or seizure, and the voluntariness of an individual’s confession

or consent to search.     See United States v. Merritt, 695 F.2d 1263, 1269-70 (10th Cir.

1982)(“[U]nder Rule[] 104(a) . . . , the district court ‘is not bound by the Rules of Evidence

except those with respect to privilege.’” (quoting United States v. Matlock, 415 U.S. 164, 174

(1974))). In deciding such preliminary questions, the other rules of evidence, except those with

respect to privileges, do not bind the Court. See Fed. R. Evid. 104(a) (“The court must decide

any preliminary question about whether a witness is qualified, a privilege exists, or evidence is

admissible. In so deciding, the court is not bound by evidence rules, except those on privilege.”).



       1
        The Motion does not raise any Fifth Amendment challenges to Gonzalez, Sr.’s
statements, but argues only that they are “fruit of the poisonous tree[,] because the arrest and
comments made were a direct result of the drugs found during the illegal search.” Motion at 8.
                                               -2-
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Thus, the Court may consider hearsay in ruling on a motion to suppress. See United States v.

Merritt, 695 F.2d at 1269 (“The purpose of the suppression hearing was, of course, to determine

preliminarily the admissibility of certain evidence allegedly obtained in violation of defendant’s

rights under the Fourth and Fifth Amendments. In this type of hearing the judge had latitude to

receive it, notwithstanding the hearsay rule.”); United States v. Garcia, 324 F. App’x 705, 708

(10th Cir. 2009)(unpublished)2(“We need not resolve whether Crawford [v. Washington, 541

U.S. 36 (2004)]’s3 protection of an accused’s Sixth Amendment confrontation right applies to

suppression hearings, because even if we were to assume this protection does apply, we would

conclude that the district court’s error cannot be adjudged ‘plain.’”); United States v. Ramirez,

388 F. App’x 807, 810 (10th Cir. 2010)(unpublished)(“It is beyond reasonable debate that



       2
         United States v. Garcia is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See
10th Cir. R. 32.1(A), 28 U.S.C. (“Unpublished opinions are not precedential, but may be cited
for their persuasive value.”). The Tenth Circuit has stated:

       In this circuit, unpublished orders are not binding precedent, . . . and we have
       generally determined that citation to unpublished opinions is not favored.
       However, if an unpublished opinion or order has persuasive value with respect to
       a material issue in a case and would assist the court in its disposition, we allow a
       citation to that decision.

United States v. Austin, 426 F.3d 1266 (10th Cir. 2005). The Court finds that United States v.
Sauzamedz-Mendoza, 595 F. App’x 769 (10th Cir. 2014)(unpublished), United States v. Garcia,
United States v. Ramirez, 388 F. App’x 807 (10th Cir. 2010)(unpublished), United States v.
Montes-Ramos, 347 F. App’x 383 (10th Cir. 2009)(unpublished), United States v. Olivares-
Campos, 276 F. App’x 816 (10th Cir. 2008)(unpublished), United States v. Romero, 247 F.
App’x 955 (10th Cir. 2007)(unpublished), United States v. Reed, 195 F. App’x 815 (10th Cir.
2006)(unpublished), United States v. Wilson, 96 F. App’x 640 (10th Cir. 2004)(unpublished),
United States v. Herrell, 41 F. App’x 224 (10th Cir. 2002)(unpublished), all have persuasive
value with respect to material issues, and will assist the Court in its disposition of this
Memorandum Opinion and Order.
       3
        Crawford v. Washington stands for the proposition that testimonial out-of-court
statements against an accused are inadmissible at trial unless the witness is unable to testify and
the defendant had a previous opportunity to cross examine the witness. See 541 U.S. at 53-54.
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Ramirez’s counsel were not ineffective in failing to make a Confrontation Clause challenge to

the use of the confidential informant. The Supreme Court has not yet indicated whether the

Confrontation Clause applies to hearsay statements made in suppression hearings.”). Cf. United

States v. Hernandez, 778 F. Supp. 2d 1211, 1226 (D.N.M. 2011)(Browning, J.)(concluding “that

Crawford v. Washington does not apply to detention hearings”).4

       1.      The DEA’s Investigation of the Varela DTO.

       1.      Special Agent Gerald Maestas has worked for the DEA for approximately fifteen

years, and has been involved in at least ten wiretap investigations. See Transcript of Hearing at

19:17-23 (taken January 22, 2015)(Maestas), filed March 30, 2015 (Doc. 753)(“Jan. 22, 2015,

Tr.”); id. at 27:7-9 (Maestas).

       2.      By the time Maestas reviewed the intercepted telephone calls related to what

would later become known as the El Paso Drug Seizure -- i.e., the seizure of the cocaine and

marijuana that the deputies discovered in Gonzalez, Sr.’s trailer -- he had spent approximately




       4
         Gonzalez, Sr. does not object under Crawford v. Washington to any evidence in this
case; the Court, therefore, need not decide whether Crawford v. Washington applies to
suppression hearings. The Court notes, however, that the courts that have decided whether the
Confrontation Clause applies to suppression hearings have found that Crawford v. Washington
does not apply to suppression hearings. See Ebert v. Gaetz, 610 F.3d 404, 414 (7th Cir.
2010)(Tinder, J., joined by Posner & Rovner, JJ.)(holding the right of confrontation does not
apply at a suppression hearing); United States v. Garcia, 324 F. App’x at 708 (“There is no
binding precedent from the Supreme Court or this court concerning whether Crawford applies to
pretrial suppression hearings. To the extent that we can divine clues from our case law
concerning the resolution of this issue, they do not benefit Mr. Garcia.”). Cf. United States v.
Morgan, 505 F.3d 332, 339 (5th Cir. 2007)(“[W]e hold that Crawford v. Washington does not
apply to the foundational evidence authenticating business records in preliminary determinations
of the admissibility of evidence.”); United States v. Saneaux, 365 F. Supp. 2d 493, 498 n.5
(S.D.N.Y. 2005)(concluding that Crawford v. Washington does not apply to determining whether
a statement is admissible under the co-conspirators hearsay exception: “[B]ecause the Court is
not bound by the Rules of Evidence in the disposition of preliminary matters such as this one, I
may properly consider such evidence even if it cannot be introduced at trial.”).

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eight months as the case agent in charge of the DEA’s investigation of the Varela DTO. See Jan.

22, 2015, Tr. at 27:14-18 (Swainston).

       3.      The DEA’s investigation of the Varela DTO involved, among other things: (i) the

development and use of at least eight confidential sources, who collectively provided reliable,

active, and historical information about the organization, Varela, Gonzalez, Sr., and numerous

other associates of the organization dating back to at least 2009; (ii) the use of undercover

agents; (iii) the review and analysis of electronic data, which included an analysis of the use of

cellular telephones by members and associates of the Varela DTO; (iv) physical surveillance,

including the use of a pole camera; and (v) the examination of discarded trash. See Jan. 22,

2015, Tr. at 27:19-29:16 (Swainston).

       4.      Beginning in July, 2011, the United States District Court for the District of New

Mexico authorized four wiretaps for the DEA’s investigation. See Jan. 22, 2015, Tr. at 29:16-21

(Swainston).

       5.      In July, 2011, Maestas identified Gonzalez, Sr. as a drug smuggler, a Sinaloa

Cartel associate, and a Varela associate. See Jan. 22, 2015, Tr. at 29:24-30:6 (Swainston).

       6.      The DEA began intercepting telephone calls between Varela and Jaime Ibarra-

Solis, whom Maestas had identified as Varela’s primary source of supply of illegal drugs. See

Jan. 22, 2015, Tr. at 30:14-18 (Swainston).

       7.      Maestas determined, through reviewing telephone toll records5 and intercepted

communications from Varela and others, that Gonzalez, Sr. was communicating with J. Ibarra-

Solis. See Jan. 22, 2015, Tr. at 30:19-21 (Swainston).



       5
        The Honorable D. Brook Bartlett, then-Chief Judge of the United States District Court
for the Western District of Missouri, provides the best explanation of telephone toll records that
the Court has found. According to Judge Bartlett, telephone toll records
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       8.      From November 3, 2011, through November 11, 2011, the DEA intercepted

approximately twenty pertinent telephone calls between: (i) Varela and J. Ibarra-Solis; (ii) Varela

and Gonzalez, Sr.’s nephew, Andres Gonzalez; (iii) Varela and Gonzalez, Sr.’s son, Ramon

Gonzalez, Jr.; (iv) Varela and Steve Chavez; and (v) Varela and Gonzalez, Sr. See Jan. 22, 2015,

Tr. at 31:2-7 (Swainston).

       9.      Based on his assessment of the intercepted communications, Maestas believed

that a shipment was about to occur, in which Gonzalez, Sr. and A. Gonzalez would transport

cocaine from J. Ibarra-Solis to Varela. See Jan. 22, 2015, Tr. at 31:12-18 (Swainston).

       10.     On or about November 9, 2011, Maestas directed other agents and officers to use

a “walled-off stop”6 to intercept the shipment in El Paso, Texas. Jan. 22, 2015, Tr. at 32:19-24

(Swainston).

       2.      Wiretap Evidence Showing a Drug Shipment Was Likely Imminent.

       11.     What follows in the findings of fact is primarily Maestas’ interpretation of the

intercepted communications, with which the Court agrees; following each finding of fact, there is

a citation sentence that provides a direct quotation or synopsis of the telephone conversation --



       cover[] all records maintained of individual calls made from a particular
       telephone number or attributed to it that are or could be the subject of a
       particularized charge depending on the billing plan offered by the provider and
       accepted by the customer. In other words, a telephone toll billing record is broad
       enough to cover all records of calls from or attributed to a particular number,
       regardless of whether, in fact, a separate charge is assessed for each call.

In re Matter of Grand Jury Subpoenas to Sw. Bell Mobile Sys., Inc., 894 F. Supp. 355, 359
(W.D. Mo. 1995).
       6
        A walled-off stop is when officers who are not involved in the wiretap investigation
obtain their own probable cause -- typically based on a motor vehicle code violation --
independent of the wiretap investigation to do a traffic stop of the target vehicle. See Jan. 28,
2015, Tr. at 185:14-24 (Swainston, Lopez).


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translated from Spanish into English -- that Maestas is interpreting. It appears that, where the

direct quotation or synopsis includes pronouns, the Spanish translator attempted to identify each

pronoun’s antecedent in parentheses. In other words, the content in the parentheses was not

explicitly stated during the telephone conversations, but added by whomever interpreted the

calls. This information is the rawest data that the Court has for these telephone conversations.

Gonzalez, Sr. has not argued that any of the synopses or direct quotations inaccurately translated

Spanish into English.7

                 a.       Telephone Conversations Between Varela and J. Ibarra-Solis.

       12.       In a November 2, 2011, telephone call, Varela told J. Ibarra-Solis that he was

preparing a horse trailer that would be ready in January, 2012, in which he could transport larger

shipments of cocaine. See Jan. 22, 2015, Tr. at 94:15-21 (Swainston, Maestas); Session Number:

11 (Nov. 3, 2011) at 3,8 admitted at the January 22, 2015, evidentiary hearing as Government

Exhibit 2 (“Call 11”).9


       7
         The linesheets also occasionally include the letters “NFI” or “UNK” in brackets or
parentheses. The United States has not explained what those letters mean, but it appears that the
translators used those letters when they could not determine the antecedent of a pronoun used in
the same sentence; in other words, it was a shorthand for “No Further Information” or
“Unknown.” The linesheets also include ellipses. To avoid any confusion, where the Court has
altered a synopsis -- a word, added or removed a punctuation mark -- it will place those
alterations in bolded brackets or bolded ellipses. Any ellipses or brackets -- and those brackets’
content -- that are not bolded are in the original linesheet.
       8
         The Court will use the linesheets’ internal pagination -- i.e., the numbers in the center of
the bottom of each page -- to cite the linesheets.
       9
           The content of the conversation, translated from Spanish into English, is as follows:

               UM471 asked if Varela almost finished his ride. Varela replied that he
       was not doing that (ride) until January of next year, and added that he had a bad
       ass trailer for six horses like the aluminum one that he (Varela) had sold to
       UM471’s nephew. UM471 concurred and said that it (trailer) was bad ass.
       Varela said that it (ride) won’t be ready until January. UM471 told Varela to get
       ready and that UM471 would help him (Varela) to accommodate it (ride) big
                                                 -7-
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        13.       Varela told J. Ibarra-Solis that, sometimes, he would ask his source of supply for

thirty to forty kilograms of cocaine, receive the cocaine on consignment, and then pay the source

of supply when he sold the drugs. See Jan. 22, 2015, Tr. at 96:15-97:3 (Swainston, Maestas);

Call 11 at 4.10

        14.       In a November 4, 2011, telephone call, Varela asked J. Ibarra-Solis if he expected

a cocaine shipment soon. See Jan. 22, 2015, Tr. at 97:24-98:4 (Swainston, Maestas); Session

Number: 22 (Nov. 4, 2011) at 3, admitted at the January 22, 2015, evidentiary hearing as

Government Exhibit 2 (“Call 22”)(“Varela told UM471 that he was checking to find out what

time they [UNK] are coming, and have they [UNK] told UM471 what time they would be

coming. UM471 told Varela that he would call and find out, but he first needs to go to the doctor

to have his stitches removed.”).

        15.       In a subsequent call on November 4, 2011, Varela learned that J. Ibarra-Solis’

driver backed out of his agreement to transport the cocaine. See Jan 22, 2015, Tr. at 98:5-11

(Swainston, Maestas); Session Number: 79 (Nov. 4, 2011) at 7, admitted at the January 22, 2015,

        time. Varela agreed and said that he’s not worried about getting work, because
        with this (ride) is how one gets ahead, and the way that they (Varela et al) are
        handling it right now, is not working out and added that it was too much work for
        so little money. UM471 agreed.

Call 11 at 3.
        As Maestas explained, “UM471” is “the call number where that person was first
identified, was the monitor’s assignment, of that number to that unidentified person. So the first
time Jamie Ibarra-Solis was intercepted prior to being identified fully as Jaime Ibarra-Solis, it
was called 471.” Jan. 22, 2015, Tr. at 105:23-106:4 (Maestas).
        10
             The content of the conversation, translated from Spanish into English, is as follows:

        Varela said that sometimes he would have a pile, and he would ask them for 30 or
        40, and they would tell him not to worry because there was more coming, and for
        Varela to receive it, then send whatever (money). Varela added that this way, you
        can get ahead, because you’re constantly moving.

Call 11 at 4.
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evidentiary hearing as Government Exhibit 2 (“Call 79”)(“UM471 informed that the guy [UNK]

who was going to give them (UM471 et al) a ride had backed out and didn’t want to go anymore.

UM471 commented that since yesterday the guy [UNK] was giving excuses and added that his

buddy [UNK] was angry about it.”).

       16.        Varela agreed to help find a new driver, but said that he did not have any trips

scheduled at that time. See Jan. 22, 2015, Tr. at 98:12-13 (Swainston, Maestas); Call 79 at 7

(“Varela commented that he didn’t have any trips right now. UM471 asked if Varela knew of

somebody who would help them out. Varela responded that he would try to find out . . . .”).

       17.        J. Ibarra-Solis stated that he had a vehicle available and that it was similar to the

vehicle that Gonzalez, Jr. had previously used to transport drugs. See Jan. 22, 2015, Tr. at 98:13-

21 (Swainston, Maestas); Call 79 at 7.11

       18.        Varela explained that his clients were calling him insistently for cocaine and

asked J. Ibarra-Solis to check on the cocaine shipment. See Jan. 22, 2015, Tr. at 98:22-99:3

(Swainston, Maestas); Call 79 at 7.12




       11
            The content of the call, translated from Spanish into English, is as follows:

              UM471 replied that there is a vehicle available and has everything [NFI]
       ready. UM471 added that it (vehicle) is just like the one Varela used to have.
       UM471 informed Varela that it (vehicle) is the same one that junior used to take.
       UM471 said that this vehicle is ready and that he (junior) had taken several trips
       in it. UM471 added that he (junior) had taken some horses to Kansas in that
       vehicle, and had gone twice.

Call 79 at 7.
       12
            The content of the call, translated from Spanish into English, is as follows:

              Varela informed that they (Varela et al) were in real need and noted that
       they [UNK] were calling him (Varela) insistently. UM471 agreed and added that
       his buddy had told him to hustle, and to see who might be able to help them
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       19.        In a telephone call on November 5, 2011, Varela told J. Ibarra-Solis that J. Ibarra-

Solis’ brother-in-law was working on a trailer with hidden compartments that could hold money

or drugs. See Jan. 22, 2015, Tr. at 99:5-13 (Swainston, Maestas); Session Number: 117 (Nov. 5,

2011) at 4, admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call

117”).13

       20.        In another call that same day, Varela asked J. Ibarra-Solis if his brother, Alonso

Ibarra-Solis, had at least two kilograms of cocaine in Albuquerque; J. Ibarra-Solis replied that his

brother did not have any cocaine at that time. See Jan. 22, 2015, Tr. at 99:21-25 (Swainston,

Maestas); Session Number: 119 (Nov. 5, 2011) at 5, admitted at the January 22, 2015,

evidentiary hearing as Government Exhibit 2 (“Call 119”).14



       (Buddy et al). UM471 said that he was hoping someone would lend them a hand,
       and said that he would wait for Varela’s call.

Call 79 at 7.
       13
            The content of the call, translated from Spanish into English, is as follows:

       UM471 asked Varela if he was going to get the apparatus to work. Varela said
       that they [UNK] are making it [NFI] for him. UM471 asked Varela if it takes this
       long. Varela said that they have to make the molds and everything, and the
       aluminum and all that stuff. Varela added that this guy (UM471’s brother-in-law)
       is pretty sharp. UM471 said that he know who Varela is talking about. UM471
       said that he (Varela) needs to push him to finish, because it is going to be needed.
       UM471 told Varela that Varela needs to take advantage of where (Varela) is right
       now. Varela told UM471 that he is doing it right, so that he won’t have to
       struggle later on. That it will be for however many. Varela added that he thinks it
       can be a 6-0 for sure. UM471 affirmed and said that he is sure it will happen.
       UM471 told Varela that he hoped that it [NFI] will be finished real soon.
               Varela told UM471 that he has the truck and everything, and just needs the
       other [NFI].

Call 117 at 4.
       14
            The content of the telephone conversation, translated from Spanish into English, is as
follows:
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       21.        In a telephone call later that day, J. Ibarra-Solis asked Varela for his telephone

number, so that someone could call Varela to pick up money from him. See Jan. 22, 2015, Tr. at

101:2-6 (Swainston, Maestas); Session Number: 194 (Nov. 5, 2011) at 16, admitted at the

January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 194”)(“UM471 asked

Varela for a phone number, so that they [NFI] call call [sic] him, in order for them [UNK] to go

ahead and pick that [NFI] up from him (Varela).”).

       22.        Later that day, Varela told J. Ibarra-Solis that he would send him $198,000.00.

See Jan. 22, 2015, Tr. at 101:7-9 (Swainston, Maestas); Session Number: 195 (Nov. 5, 2011) at

17, admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call

195”).15

       23.        In the final telephone call on November 5, 2011, Varela told J. Ibarra-Solis that

Varela had given the money to Ramiro and that Ramiro would give the money to J. Ibarra-Solis.

See Jan. 22, 2015, Tr. at 101:10-15 (Swainston, Maestas); Session Number: 218 (Nov. 5, 2011)



                Varela asked UM471 if his (UM471’s) brother was ready right now.
       UM471 asked if Varela was talking about Varela’s location. Varela affirmed.
       UM471 negated and added that he (brother) didn’t have anything right now.
       Varela said that he was hoping for at least 2. UM471 told Varela that he (brother)
       is at 0.

Call 119 at 5.
       15
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

              Varela asked UM471 if he was ready for the number. Varela proceeded to
       give UM471 991-9665 (TT4/Varela’s number). UM471 told Varela that he was
       going to give them [UNK] a call, so that Varela can give them [UNK] that [NFI]
       now. UM471 proceeded to ask what he was at, and was it 198. Varela affirmed
       and added that he has all the paper there.

Call 195 at 17.

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at 21, admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call

218”).16

       24.        On November 6, 2011, J. Ibarra-Solis explained in a telephone call with Varela

that, altogether, including A. Ibarra-Solis’ cocaine, he had between thirty-five and forty

kilograms of cocaine to send to Varela, but they still could not find a driver to transport it. See

Jan. 22, 2015, Tr. at 101:17-21 (Swainston, Maestas); Session Number: 293 (Nov. 6, 2011) at 3,

admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 293”).17



       16
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

                Varela told UM471 that it was done. UM471 asked who had gone for it
       [NFI]. Varela replied it was the same man Ramiro. UM471 asked what Ramiro
       had said. Varela answered that Ramiro was buying food for the horses and
       wanted Varela to sell medicine for his (Ramiro’s) horses. Varela asked if Ramiro
       was close by, and was that the reason why he had responded so quickly. UM471
       responded that he didn’t know and Ramiro had only asked him (UM471) if
       someone could go there [NFI] and pick that [NFI] up, and UM471 had agreed and
       said that they (UM471 et al) were ready. UM471 added that the dude (Ramiro)
       must have been nearby. Varela told UM471 that as soon as he hung up with
       UM471, Ramiro called him (Varela) and told Varela to go and take it [NFI] right
       away. Varela added that he went right away, and is just now heading out.
       UM471 said that it was good, and that they finally got rid of that issue, because
       it’s too risky to have that there. Varela concurred and said that it turned out good.
       Varela told UM471 that he had it [NFI] in a beautiful spot and noted that the guy
       [NFI] who came was old and knew Varela’s father.

Call 218 at 21.
       17
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

              Varela proceeded to tell UM471 that things are dry right now. UM471
       told Varela that his (UM471) brother is the same way, and is even in a bad mood
       because he (brother) can’t find anybody to give him a ride [NFI]. UM471 told
       Varela that he (UM471) is thinking that the others [NFI] are going to beat him
       (brother) to the punch. Varela asked UM471 if his (UM471’s) brother has
       everything ready there [NFI]. UM471 said that he (brother) is ready there [NFI].
       Varela asked UM471 how many total there are. UM471 said that all together
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       25.        Varela said that he was tempted to ask A. Gonzalez to transport the cocaine. See

Jan. 22, 2015, Tr. at 101:21-23 (Swainston, Maestas); Call 293 at 3 (“Varela told UM471 that he

is feeling like asking this man’s nephew [UNK] to go for them.”).

       26.        J. Ibarra-Solis told Varela to ask A. Gonzalez to drive the load, and advised J.

Ibarra-Solis to not tell A. Gonzalez that the cocaine belongs to A. Ibarra-Solis. See Jan. 22,

2015, Tr. at 101:24-102:1 (Swainston, Maestas); Call 293 at 3 (“UM471 told Varela to go ahead

and ask him (man’s nephew), and not to say that they [NFI] don’t belong to that other dude

[UNK], that they [UNK] belong to UM471. . . . UM471 told Varela to tell him (man’s nephew)

that they [NFI] belong to him (Varela).”).

       27.        In a telephone conversation later that day, Varela told J. Ibarra-Solis that he had

asked Gonzalez, Sr. about transporting the drugs and that Gonzalez, Sr. had asked for J. Ibarra-

Solis’ telephone number. See Jan. 22, 2015, Tr. at 102:7-11 (Swainston, Maestas); Session

Number: 444 (Nov. 6, 2011) at 14, admitted at the January 22, 2015, evidentiary hearing as

Government Exhibit 2 (“Call 444”).18




       there are about 35 or 40. . . . Varela asked UM471 if there are at least 30.
       UM471 said that like 35 or 40 for sure.

Call 293 at 3.
       18
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

              Varela told UM471 that he had told the man [UNK], and he (man) had
       asked for his (UM471’s) number, and asked UM471 if he (UM471) wanted for
       Varela to give it (number) to him (man). UM471 affirmed. Varela told UM471
       to go ahead and get him (man), that although he (man) is tight with his money,
       maybe UM471 can get something out of him (man).

Call 444 at 14.

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       28.        Varela told J. Ibarra-Solis that Gonzalez, Sr.’s “eyes popped out” when Varela

told him that there was a large shipment of cocaine to transport. Jan. 22, 2015, Tr. at 102:12-14

(Swainston, Maestas); Call 444 at 14.19

       29.        Varela said that Gonzalez, Sr. was still upset about a prior dispute with A. Ibarra-

Solis, but that Gonzalez, Sr. was the only one who could help them with the shipment in light of

their time constraints. See Jan. 22, 2015, Tr. at 102:15-19 (Swainston, Maestas); Call 444 at 14

(“Varela told UM471 that he (Varela) is still upset about the problem, but well he has no other

recourse but to continue working. Varela proceeded to tell UM471 that the man is the only one

who can help them (Varela et al) out right now.”).

       30.        In a telephone conversation later that day, J. Ibarra-Solis told Varela that

Gonzalez, Sr. had agreed to transport the cocaine. See Jan. 22, 2015, Tr. at 104:6-8 (Swainston,

Maestas); Session Number: 489 (Nov. 6, 2011) at 21, admitted at the January 22, 2015,

evidentiary hearing as Government Exhibit 2 (“Call 489”).20




       19
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

               Varela added that just as soon as he told him (man) that there were a lot of
       them, his eyes popped out. Varela told UM471 that he (man) is going to call him
       (UM471), and for UM471 to ask him (man) if he can do it right now, as soon as
       the races are over. Varela told UM471 to put pressure on the man.

Call 444 at 14.
       20
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

              Varela asked UM471 what he [UNK] had said. UM471 said that he
       [UNK] had said that he could wait. UM471 told Varela that he asked [UNK] if he
       could do it tomorrow and [UNK] had agreed to do it, since UM471 is in a rush.
       UM471 said he had told him [UNK] to help him (UM471) out. UM471 added
       that he [UNK] had agreed, and had said that he could do it tomorrow, and for
                                                 - 14 -
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       31.        In a later telephone call on November 6, 2011, J. Ibarra-Solis indicated to Varela

that, because they had failed to find a driver in time, the source of supply sent the cocaine to

someone else. See Jan. 22, 2015, Tr. at 104:9-12 (Swainston, Maestas); Session Number: 491

(Nov. 6, 2011) at 22, admitted at the January 22, 2015, evidentiary hearing as Government

Exhibit 2 (“Call 491”)(“UM471 told Varela that the man had sent them yesterday afternoon.

Varela asked UM471 if he (man) was already headed this way (Varela’s) location. UM471 said

that since he (man) hadn’t found anyone, he had to throw them [NFI] in there [NFI].”).

       32.        J. Ibarra-Solis told Varela that the only cocaine left to send is A. Ibarra-Solis’.

See Jan. 22, 2015, Tr. at 104:12-15 (Swainston, Maestas); Call 491 at 22 (“Varela asked UM471

if the only ones left are his (UM471’s) brother. UM471 affirmed . . . .”).

       33.        J. Ibarra-Solis told Varela that his source of supply promised to have another

twenty kilograms of cocaine to transport on Tuesday, November 8, 2011. See Jan. 22, 2015, Tr.

at 104:15-19 (Swainston, Maestas); Call 491 at 22 (“UM471 told Varela that he (man) had

promised him that he would have a 2,0[21] [NFI] there [NFI] on Tuesday. Varela said that was

good, and then all of his (UM471’s) brother. UM471 affirmed and added that including the other

2,0 that his (UM471’[s] brother) has.”).

       34.        The next day, November 7, 2011, J. Ibarra-Solis confirmed to Varela that the

source of supply was going to send twenty kilograms of cocaine to J. Ibarra-Solis. See Jan. 22,


       UM471 to get ready, and he [UNK] would be there [NFI] tomorrow. Varela said
       it was awesome.

Call 489 at 21.
       21
         Maestas testified that he interpreted “2,0” as twenty kilograms, because he “had listened
to numerous conversations . . . prior to this particular call. And . . . this particular group, it was
common for them to use -- to break the number down as in 3, 0, 0 for 300; 2, 0 for 20.” Jan. 22,
2015, Tr. at 165:15-20 (Maestas).


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2015, Tr. at 106:17-20 (Swainston, Maestas); Session Number: 590 (Nov. 7, 2011) at 10,

admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 590”).22

       35.        On November 8, 2011, J. Ibarra-Solis told Varela that he was able to secure only

four kilograms of cocaine at that time. See Jan. 22, 2015, Tr. at 106:21-23 (Swainston, Maestas);

Session Number: 795 (Nov. 8, 2011) at 30, admitted at the January 22, 2015, evidentiary hearing

as Government Exhibit 2 (“Call 795”).23

       36.        J. Ibarra-Solis said that, in addition to his four kilograms of cocaine, another

twenty-three kilograms of cocaine was available from A. Ibarra-Solis. See Jan. 22, 2015, Tr. at

106:23-107:2 (Swainston, Maestas); Call 795.24



       22
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

       Varela asked how many were going to go and asked if his buddy had informed
       him (Jaime). Jaime replied he had said he would see if he would send him
       (Jaime) a veinton/twenty 20 [NFI]. Varela cussed and said hopefully that way
       this man would come/leave right away. Varela added so this man could leave
       right away and bring them [NFI] to Varela right away over here. Jaime affirmed
       and added he (Jaime) would let Varela know early tomorrow what was up.

Call 590 at 10.
       23
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

       Jaime added that he [NFI] guaranteed Jaime something there and that he (Jaime)
       had called this senor/man [NFI] and that he’s [NFI] going to come for . . . one of
       those [NFI] that Varela knew who and a 4 [NFI] that Jaime had obtained there
       [NFI]. Jaime advised he (Jaime) would only take a 4 [NFI] there.

Call 795 at 30.
       24
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

              Varela asked if the senor/man had said he (senor) would go.              Jaime
       affirmed and advised for 2, 3 [NFI] but that the rest was that one’s [NFI].
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       37.        J. Ibarra-Solis said that Gonzalez, Sr. agreed to do the shipment and would be in

El Paso at 4:00 p.m. the following day, November 9, 2011. See Jan. 22, 2015, Tr. at 107:3-6

(Swainston, Maestas); Call 795.25

       38.        Varela had previously planned a trip to Mexico during the week that the cocaine

shipment was supposed to arrive. See Jan. 22, 2015, Tr. at 107:7-16 (Swainston, Maestas).

       39.        Varela asked J. Ibarra-Solis to leave four kilograms of cocaine for him with one

of J. Ibarra-Solis’ contacts in Albuquerque and hold them until Varela returned. See Jan. 22,

2015, Tr. at 107:12-16 (Swainston, Maestas); Call 795 at 30 (“Varela then added so that they

could come to an agreement and then so that Jaime could give him (Varela) those 4 [NFI].”).

       40.        J. Ibarra-Solis and Varela then discussed cutting Gonzalez, Sr. out of the next

shipment of cocaine and not telling him about it. See Jan. 22, 2015, Tr. at 110:18-24 (Swainston,

Maestas); Call 795 at 31.26




              Varela said 2, 3 [NFI] and asked if they [NFI] were his (Jaime) brother’s
       or what. Jaime affirmed and then said only 4 of his (Jaime) were there/in there
       [NFI].

Call 795 at 30.
       25
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

               Varela acknowledged and advised that was good and again asked if this
       man had said he would go. Jaime affirmed and advised he [NFI] would be at
       Jaime’s tomorrow at 4:00. Varela acknowledged and advised he [NFI] had called
       and said that he (Jaime) hadn’t called him [NFI] and that he [NFI] was going to
       Califas/California and had advised him (Varela) that if he (Jaime) called then he
       [NFI] would not be able to go and Varela said he didn’t know why he [NFI]
       would have told Varela that.

Call 795 at 30.

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       41.        Varela told J. Ibarra-Solis to ask A. Ibarra-Solis to give Varela fifteen kilograms

of cocaine from his shipment. See Jan. 22, 2015, Tr. at 111:1-3 (Swainston, Maestas); Call 795

at 31 (“Varela advised that at least those 4 [NFI] are there and that he (Jaime) should tell his

brother [NFI] to give Varela some 15 [NFI] at least to do something . . . .”).

       42.        Varela then changed his mind and asked J. Ibarra-Solis for only two additional

kilograms of cocaine, so that he could have a total of six kilograms. See Jan. 22, 2015, Tr. at

111:3-5 (Swainston, Maestas); Call 795 at 31 (“Varela then said at least another 2 [NFI] so it

could be 6 [NFI].”).

       43.        In a telephone call on November 9, 2011, J. Ibarra-Solis and Varela discussed that

Varela’s brother-in-law would receive the cocaine shipment from J. Ibarra-Solis’ contact in

Albuquerque. See Jan. 22, 2015, Tr. at 111:9-15 (Swainston, Maestas); Session Number: 912




       26
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

               Jaime then advised that for the next time that Jaime would tell this guy
       [NFI] and come to an agreement with him [NFI] and then asked if they
       (Jaime/Varela) were going to tell this same man [NFI]. Varela said negative and
       said the guy [NFI] didn’t want anything to do with this man [NFI]. Jaime
       acknowledged and asked if he [NFI] had aparato/device and everything. Varela
       affirmed and advised that as a matter of fact the aparato/device is his [NFI] and
       that the guy [NFI] was well off/well connected. Jaime acknowledged and agreed
       right there [NFI] would be perfect then. Jaime reiterated for Varela to tell this
       guy [NFI] that they were on for next time and that that would just be between
       Jaime, Varela and him [NFI]. Jaime advised for Varela to one day give him
       (Jaime) the guy’s radio so that Jaime could talk to him [NFI] so that Jaime could
       explain to him that it would just be between Jaime, Varela and the buddy.

Call 795 at 31.

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(Nov. 9, 2011) at 6, admitted at the January 22, 2015, evidentiary hearing as Government Exhibit

2 (“Call 912”).27

       44.       Later that day, Varela asked J. Ibarra-Solis for the telephone number of his

contact who would hold Varela’s cocaine in Albuquerque. See Jan. 22, 2015, Tr. at 111:20-24

(Swainston, Maestas); Session Number: 917 (Nov. 9, 2011) at 7, admitted at the January 22,

2015, evidentiary hearing as Government Exhibit 2 (“Call 917”)(“[Varela] asked if Jaime

wanted to give him (Varela) the number of that guy [UNK].”).

       45.       Again, later that day, J. Ibarra-Solis told Varela that he was calling Gonzalez, Sr.,

but Gonzalez, Sr. was not answering his telephone. See Jan. 22, 2015, Tr. at 112:1-4 (Swainston,

Maestas); Session Number: 959 (Nov. 9, 2011) at 13, admitted at the January 22, 2015,

evidentiary hearing as Government Exhibit 2 (“Call 959”)(“Jaime informed that he was calling

this man [NFI] and he didn’t answer.”).

       46.       Varela told J. Ibarra-Solis that A. Gonzalez said that he and Gonzalez, Sr. were

already in El Paso to pick up the cocaine shipment; Varela agreed to call A. Gonzalez. See Jan.

22, 2015, Tr. at 112:5-7 (Maestas); Call 959 at 13 (“Varela said that he had to be there [NFI] and




       27
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

               Jaime thought it was better if Varela would tell this guy [UNK] to go to
       Varela’s brother-in-law. Varela asked if this guy [UNK] and said he could do it
       like that. Varela commented that Jaime could give Varela the number of the guy
       of Jaime’s brother and Varela would talk to him [NFI] right. Varela would talk to
       him [UNK] there in his (Varela’s) house, and his brother-in-law would go there
       (Varela’s house) and everything would be done there. Jaime agreed but said that
       he was referring to the guy [UNK] that would go, that he would take them [NFI]
       to his brother-in-law. Varela said that he would talk to his brother-in-law to do all
       that right now.

Call 912 at 6.
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Varela noted that he (Varela) had talked to the nephew [NFI] and he (the nephew) had said that

they were there already. . . . Varela said that he would call the nephew.”).

       47.     In a subsequent call, J. Ibarra-Solis told Varela that Gonzalez, Sr. had finally

answered his telephone. See Jan. 22, 2015, Tr. at 112:12-16 (Maestas); Session Number: 965

(Nov. 9, 2011) at 15, admitted at the January 22, 2015, evidentiary hearing as Government

Exhibit 2 (“Call 965”)(“Varela asked if he (Ramon) had already answered. Jaime affirmed and

added Jaime was calling Varela to let him know.”).

       48.     Maestas’ toll analysis of telephone calls during this period showed

communications between Gonzalez, Sr.’s telephone and J. Ibarra-Solis’ telephone. See Jan. 22,

2015, Tr. at 112:17-21 (Maestas, Swainston).

       49.     In anticipation of the drug transport, Varela told J. Ibarra-Solis that the United

States Border Patrol checkpoint between El Paso and Albuquerque was active. See Jan. 22,

2015, Tr. at 112:23-25 (Maestas); Session Number: 1000 (Nov. 9, 2011) at 23, admitted at the

January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 1000”)(“Varela told Jaime

the machines [NFI] were placed there [NFI]. . . . Varela reiterated he (Varela) had just passed

there [NFI] and the machines were in place [NFI].”).

       50.     J. Ibarra-Solis asked if Varela had told Gonzalez, Sr. that the checkpoint was

active. See Jan. 22, 2015, Tr. at 112:25-113:2 (Maestas); Call 1000 at 23 (“Jaime acknowledged

and asked if Varela had told them (Ramon et al).”).

       51.     Varela “affirmed and added that they (Ramon et al) were going to wait a little

longer.” Call 1000 at 23.




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               b.      Telephone Conversations Between Varela and Gonzalez, Jr.

       52.     On November 6, 2011, in a call between Varela and Gonzalez, Jr., Varela asked

Gonzalez, Jr. if he had received any cocaine, and Gonzalez, Jr. said that he had not; Varela

confirmed that he expected his source of supply to send him cocaine that week. See Jan. 22,

2015, Tr. at 115:19-24 (Maestas); Session Number: 418 (Nov. 6, 2011) at 12, admitted at the

January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 418”)(“Varela asked

UM4[28] if he had received anything yet. UM4 negated and added that they [UNK] were sending

[NFI] this week. Varela affirmed.”).

       53.     Varela explained that he had forty-five kilograms of cocaine available to him and

confirmed to Gonzalez, Jr. that his source of supply is J. Ibarra-Solis. See Jan. 22, 2015, Tr. at

115:23-116:5 (Maestas); Call 418 at 12 (“UM4 asked Varela if Alonso or Jaime had called.

Varela said Jaime. Varela said that they (Jaime/Alonso) have 45 right now, and they want for

Varela to bring them [NFI].”).

       54.     In another call later that day, Varela asked Gonzalez, Jr. if he was willing to

transport the drugs. See Jan. 22, 2015, Tr. at 116:7-9 (Maestas); Session Number: 457 (Nov. 6,

2011) at 17, admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2

(“Call 457”)(“Varela told UM418 that’s why he (Varela) was calling him, to see if he (UM418)

could go and get at least that [NFI].”).

       55.     Varela then joked about transporting the cocaine himself, and told Gonzalez, Jr. to

wait for his call in case Varela called him from jail. See Jan. 22, 2015, Tr. at 116:11-14

(Maestas); Call 457 at 17 (“Varela agreed and added those 45 [NFI] were there [NFI] and added

he didn’t know what he was going to do. Varela added he might have to go alone. UM418

       28
       In the initial calls between Varela and Gonzalez, Jr., Gonzalez, Jr. is identified as
“UM4” or “UM418.”
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laughed. Varela told UM418 to wait for the call in case he (Varela) called him (UM418) from

jail.”).

           56.   In a November 9, 2011, call, Varela asked Gonzalez, Jr. if his source of supply for

marijuana had arrived, because Varela had some buyers who were looking for 300 pounds of

marijuana. See Jan. 22, 2015, Tr. at 119:3-8 (Maestas); Session Number: 895 (Nov. 9, 2011) at

5, admitted at the January 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call

895”)(“Varela asked if Gonzalez Jr.’s friends had arrived yet and informed that he (Varela) was

being asked for 300 [NFI].”).

           57.   Gonzalez, Jr. indicated that the marijuana would arrive on Monday. See Jan. 22,

2015, Tr. at 119:3-8 (Maestas); Call 895 at 5 (“Gonzalez Jr. replied that for Monday.”).

           58.   Gonzalez, Jr. asked about the cocaine, and Varela said that his suppliers had sent

twenty kilograms of cocaine. See Jan. 22, 2015, Tr. at 119:10-12 (Maestas); Call 895 at 5

(“Gonzalez Jr. asked about this dude [UNK] and asked if they [UNK] had arrived late. Varela

negated and said that at the end they [UNK] did send some and 20 [NFI] would arrive.”).

           59.   Varela then indicated to Gonzalez, Jr. that his supplier would ship twenty-three

kilograms of cocaine, but that J. Ibarra-Solis wanted a week for distribution and payment in case

Gonzalez, Jr. was interested in receiving some of the shipment. See Jan. 22, 2015, Tr. at 119:12-

19 (Maestas); Call 895 at 5 (“Gonzalez Jr. asked if they [NFI] were going to be Jaime’s. Varela

said that he thought those [NFI] would be Jaime’s but he wanted a week and noted that they

[NFI] were going to be 23 [NFI] in case Gonzalez Jr. would want them.”).

           60.   Gonzalez, Jr. asked for J. Ibarra-Solis’ telephone number, so that he could speak

to J. Ibarra-Solis himself. See Jan. 22, 2015, Tr. at 119:19-21 (Maestas); Call 895 (“Gonzalez Jr.

asked for Jaime’s number so he could talk to Jaime.”).



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                 c.     Telephone Conversations Between Varela and A. Gonzalez.

       61.       On November 5, 2011, in a telephone conversation between Varela and A.

Gonzalez, Varela told A. Gonzalez that J. Ibarra-Solis was calling him insistently. See Jan. 22,

2015, Tr. at 120:1-4 (Maestas); Session Number: 122 (Nov. 5, 2011) at 6, admitted at the Jan. 22,

2015, evidentiary hearing as Government Exhibit 2 (“Call 122”)(“Varela told UM580[29] that

these dudes [UNK] are calling him insistently.”).

       62.       A. Gonzalez thought that Gonzalez, Sr. did not want to work with the Ibarra-

Solises because of a previous transaction in which Freddie Ibarra-Solis, another one of J. Ibarra-

Solis’ brothers, took a long time to pay Gonzalez, Sr. for a drug shipment. See Jan. 22, 2015, Tr.

at 120:5-10 (Maestas); Call 122 at 6.30

       63.       A. Gonzalez indicated that he was ready to do the drug shipment. See Jan. 22,

2015, Tr. at 120:10-13 (Maestas); Call 122 at 6 (“UM580 added that he already put a hitch ball

on the truck, and he is good to go. Varela told UM580 that this way, his (UM580’s) uncle won’t

be disappointed when he sees that the trailer is missing.”).




       29
      In the initial calls between A. Gonzalez and Varela, A. Gonzalez is identified as
“UM580.”
       30
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

       UM580 told Varela that the boss doesn’t want these dudes [UNK], because since
       the last time when they let him (boss) down. Varela asked UM580 how they
       (dudes) had let him (boss) down. UM580 said that they had agreed to pay him
       (boss) a certain amount of money, and they ended up shorting him 2 bucks, and
       said that it was because Freddy had hustled them [NFI]. UM580 added that later
       on, they also ended up owing him (boss) another 2 bucks, and it took them about
       2 and a half months, and he (boss) got pretty mad.

Call 122 at 6.
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       64.     A. Gonzalez said that he had horses that he could use as a cover load; in other

words, A. Gonzalez said that he could transport the horses in the trailer along with the drugs, in

the hopes that law enforcement searching the trailer would not search any further upon seeing the

horses. See Jan. 22, 2015, Tr. at 120:18-121:1 (Maestas); Call 122 at 6 (“Varela said that he

(UM580) is going to need some horse. UM580 said that it is not a problem, and he can get some

horses out there somewhere.”).

       65.     A. Gonzalez said that he would need to wait until Wednesday, November 9, 2011,

to do the shipment, because of his horse-training responsibilities. See Jan. 22, 2015, Tr. at

121:3-7 (Maestas); Call 122 at 7 (“UM580 said for Varela to tell him [UNK], and if they [UNK]

are willing to wait, he can do it Wednesday, and UM580 and Varela can get a share.”).

       66.     On November 9, 2011, A. Gonzalez told Varela he could not transport the cocaine

himself, or by himself, and that it would be better to let Gonzalez, Sr. do the shipment. See Jan.

22, 2015, Tr. at 121:14-20 (Maestas); Session Number: 950 (Nov. 9, 2011) at 11, admitted at the

Jan. 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 950”)(“Andres . . . said that

regarding what they (Andres & Varela) had talked the other day, Andres wasn’t going to be able

to go by himself so it would be better to give all to his uncle [UNK] . . . .”).

       67.     Varela told A. Gonzalez that it was only going to be two or three kilograms of

cocaine this time. See Jan. 22, 2015, Tr. at 121:20-22 (Maestas); Call 950 at 11 (“Varela

commented that they were going to be only 2 or 3 anyway.”).

       68.     Varela said that the next shipment, which would take place presumably the

following week, would not involve Gonzalez, Sr., and that the fees associated with that shipment

would go to Varela and A. Gonzalez only. See Jan. 22, 2015, Tr. at 122:25-123:5 (Maestas);

Call 950 at 11 (“Varela expressed that for the next time they (Varela et al) would take them all,



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and told Andres not to say anything. . . . Varela reiterated that it would be all just for him

(Andres) and Varela. Andres acknowledged.”).

                d.      Telephone Conversations Between Varela and Chavez.

        69.     On November 5, 2011, Chavez asked Varela if he had any cocaine. See Jan. 22,

2015, Tr. at 123:16-17 (Maestas); Session Number: 139 (Nov. 5, 2011) at 10, admitted at the Jan.

22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 139”)(“Chavez . . . asked Varela if

they [UNK] brought a bunch.”).

        70.      Varela said he had just received a call from a source of supply in Mexico, and

they were asking for help transporting cocaine. See Jan. 22, 2015, Tr. at 123:16-20 (Maestas);

Call 139 at 10 (“Varela told Chavez that they [UNK] had just called him (Varela) and had asked

him (Varela) to help them out to bring them [NFI] from over there.”).

        71.     Varela said that he was sending someone over to do the shipment that night. See

Jan. 22, 2015, Tr. at 123:20-22 (Maestas); Call 139 at 10 (“Varela is going to send his (Varela’s)

guy over there [NFI] tonight.”).

        72.     Chavez asked how many kilograms of cocaine, and Varela indicated that he was

unsure, but that it was a lot. See Jan. 22, 2015, Tr. at 123:22-24 (Maestas); Call 139 at 10

(“Chavez asked Varela how many he (Varela) was going to have. Varela said he didn’t know,

but was told that it’s quite a bit.”).

        73.      Chavez said he would help Varela with distributing or selling that cocaine. See

Jan. 22, 2015, Tr. at 123:24-124:1 (Maestas); Call 139 at 10 (“Chavez told Varela that if Varela

would help him, he (Chavez) will help Varela move them [NFI].”).

        74.     Varela indicated that the cocaine was coming from A. Ibarra-Solis, but he also

thought J. Ibarra-Solis and A. Ibarra-Solis were putting their cocaine together for one shipment.



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See Jan. 22, 2015, Tr. at 125:11-17 (Maestas); Call 139 at 10 (“Chavez asked Varela if he was

going to get them [NFI] from the other brother and not f[r]om the other one. Varela affirmed

and said that from the other brother, but that he (Varela) thought that they are both going to put

theirs together.”).

        75.     Chavez said that he would rather take cocaine from Varela than an unknown

source, suggesting that Chavez had more trust in the quality of Varela’s cocaine. See Jan. 22,

2015, Tr. at 125:18-21 (Maestas); Call 139 at 10 (“Chavez told Varela that he would rather get

them [NFI] from Varela, because they are way better than the other ones.”).

        76.     In a later call on November 5, 2011, Varela told Chavez that Varela needed to sell

some drugs and make money. See Jan. 22, 2015, Tr. at 125:24-25 (Maestas); Session Number:

145 (Nov. 5, 2011) at 11, admitted at the Jan. 22, 2015, evidentiary hearing as Government

Exhibit 2 (“Call 145”)(“Varela . . . told Chavez that they (Varela et al) have to do something,

because Varela has been trying to look for some, and had called the guy, and he (guy) had said

that he didn’t have anything either.”).

        77.     Varela said A. Ibarra-Solis will probably give them eighteen kilograms of cocaine

for $17,000.00 per kilogram if they paid for it up front rather than on consignment. See Jan. 22,

2014, Tr. at 125:24-126:4 (Maestas); Call 145 at 12 (“Varela told Chavez that he thinks they

[UNK] will hook them up over there [NFI] for like 18. Varela said that they’re 17 if they [UNK]

pay them right away, b[u]t Varela told Chavez that his (Chavez’s) friends will hook them

(Varela et al) up at 18.”).

        78.     During this period, Varela was purchasing the cocaine for $23,000.00 per

kilogram on consignment, so the conversation between Varela and Chavez indicated that Varela




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could purchase the cocaine at a lower price if he paid for it up front. See Jan. 22, 2015, Tr. at

126:12-14 (Maestas).

        79.     On November 8, 2011, Varela asked if he should delete Chavez’ old number, and

Chavez said yes. See Jan. 22, 2015, Tr. at 127:3-6 (Maestas); Session Number: 666 (Nov. 8,

2011) at 11, admitted at the Jan. 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call

666”)(“Varela asked Steve if he (Steve) wanted Varela to delete the other one (phone number).

Steve affirmed . . . .”).

        80.     Chavez added that no one had his new telephone number but the driver and his

buyer in Florida. See Jan. 22, 2015, Tr. at 127:6-8 (Maestas); Call 666 at 11 (“Steve added no

one had this one (phone number) but the guy there (possibly Miami), the driver and now

Varela.”).

        81.     Chavez said his buyer has cash and never asks Chavez to give him drugs on

consignment. See Jan. 22, 2015, Tr. at 127:9-10 (Maestas); Call 666 at 11 (“Steve added those

fuckers had cash and didn’t ask for anything to be fronted.”).

        82.     Chavez said that the price of a kilogram of cocaine in Florida is $32,000.00 to

$35,000.00 per kilogram, and that his buyer was willing to pay $35,000.00 per kilogram. See

Jan. 22, 2015, Tr. at 127:10-14 (Maestas); Call 666 at 11 (“Steve asked Varela if he knew how

much they got for those fuckers there. Varela replied about 34 [NFI]. Steve informed Varela

they got between 32 and 35 [NFI], Steve added he could get 35 for them today.”).

        83.     Chavez said that his buyer could sell all of the twenty kilograms of cocaine. See

Jan. 22, 2015, Tr. at 128:2-5 (Maestas); Call 666 at 11 (“Steve told Varela he could sell, move

them.”).




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       84.        In a later call on November 8, 2011, Chavez asked Varela if he would be able to

provide at least twenty kilograms of cocaine; Varela affirmed. See Jan. 22, 2015, Tr. at 128:7-

129:10 (Maestas); Session Number: 688 (Nov. 8, 2011) at 13, admitted at the Jan. 22, 2015,

evidentiary hearing as Government Exhibit 2 (“Call 688”)(“Steve asked if it would be no less

than 20 [NFI]. Varela affirmed.”).

       85.        Chavez’ buyer in Florida got on the telephone and told Varela that he could move

fifteen to twenty kilograms per week. See Jan. 22, 2015, Tr. at 129:24-25 (Maestas); Call 688

(“UM proceeded to tell Steve they (UM et al) moved a total of 20 [NFI]. . . . UM told Varela

that he (Steve) could tell Varela he (UM) was moving between 15 to 20 [NFI] weekly.”).

       86.        The buyer said that he could pay for six or seven kilograms right now, and then

asked to wait six or seven days -- or seven to eight days, to be safe -- to sell the remainder of the

cocaine and to collect the proceeds.         See Jan. 22, 2015, Tr. at 129:24-130:6 (Maestas,

Swainston); Call 688 at 13.31

       87.        In a later call on November 8, 2011, Chavez told Varela that the deal is done in

Florida and that there was no turning back; in other words, Chavez said that he was ready to

conduct the transaction for the twenty kilograms of cocaine. See Jan. 22, 2015, Tr. at 130:18-20

(Maestas); Session Number: 723 (Nov. 8, 2011) at 19, admitted at the Jan. 22, 2015, evidentiary




       31
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

       UM acknowledged and added as soon as Steve arrived with the 20 [NFI], UM
       added what he would do is pay him (possibly Steve or driver) for seven or six
       [NFI]. UM told Varela the other ones would be sold with his . . . . UM told
       Varela the most he took was six days, UM added to be on the safe side it would
       be 7 or 8 days. UM reiterated he moved them (the 20) [NFI] fast.

Call 688 at 13.
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hearing as Government Exhibit 2 (“Call 723”)(“Steve told Varela that it was all lined up for sure.

Steve asked Varela if it was for sure, Steve added there was no turning back for him (Steve).”).

       88.     Varela said that he would be leaving town and indicated that he did not want to

leave the cocaine at his house while he was on vacation. See Jan. 22, 2015, Tr. at 131:3-5

(Maestas); Call 723 at 19 (“Varela added he (Varela) couldn’t have all that (the 20) standing

there (possibly his location) till he came back.”).

       89.     The next day, November 9, 2011, Varela told Chavez that a person nicknamed

“Cheekies” -- who Maestas later identified as Rigoberto Eduardo Serano -- would give him

Varela’s cocaine. Jan. 22, 2015, Tr. at 131:12-17 (Maestas); id. at 143:10-12 (Maestas). See

Session Number: 971 (Nov. 9, 2011) at 17, admitted at the Jan. 22, 2015, evidentiary hearing as

Government Exhibit 2 (“Call 971”)(“Varela told Steve Chiquis would hook Varela up.”).

       90.     Chavez asked if it was the same quality of cocaine that Varela always gets, and

Varela said yes. See Jan. 22, 2015, Tr. at 131:18-132:14 (Maestas); Call 971 (“Steve . . . asked if

they were the same ones or the PVC fuckers. Varela replied they were the same ones. Steve

asked if the ones Varela always got. Varela affirmed.”).

       91.     Chavez is a firefighter for the Albuquerque Fire Department and a construction

worker; he is not involved with horse racing or horse training. See Jan. 22, 2015, Tr. at

124:18-125:6 (Maestas, Swainston).

       92.     Varela was not a construction worker or a firefighter. See Jan. 22, 2015, Tr. at

125:7-9 (Maestas, Swainston).

               e.      Telephone Conversations Between Varela and Gonzalez, Sr.

       93.     On November 6, 2011, Gonzalez, Sr. called Varela, and Varela said that J. Ibarra-

Solis had forty-five kilograms of cocaine ready to be transported. See Jan. 22, 2015, Tr. at



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133:20-22 (Maestas); Session Number: 329 (Nov. 6, 2011) at 11, admitted at the Jan. 22, 2015,

evidentiary hearing as Government Exhibit 2 (“Call 329”)(“Varela informed Ramon that they

(Jaime et al) had 45 there [NFI].”).

       94.        Gonzalez, Sr. said that J. Ibarra-Solis had no one to transport the cocaine at that

time. See Jan. 22, 2015, Tr. at 133:24-25 (Maestas); Call 329 at 11 (“Ramon advised they

(Jaime et al) didn’t have anyone to train their horses [NFI] right now.”).

       95.        Varela replied that the vehicle that was being used for cocaine shipments could

only hold sixteen kilograms of cocaine and that they wanted to transport all forty-five kilograms

of cocaine at once. See Tr. at 133:24-134:6 (Maestas); Call 329 at 11 (“Varela replied they do

have, but only 16 [NFI] fit and they (Jaime et al) wanted it all at once.”).

       96.        Varela said that law enforcement would catch them if they had to cross the Border

Patrol checkpoint back and forth multiple times. See Jan. 22, 2015, Tr. at 134:18-21 (Maestas).32

       97.        In a subsequent telephone conversation on November 6, 2011, Varela asked if

Gonzalez, Sr. was ready to transport the cocaine, and Gonzalez, Sr. said that he was. See Jan.

22, 2015, Tr. at 135:16-18 (Maestas); Session Number: 452 (Nov. 6, 2011) at 15, admitted at the




       32
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

       Varela added that the dude was going to take off right now after all, but with 16
       [NFI] and added the dude was going to have to do two trips. Varela asked what
       16 and 16 were. Varela replied to himself that it was 32 and told Ramon the dude
       would have to make three trips. Ramon agreed. Varela said that was what they
       didn’t want to have to do and added they wanted it all at once. Ramon replied
       they would burn themselves crossing and crossing and added the
       maestros/teachers [NFI] were not stupid. Ramon chucked and asked if Varela
       understood. Varela affirmed. Ramon told Varela that one of those falls [NFI] for
       those guys would be fucked up and added they would lose a shit load of money.

Call 329 at 11.
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Jan. 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 452”)(“Varela asked if

Ramon was ready. Ramon acknowledged . . . .”).

       98.     Both discussed generally the need to transport the forty-five kilograms of cocaine,

and Gonzalez, Sr. said that he would bring all of the cocaine at once. See Jan. 22, 2015, Tr. at

135:15-22 (Maestas); Call 452 at 15 (“Varela told Ramon to call since he (Varela) had asked him

[UNK] to help him (Varela) out with at least half [NFI]. . . . Ramon said that he (Ramon) would

bring all of them [NFI] at once.”).

       99.     In a later call on November 6, 2011, Gonzalez, Sr. told Varela that J. Ibarra-Solis

would call right now and that J. Ibarra-Solis would probably want to arrange the shipment of

cocaine the following day. See Jan. 22, 2015, Tr. at 136:1-4 (Maestas); Session Number: 484

(Nov. 6, 2011) at 20, admitted at the Jan. 22, 2015, evidentiary hearing as Government Exhibit 2

(“Call 484”)(“Ramon told Varela he [UNK] would call right now, but that Ramon that that he

[UNK] would probably want to do it tomorrow [NFI].”).

       100.    In a November 7, 2011, telephone call, Varela asked Gonzalez, Sr. if he had

talked to J. Ibarra-Solis, and then asked if Gonzalez, Sr. had left for El Paso yet. See Jan. 22,

2015, Tr. at 136:6-9 (Maestas); Session Number: 544 (Nov. 7, 2011) at 12, admitted at the Jan.

22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 544”)(“Varela asked Ramon if he

had talked to . . . and then asked if he [UNK] had left over there [NFI] after all.”).

       101.    Gonzalez, Sr. told Varela that J. Ibarra-Solis had said that all the cocaine was

ready at the stash location and that it was for Varela; Varela affirmed. See Jan. 22, 2015, Tr. at

136:16-21 (Maestas); Call 544 at 12 (“Ramon informed Varela he [NFI] had said that all the

muebles/furniture [NFI] of those apartments [NFI] were for Varela. Varela affirmed . . . .”).




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          102.   The next day, November 8, 2011, Gonzalez, Sr. told Varela that J. Ibarra-Solis

said that the cocaine shipment would not be ready until the following day. See Tr. at 137:19-22

(Maestas); Session Number: 595 (Nov. 8, 2011) at 1, admitted at the Jan. 22, 2015, evidentiary

hearing as Government Exhibit 2 (“Call 595”)(“Ramon said that he (Jaime) had called and said

that they (Jaime et al) were not ready until Wednesday.”).

          103.   Gonzalez, Sr. said that he thought that J. Ibarra-Solis might be using another guy

to do the cocaine shipment. See Tr. at 137:12-24 (Maestas); Call 595 at 1 (“Ramon said that he

thought that he (Jaime) might be using another guy.”).

          104.   Varela said no and added that he was still waiting. See Jan. 22, 2015, Tr. at

137:24-138:2 (Maestas); Call 595 at 1 (“Varela negated and added that he (Varela) is waiting.”).

          105.   Varela told Gonzalez, Sr. that other drug smugglers all charge the same fee to

transport drugs. See Jan. 22, 2015, Tr. at 138:2-9 (Maestas); Call 595 at 1 (“Varela told Ramon

that they (guys) all charge the same thing.”).

          106.   Gonzalez, Sr. told Varela that, on Sunday, J. Ibarra-Solis had told him that J.

Ibarra-Solis wanted Gonzalez, Sr. to come Monday and that he thought it was going to be thirty-

six kilograms of cocaine, but that J. Ibarra-Solis just told him that there would only be twenty

kilograms. See Jan. 22, 2015, Tr. at 138:2-9 (Maestas); Call 595 at 1 (“Ramon proceeded to tell

Varela that on Sunday, he (Jaime) had told him that he (Jaime) wanted for Ramon to come

Monday. That Ramon thought it was 36, but that he (Jaime) just told them that there are only

20.”).

          107.   Varela said that it would be good to transport only twenty kilograms of cocaine.

See Jan. 22, 2015, Tr. at 139:16-20 (Maestas); Call 595 at 1 (“Varela told Ramon that he’s going




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to call the dude (Jaime), and if he (Jaime) has that, well it would be good to just bring that (20).

Varela proceeded to say that twenty (20) is good.”).

       108.     Gonzalez, Sr. said that he would not be able to do it on Thursday night, because

he wanted to leave El Paso early in the morning on Friday. See Jan. 22, 2015, Tr. at 139:21-23

(Maestas); Call 595 at 2 (“Ramon said that he won’t be able to do it on Thursday night, because

he (Ramon) wants to leave early morning Friday.”).

       109.     Varela said he could also not do the shipment, because he was supposed to leave

for his vacation in Mexico on Wednesday; Varela added that, if the shipment does not arrive in

Albuquerque by Wednesday, he would not be able to receive it. See Jan. 22, 2015, Tr. at

139:23-140:5 (Maestas); Call 595 at 2 (“Varela said that he can’t do it either, because as Ramon

should recall, Varela was supposed to go to Cancun and it was cancelled because of the

hurricane.     So now, Varela is going to leave on Wednesday, and if it doesn’t arrive by

Wednesday, Varela won’t be able to receive it.”).

       110.     Varela said that he would call J. Ibarra-Solis to ensure that the shipment made it

to Albuquerque in time. See Jan. 22, 2015, Tr. at 140:5-7 (Maestas); Call 595 at 2 (“Varela told

Ramon that he was going to call him (Jaime), because it’s a must that it gets here to him

(Varela).”).

       111.     Later on November 8, 2011, Varela and Gonzalez, Sr. discussed their frustration

that they did not know when the cocaine shipment would be ready. See Jan. 22, 2015, Tr. at

141:6-9 (Maestas); Session Number: 760 (Nov. 8 2011) at 27, admitted at the Jan. 22, 2015,

evidentiary hearing as Government Exhibit 2 (“Call 760”)(“Varela asked if that dude (Jaime) had

called him. Ramon negated and told Varela it was just bullshit. Varela agreed and added he was

calling him and he (Jaime) didn’t answer. Ramon added it was all a lie.”).



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       112.    Varela and Gonzalez, Sr. expressed concern that J. Ibarra-Solis or A. Ibarra-Solis

had arranged for someone else to do the cocaine transport. See Jan. 22, 2015, Tr. at 141:9-11

(Maestas); Call 760 (“Ramon told Varela they probably found someone else.”).

       113.    Both discussed further how they looked forward to a good relationship with the

Ibarra-Solises, and Gonzalez, Sr. informed Varela that he expected an $8,000.00 transportation

fee; Varela agreed. See Jan. 22, 2015, Tr. at 141:11-15 (Maestas); Call 760 at 27 (“Varela told

Ramon once they started they would get with it. Ramon affirmed and informed Varela it was

going to happen with this fucking man [UNK]. Ramon added he was going to give him about 8

[NFI]. Varela affirmed.”).

       114.    Both Varela and Gonzalez, Sr. were so frustrated that they had not yet solidified

the upcoming cocaine transport that they said they should agree to do future cocaine transports

for the Ibarra-Solises, and then not show up or answer their calls. See Jan. 22, 2015, Tr. at

141:17-22 (Maestas); Call 760 at 27 (“Ramon added that next time they needed someone they

were fucked. Varela affirmed. Ramon told Varela they would pay them back. Varela told

Ramon they would say yes and not answer their calls.”).

       115.    In a later call on November 8, 2011, it became clear that the cocaine shipment

was back on track and that it would be ready for pick up in El Paso the following day. See Jan.

22, 2015, Tr. at 142:12-19 (Maestas); Session Number: 797 (Nov. 8, 2011) at 33, admitted at the

Jan. 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 797”)(“Varela asked if the

dude (Jaime) had called him. Ramon affirmed and advised had just called him 5 minutes ago.

Varela told Ramon he had called and told him (Varela) this man was on his way over

tomorrow.”).




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       116.       Gonzalez, Sr. stated that J. Ibarra-Solis had told him the drugs would be ready by

3:00 or 4:00 p.m. See Jan. 22, 2015, Tr. at 142:20-22 (Maestas); Call 797 at 33 (“Ramon

acknowledged and added Jaime had told him it would be ready by three or four.”).

       117.       Gonzalez, Sr. explained how he had told J. Ibarra-Solis that he would pick up the

cocaine at about 4:30 p.m. or 5:00 p.m. See Jan. 22, 2015, Tr. at 142:23-25 (Maestas); Call 797

at 33 (“Ramon told Jaime he would pick it up about 4:30 or 5:00.”).

       118.       Varela asked Gonzalez, Sr. if it would be twenty-three kilograms of cocaine;

Gonzalez, Sr. affirmed. See Jan. 22, 2015, Tr. at 142:23-143:21 (Maestas); Call 797 at 33

(“Varela acknowledged and told Ramon if he (Jaime) had told him (Ramon) it was 2,3. Ramon

affirmed.”).

       119.       Varela said “that was something” and “told Ramon he (Ramon) could go to

Califas/California very comfortably and laughed.” Call 797 at 33.

       120.       On the next day, November 9, 2011, Varela and Gonzalez, Sr. discussed the final

arrangements for the cocaine shipment, including where Varela wanted the cocaine to be

delivered; Varela said he wanted it taken to Serano, who would then give the cocaine to Chavez.

See Jan. 22, 2015, Tr. at 143:3-12 (Maestas); Session Number: 966 (Nov. 9, 2011) at 16,

admitted at the Jan. 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 966”).33



       33
            The content of the telephone conversation, translated from Spanish into English, is as
follows:

       Varela had told Jaime Ramon was probably already there (El Paso). Ramon
       affirmed and asked Varela when he was going back. Varela replied he was
       leaving on Monday. Ramon asked Varela where that (possibly the 23) was going
       to be delivered, Ramon asked it if was going to Varela’s. Varela negated and told
       Ramon it was going to be delivered to the same dude they (the 23) always were.
       Varela added with the tall dumb guy.

Call 966 at 16.
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       121.    In a later call on November 9, 2011, Varela asked Gonzalez, Sr. if he was on his

way to Albuquerque with the cocaine shipment; Gonzalez, Sr. said that he was not on his way

yet. See Jan. 22, 2015, Tr. at 143:21-25 (Maestas); Session Number: 994 (Nov. 9, 2011) at 22,

admitted at the Jan. 22, 2015, evidentiary hearing as Government Exhibit 2 (“Call 994”)(“Varela

asked Ramon if he was on his way. Ramon negated and added he was just going to see this

dudes offices of the apartments.”).

       122.    Varela then informed Gonzalez, Sr. that the Border Patrol checkpoint was

operational. See Jan. 22, 2015, Tr. at 144:1-3 (Maestas); Call 994 at 22 (“Varela informed

Ramon the machine [NFI] was in place.”).

       123.    Gonzalez, Sr. agreed and added that it was “red alert” there. Jan. 25, 2015, Tr. at

144:3-4 (Maestas); Call 994 at 22 (“Ramon affirmed and added it was red alert there [NFI].”).

       124.    Gonzalez, Sr. told Varela that he was aware of the checkpoint and would leave

from El Paso with the cocaine at 4:00 a.m. the next morning, when the checkpoint would likely

not be operational. See Jan. 22, 2015, Tr. at 145:12-17 (Maestas); Call 994 at 22 (“Ramon told

Varela he saw it since he got there [NFI]. Ramon added he would take off at four in the

morning. Varela replied that was better. Ramon added why take a risk.”).

       125.    Gonzalez, Sr. is a horse trainer of fairly national recognition. See Jan. 22, 2015,

Tr. at 42:10-19 (Maestas, Walz).

       126.    Varela and Gonzalez, Sr. were part owners of at least one horse. See Jan. 22,

2015, Tr. at 43:6-17 (Maestas, Walz).

       127.    Video surveillance of Gonzalez, Sr.’s multiple homes did not reveal any criminal

activity, and that physical surveillance of Gonzalez, Sr. and A. Gonzalez at a racetrack in




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Sunland, New Mexico, also did not reveal any criminal activity. See Jan. 22, 2015, Tr. at 42:10-

51:16 (Maestas, Walz).

       3.      The DEA’s Surveillance Operation.

       128.    In addition to the telephone conversations referenced above, Maestas arranged

for DEA agents to assist with the investigation by conducting surveillance of Gonzalez, Sr., A.

Gonzalez, and others in the El Paso area on November 9, 2011, and November 10, 2011. See

Transcript of Hearing (taken January 28, 2015) at 155:8-15 (Gooch), filed March 30, 2015 (Doc.

754)(“Jan. 28, 2015, Tr.”); id. at 156:13-18 (Gooch); id. at 158:16-25 (Gooch).

       129.   Douglas Gooch, a DEA Special Agent from the Albuquerque DEA office, was in

charge of the surveillance operation in El Paso and supervised five DEA agents from the

Albuquerque office and six to eight agents from the El Paso office. See Jan. 28, 2015, Tr. at

156:19-157:18 (Swainston, Gooch).

       130.   The purpose of the surveillance operation was to seize the cocaine shipment that

Gonzalez, Sr. planned to transport from El Paso to Albuquerque. See Jan. 28, 2015, Tr. at

157:19-158:6 (Swainston, Gooch).

       131.   The surveillance operation began on November 9, 2011 when Maestas called

Gooch and told him that, based on intercepted telephone communications, Maestas believed that

Gonzalez, Sr. was going to pick up a drug load in El Paso. See Jan. 28, 2015, Tr. at 158:16-20

(Swainston, Gooch).

       132.   Gooch and the surveillance team first encountered Gonzalez, Sr. and A. Gonzalez

on November 9, 2011, heading south on Interstate 25 towards El Paso at a truck stop just over

the border into Texas; Gonzalez, Sr. was driving a white Dodge pickup truck with an attached




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horse trailer and A. Gonzalez was driving a maroon Dodge pickup without a trailer attached to it.

See Jan. 28, 2015, Tr. at 158:16-159:8 (Gooch).

       133.    Agents continued to maintain surveillance of Gonzalez, Sr. and A. Gonzalez in

the El Paso area. See Jan. 28, 2015, Tr. at 158:16-167:5 (Swainston, Gooch).

       134.    At approximately 8:30 p.m., the agents observed a meeting between Gonzalez,

Sr., A. Gonzalez, and two female subjects in a mall parking lot. See Jan. 28, 2015, Tr. at 159:1-

160:4 (Swainston, Gooch).

       135.    After the meeting at the parking lot, Gonzalez, Sr. and A. Gonzalez returned to

their hotel. See Jan. 28, 2015, Tr. at 160:5-10 (Gooch).

       136.    At approximately 9:00 p.m., agents observed A. Gonzalez leave the hotel in the

maroon pickup, but the agents were unable to maintain surveillance of it. See Jan. 28, 2015, Tr.

at 161:15-20 (Gooch).

       137.    A few minutes later, agents observed Gonzalez, Sr. drive his truck and trailer

from the hotel to a storage facility and drive into the storage facility. See Jan. 28, 2015, Tr. at

161:21-162:12 (Gooch).

       138.    A. Gonzalez’ and Gonzalez, Sr.’s hotel was located about a half mile from the

storage facility. See Jan. 28, 2015, Tr. at 166:10-14 (Swainston, Gooch).

       139.    At approximately 9:15 p.m., a blue minivan arrived at the storage facility, pulled

up to the front gate and stopped; A. Gonzalez’ truck then drove to the front gate to activate the

gate, so that the blue minivan could enter the facility. See Jan. 28, 2015, Tr. at 162:13-21

(Gooch).

       140.    The blue minivan and A. Gonzalez’ truck drove back to a storage unit together.

See Jan. 28, 2015, Tr. at 162:18-21 (Gooch).



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       141.    At approximately 10:00 p.m., Gonzalez, Sr.’s truck, A. Gonzalez’ truck, and the

minivan left the storage facility “in tandem.” Jan. 28, 2015, Tr. at 162:22-25 (Gooch).

       142.    The surveillance team never observed A. Gonzalez or Gonzalez, Sr. take any

boxes from the storage unit and put them in the trailer. See Jan. 28, 2015, Tr. at 171:18-20

(Walz, Gooch).

       143.    The surveillance team did not see any action by either Gonzalez, Sr. or A.

Gonzalez at the storage site indicating that they were transferring any items from the storage

facility to the trailer attached to Gonzalez, Sr.’s pickup. See Jan. 28, 2015, Tr. at 171:20-25

(Walz, Gooch).

       144.    Throughout the surveillance operation, Gooch and Maestas were in constant

communication, and Maestas was giving Gooch instructions based on the telephone

conversations that he was intercepting. See Jan. 28, 2015, Tr. at 167:8-16 (Swainston, Gooch).

       145.    Maestas told Gooch that, based on intercepted telephone conversations, he

expected Gonzalez, Sr. and A. Gonzalez to leave El Paso at approximately 4:00 a.m. on

November 10, 2011, so Gooch and the surveillance team maintained constant surveillance on

Gonzalez, Sr. and A. Gonzalez at the hotel after they went to sleep. See Jan. 28, 2015, Tr. at

167:1-7 (Swainston, Gooch).

       146.    At almost 4:00 a.m., Gonzalez, Sr. got into the white Dodge pickup with the

trailer, A. Gonzalez got into the maroon Dodge pickup, and both began driving towards

Albuquerque. See Jan. 28, 2015, Tr. at 169:9-14 (Gooch).

       147.    A. Gonzalez’ and Gonzalez, Sr.’s trucks eventually separated, and the

surveillance team split up, so that they could follow both vehicles. See Jan. 28, 2015, Tr. at

169:18-23 (Gooch).



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       148.    Although Gooch and other agents followed A. Gonzalez, they eventually let him

go without stopping his vehicle. See Jan. 28, 2015, Tr. at 169:24-170:12 (Swainston, Gooch).

       149.    At the surveillance team’s direction, Border Patrol officers later stopped the two

female subjects, conducted a search of their vehicle, but did not find any contraband; the officers

found hidden compartments in the vehicle, however. See Jan. 28, 2015, Tr. at 175:17-23 (Walz,

Gooch).

       150.    The DEA surveillance team did not participate in the stop or search of Gonzalez,

Sr.’s vehicle, because they wanted to protect the DEA’s wiretap investigation. See Jan. 28,

2015, Tr. at 170:13-23 (Swainston, Gooch); id.. at 196:23-197:4 (Swainston, Lopez).

       4.      The Stop of Gonzalez, Sr.’s Truck and the Search of His Trailer.

       151.    DEA Special Agent Emrich, who worked in the Albuquerque, New Mexico DEA

office, asked Angel Lopez, who is a detective with the El Paso Sheriff’s Office assigned to the

DEA as a Task Force Officer, to obtain the assistance of deputies with the El Paso Sheriff’s

Office in conducting a “walled-off” traffic stop of Gonzalez, Sr.’s vehicle. Jan. 28, 2015, Tr. at

185:1-9 (Swainston, Lopez). See id. at 206:22-207:14 (Walz, Lopez).

       152.    A walled-off stop is when officers who are not involved in the wiretap

investigation obtain their own probable cause -- typically based on a motor vehicle code

violation -- to conduct a traffic stop on the target vehicle. See Jan. 28, 2015, Tr. at 185:14-24

(Swainston, Lopez).

       153.    The El Paso Sheriff’s Office assigned Almonte and Marquez to conduct the

walled-off stop of Gonzalez, Sr.’s vehicle. See Jan. 28, 2015, Tr. at 187:15-24 (Swainston,

Lopez).




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       154.    Lopez explained to Marquez that he and Almonte were assisting the Albuquerque

DEA office in a wiretap investigation and that the DEA needed the deputies to conduct a traffic

stop on a vehicle that was possibly loaded with an unknown amount of cocaine. See Jan. 28,

2015, Tr. at 189:5-15 (Swainston, Lopez).

       155.    Lopez told Marquez that he and Almonte should find their own probable cause to

stop Gonzalez, Sr.’s truck, but did not tell them for what violations to look. See Jan. 28, 2015,

Tr. at 200:8-13 (Walz, Lopez).

       156.    Lopez also informed Marquez that the truck would likely be loaded with drugs,

but he did not say anything about obtaining Gonzalez, Sr.’s consent to search the truck. See Jan.

28, 2015, Tr. at 200:14-23 (Walz, Lopez).

       157.    Lopez also gave Marquez a DEA radio, so he could be in contact with the DEA

surveillance team. See Jan. 28, 2015, Tr. at 188:19-189:4 (Swainston, Lopez).

       158.    At approximately 3:30 a.m., on November 10, 2011, Lopez met Marquez at

Gonzalez, Sr.’s and A. Gonzalez’ hotel, so that Lopez could point out Gonzalez, Sr.’s vehicle to

Marquez. See Jan. 28, 2015, Tr. at 192:14-193:4 (Swainston, Lopez).

       159.    Marquez and Almonte agreed to park in different locations, so that one of them

could intercept Gonzalez, Sr., regardless which direction he traveled from the hotel. See Jan. 28,

2015, Tr. at 193:7-20 (Swainston, Lopez).

       160.    Lopez stayed at A. Gonzalez’ and Gonzalez, Sr.’s hotel, so that he could

communicate Gonzalez, Sr.’s location to Marquez and Almonte. See Jan. 28, 2015, Tr. at

193:22-194:6 (Swainston, Lopez).




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       161.    From that point forward, Lopez used the DEA radio to communicate with

Marquez, and Marquez communicated with Almonte through the Sheriff’s Office radio. See Jan.

28, 2015, Tr. at 194:11-14 (Swainston, Lopez).

       162.    Marquez gave Almonte a description of Gonzalez, Sr.’s truck and trailer, and told

him that a DEA investigation indicated that Gonzalez, Sr.’s truck likely contained illegal drugs.

See Jan. 28, 2015, Tr. at 250:16-20 (Swainston, Almonte); id. at 251:22-252:6 (Swainston,

Almonte); id. at 253:7-10 (Walz, Almonte); id. at 265:1-10 (Walz, Almonte).

       163.    When Gonzalez, Sr.’s truck left the hotel, Lopez followed it and relayed its

location to Marquez, who then relayed its location to Almonte, who conducted the stop. See Jan.

28, 2015, Tr. at 194:7-196:22 (Swainston, Lopez); id. at 202:18-22 (Walz, Lopez); id. at

226:1-16 (Swainston, Almonte).

       164.    While he was driving down the road, Almonte was on the left side of Gonzalez,

Sr.’s truck, where he observed that there was a paper tag on the truck’s left rear window, and he

could not make out the paper tag; it also appeared to Almonte that the paper was lifted, obscuring

the tag. See Jan. 28, 2015, Tr. at 226:22-227:2 (Swainston, Almonte).

       165.    Almonte also noticed, while he was driving down the road, that there was no

license plate on the truck’s rear bumper. See Jan. 28, 2015, Tr. at 227:2-3 (Swainston, Almonte).

       166.    Almonte thus decided to stop Gonzalez, Sr.’s truck for improperly displaying a

temporary, paper registration that was in the left rear window but was rolled and unreadable, thus

obscuring any applicable expiration date. See Jan. 28, 2015, Tr. at 226:17-227:19 (Swainston,

Almonte).

       167.    At approximately 4:08 a.m., Almonte turned on his emergency lights on, and

Gonzalez, Sr. pulled the truck to the side of the road; then, Almonte exited his vehicle and



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approached the driver’s side of the truck. See Jan. 28, 2015, Tr. at 228:12-22 (Swainston,

Almonte).

       168.   Gonzalez, Sr. was alone in the truck.       See Jan. 28, 2015, Tr. at 228:12-22

(Swainston, Almonte).

       169.   The interior of Gonzalez, Sr.’s truck was very dirty, with clothing and luggage on

the rear bench seat, several empty water bottles, uneaten food on the floor boards, and several

empty food wrappers and containers.      See Jan. 28, 2015, Tr. at 235:19-236:5 (Swainston,

Almonte); id. at 298:1-25 (Swainston, Marquez).

       170.   In Spanish, Almonte asked for Gonzalez, Sr.’s driver’s license and insurance card,

and advised him that he was stopped for his paper tag not being clearly visible and for having no

license plate on the truck’s rear bumper.     See Jan. 28, 2015, Tr. at 230:4-11 (Swainston,

Almonte).

       171.   Almonte is proficient in Spanish. See Jan. 28, 2015, Tr. at 226:23-24 (Swainston,

Almonte).

       172.   Gonzalez, Sr. “did not say a word,” but lifted a New Mexico license plate off the

right front seat of the vehicle and showed it to Almonte. Jan. 28, 2015, Tr. at 230:12-14

(Almonte).

       173.   Almonte advised Gonzalez, Sr. that the license plate belongs on the truck’s rear

bumper, and asked a second time for Gonzalez, Sr.’s driver’s license and insurance card. See

Jan. 28, 2015, Tr. at 230:14-17 (Almonte).

       174.   Gonzalez, Sr. again did not respond to Almonte and showed Almonte the license

plate a second time. See Jan. 28, 2015, Tr. at 230:17-20 (Almonte).




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       175.   After Almonte asked Gonzalez, Sr. for his driver’s license and insurance card a

third time, Gonzalez, Sr. finally gave them to Almonte. See Jan. 28, 2015, Tr. at 230:21-24

(Almonte).

       176.   Almonte asked Gonzalez, Sr. to whom the truck belonged, and Gonzalez, Sr.

responded that it was his. See Jan. 28, 2015, Tr. at 232:12-14 (Almonte).

       177.   Almonte asked Gonzalez, Sr. how long he had owned the truck, and Gonzalez, Sr.

replied that he had owned it for approximately one month. See Jan. 28, 2015, Tr. at 232:12-15

(Almonte).

       178.   Almonte then asked Gonzalez, Sr. how long he had owned the horse trailer, and

Gonzalez, Sr. responded that he had owned it for two years. See Jan. 28, 2015, Tr. at 232:15-17

(Almonte).

       179.   Almonte then asked Gonzalez, Sr. to exit the vehicle, because Gonzalez, Sr. was

speaking very softly and Almonte could not hear him well. See Jan. 28, 2015, Tr. at 231:17-21

(Almonte).

       180.   Almonte had difficulty hearing at the January 28, 2015, evidentiary hearing, and

had hearing problems at the time that he conducted the stop of Gonzalez, Sr.’s truck. See Jan.

28, 2015, Tr. at 231:22-24 (Swainston, Almonte).

       181.   Gonzalez, Sr. exited his truck, and walked to the shoulder of the highway on the

right back corner of his truck. See Jan. 28, 2015, Tr. at 232:1-3 (Almonte); id. at 233:4-14

(Swainston, Almonte).

       182.   Almonte asked Gonzalez, Sr. where he was going, and Gonzalez, Sr. replied that

he was on his way to pick up a horse at Chamberino Market de Mendon Ranch. See Jan. 28,

2015, Tr. at 233:23-234:14 (Swainston, Almonte).



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       183.    At that time, which was approximately 4:12 a.m., Marquez pulled up to the

location at which Almonte had stopped Gonzalez, Sr.’s truck.            See Jan. 28, 2015, Tr. at

209:20-21 (Walz, Lopez); id. at 232:4-5 (Swainston, Almonte).

       184.    Marquez was in a marked patrol car, and he was wearing his full police uniform.

See Jan. 28, 2015, Tr. at 234:22-25 (Swainston, Almonte).

       185.    Almonte advised Marquez why he had stopped Gonzalez, Sr., that he was going

to conduct a record check on Gonzalez, Sr. and the truck, and that Gonzalez, Sr. had told him

that he was on his way to Chamberino, New Mexico to pick up a horse. See Jan. 28, 2015, Tr. at

232:4-8 (Swainston, Almonte).

       186.    A record check involves the deputy contacting the Sheriff’s Office dispatcher and

giving her the license plate number and the individual’s driver’s license number; if the check

comes back negative for outstanding arrest warrants, the deputy proceeds with his or her

interview of the driver. See Jan. 28, 2015, Tr. at 237:20-238:3 (Swainston, Almonte).

       187.    While Almonte was conducting the records check, Marquez had a conversation

with Gonzalez, Sr. See Jan. 28, 2015, Tr. at 284:7-10 (Swainston, Marquez).

       188.    Initially, Gonzalez, Sr. told Marquez that he was going to Chamberino to pick up

two mares and a colt that belonged to him. See Jan. 28, 2015, Tr. at 284:15-23 (Swainston,

Marquez); Incident/Investigation Report at 9,34 filed August 7, 2014 (Doc. 675-1)(“Incident

Report”)(“Gonzales stated that he had just left a hotel and was on the way to Chamberino, NM to

pick up two mares and a colt. Gonzales stated that the horses were his . . . .”).

       189.    When Marquez asked where Gonzalez, Sr. was going a second time, however,

Gonzalez, Sr. said that he was going to pick up some horses that belonged to the owner of the

       34
         The Court will use CM/ECF’s pagination -- i.e., in the numbers in the furthest upper-
right-hand corner of each page -- rather than document’s.
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farm. See Jan. 28, 2015, Tr. at 285:5-13 (Swainston, Marquez); Incident Report at 9 (“Gonzales

was asked where he was going and to what farm in Chamberino, NM. Gonzales stated he was

going to pick up some horses that belonged to the owner of the farm.”).

       190.    When Marquez spoke to Gonzalez, Sr., Gonzalez, Sr. appeared “a little more

nervous than somebody who has just committed a traffic violation.” Jan. 28, 2015, Tr. at

285:16-18 (Marquez).

       191.    Marquez said that Gonzalez, Sr. appeared nervous because “[h]e would point at

the truck,” “turn and look at it,” “rub his face,” “really couldn’t stand still,” and was “shuffling

his feet around.” Jan. 28, 2015, Tr. at 209:15-18 (Marquez).

       192.    The records check on Gonzalez, Sr. and his truck ultimately came back negative,

indicating that there were no outstanding warrants associated with Gonzalez, Sr. or the truck.

See Jan. 28, 2015, Tr. at 238:8-10 (Swainston, Almonte).

       193.    Although the record check came back negative, Almonte did not give Gonzalez,

Sr. back his driver’s license or insurance card, but instead placed them in a metal folder in his

patrol car. See Jan. 28, 2015, Tr. at 248:11-24 (Swainston, Almonte); id. at 260:10-20 (Walz,

Almonte).

       194.    Gonzalez, Sr. was not free to leave at that point. See Jan. 28, 2015, Tr. at

260:10-20 (Almonte).

       195.    Based on the information that Almonte had received about the DEA wiretap

investigation, what he had observed regarding the truck’s lack of license plate, the paper tags,

and the condition of the truck’s interior, he asked Gonzalez, Sr. if he had anything illegal in the

truck; Gonzalez, Sr. said no. See Jan. 28, 2015, Tr. at 239:7-12 (Almonte).




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       196.    Almonte then asked Gonzalez, Sr. if he had any cocaine in the truck, to which

Gonzalez, Sr. said no. See Jan. 28, 2015, Tr. at 239:12-14 (Almonte).

       197.    Almonte asked Gonzalez, Sr. if he any methamphetamine in the truck, and

Gonzalez, Sr. said no. See Jan. 28, 2015, Tr. at 239:14-15 (Almonte).

       198.    Almonte asked Gonzalez, Sr. if he had any heroin in the truck, and Gonzalez, Sr.

said no. See Jan. 28, 2015, Tr. at 239:15-16 (Almonte).

       199.    Almonte asked Gonzalez, Sr. if he had any marijuana in the truck, and Gonzalez,

Sr. said no. See Jan. 28, 2015, Tr. at 239:16-17 (Almonte).

       200.    Almonte then asked Gonzalez, Sr. if he would consent to a search of his truck;

Gonzalez, Sr. said yes. See Jan. 28, 2015, Tr. at 239:18-20 (Almonte).

       201.    Almonte gave Gonzalez, Sr. a consent-to-search form that Gonzalez, Sr. reviewed

and signed. See Jan. 28, 2015, Tr. at 241:1-244:10 (Almonte); Consent to Search (dated Nov.

10, 2011), admitted at the January 28, 2015, evidentiary hearing as Government Exhibit 1

(“Consent Form”).

       202.    When Almonte gave the Consent Form to Gonzalez, Sr., Marquez took a couple

steps away from Gonzalez, Sr. so that he did not feel intimidated by two officers being right next

to him. See Jan. 28, 2015, Tr. at 288:3-18 (Swainston, Marquez).

       203.    The Consent Form has identical statements in English and Spanish; Gonzalez, Sr.

filled out only the Spanish portion. See Jan. 28, 2015, Tr. at 240:16-18 (Swainston, Almonte);

Consent Form at 1.

       204.    Superimposing Gonzalez, Sr.’s statements on the English portion, the Consent

Form reads as follows:

               I, Ramon D. Gonzalez Dob 7-15-66, have been informed of my
       constitutional right guaranteed under the Fourth Amendment of the U.S.

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       Constitution, not to have a search made hereinafter mentioned without a search
       warrant, and of my right to refuse consent to a search. I hereby authorize Luis
       Almonte M. Marquez, K9 Remo and K9 Remo (Police Dog), Deputy Sheriff(s) of
       the El Paso County Sheriff’s Department, to conduct a complete search of my
       2012 Dodge Truck NM72640 Sundowner Horse Trailer (premises, vehicles),
       located at Interstate 10 West Redd Rd., El Paso County, Texas. These officers are
       authorized by me to take any letter, papers, materials, or other property, which
       they may deem necessary. This written permission is given by me to the above
       named officers voluntarily and without threats, promises, or coercion of any kind.

Consent Form at 1. See Jan. 28, 2015, Tr. at 241:17-243:22 (Swainston, Almonte).

       205.   Gonzalez, Sr. took approximately two minutes to read and fill out the Consent

Form. See Jan. 28, 2015, Tr. at 244:11-13 (Swainston, Almonte).

       206.   Gonzalez, Sr. did not have any questions or concerns about the Consent Form

before he signed it. See Jan. 28, 2015, Tr. at 244:14-16 (Swainston, Almonte); id. at 288:19-25

(Swainston, Marquez).

       207.   Gonzalez, Sr. also noted the time that he signed the Consent Form -- 4:24 a.m. --

in the Consent Form’s bottom-right corner. See Jan. 28, 2015, Tr. at 244:4-10 (Swainston,

Almonte).

       208.   Almonte and Marquez also signed the Consent Form. See Jan. 28, 2015, Tr. at

244:1-3 (Swainston, Almonte).

       209.   When Gonzalez, Sr. read and signed the Consent Form, Almonte’s drug-detection

dog, Remo, was in Almonte’s patrol car. See Jan. 28, 2015, Tr. at 245:12-19 (Swainston,

Almonte).

       210.   Before Gonzalez, Sr. signed the Consent Form, his discussion with Almonte was

“conversational, . . . low voice tone, and cooperative.”      Jan. 28, 2015, Tr. at 245:7-11

(Swasinton, Almonte).




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       211.   Almonte did not tell Gonzalez, Sr. that he had to sign the consent or “force him to

sign the consent in any way.” Jan. 28, 2015, Tr. at 245:12-15 (Swainston, Almonte).

       212.   When Gonzalez, Sr. reviewed and signed the Consent Form, he appeared calm

and was mainly silent, except when Almonte asked if he would consent to the search, and

Gonzalez, Sr. said “yes.” Jan. 28, 2015, Tr. at 245:20-246:2 (Swainston, Almonte).

       213.   Almonte then retrieved Remo from his patrol unit to conduct the search. See Jan.

28, 2015, Tr. at 246:6-7 (Swainston, Marquez).

       214.   Because Gonzalez, Sr.’s driver’s license and insurance card were still in

Almonte’s patrol car, Gonzalez, Sr. was not free to leave when he signed the Consent Form or

when the search was conducted. See Jan. 28, 2015, Tr. at 262:22-263:1 (Walz, Almonte).

       215.   While Almonte and Remo were searching Gonzalez, Sr.’s truck and trailer,

Marquez asked Gonzalez, Sr. a number of questions -- for example, if he had anything illegal,

any weapons, or any drugs in the truck; Gonzalez, Sr. responded no to all of these questions. See

Jan. 28, 2015, Tr. at 293:20-294:5 (Swainston, Marquez).

       216.   When Marquez asked Gonzalez, Sr. if he had any marijuana, Gonzalez, Sr. looked

towards his truck and said “no,” while laughing nervously. Jan. 28, 2015, Tr. at 234:5-7

(Swainston, Marquez).

       217.   When Marquez asked Gonzalez, Sr. if he had any large amounts of currency,

Gonzalez, Sr. reached into his pocket and pulled out a handful of change. See Jan. 28, 2015, Tr.

at 294:12-16 (Swainston, Marquez).

       218.   After the search began, Gonzalez, Sr. never said: “Stop doing the search, I revoke

my consent.” Jan. 28, 2015, Tr. at 244:21-24 (Swainston, Almonte).




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       219.    When Almonte approached Gonzalez, Sr.’s horse trailer with Remo, the dog

immediately alerted to the presence of drugs at the rear of the trailer. See Jan. 28, 2015, Tr. at

246:12-15 (Almonte).

       220.    Remo then alerted several times along the side of the trailer and once at the

trailer’s nose. See Jan. 28, 2015, Tr. at 246:16-21 (Almonte).

       221.    Almonte then opened the trailer, but did not see any animals inside; Remo went

inside of the trailer’s nose and alerted at a compartment that was approximately four feet off of

the floor of the trailer. See Jan. 28, 2015, Tr. at 246:22-247:4 (Almonte).

       222.    At that point, which was approximately 4:26 a.m., Almonte returned Remo to his

patrol car and asked Marquez to search the trailer’s nose. See Jan. 28, 2015, Tr. at 247:5-248:10

(Swainston, Almonte); id. at 293:16-20 (Swainston, Marquez).

       223.    Almonte did not tell Gonzalez, Sr. that he could not leave at any time during the

search; he also did not put handcuffs on Gonzalez, Sr. at any time during the search. See Jan. 28,

2015, Tr. at 249:25-250:10 (Swainston, Almonte).

       224.    Marquez ultimately discovered marijuana in the compartment in the trailer’s nose,

he then handcuffed Gonzalez, Sr., placed him in his patrol car, and read Gonzalez, Sr. his rights

under Miranda v. Arizona, 384 U.S. 436 (1966)(“Miranda”).35            See Jan. 28, 2015, Tr. at

296:6-297:2 (Swainston, Marquez).



       35
         Miranda “requires that procedural safeguards be administered to a criminal suspect
prior to ‘custodial interrogation.’” United States v. Perdue, 8 F.3d 1455, 1463 (10th
Cir. 1993)(quoting Miranda, 384 U.S. at 444). The Supreme Court provided the substance of the
warning that must be given to a defendant to meet these procedural safeguard requirements:

       Prior to any questioning, the person must be warned that he has a right to remain
       silent, that any statement he does make may be used as evidence against him, and
       that he has a right to the presence of an attorney, either retained or appointed. The
       defendant may waive effectuation of these rights, provided the waiver is made
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       225.    After Marquez placed Gonzalez, Sr. in his patrol car, he called Lopez and told

him that he had discovered marijuana in the trailer attached to Gonzalez, Sr.’s truck. See Jan. 28,

2105, Tr. at 211:1-5 (Walz, Lopez); id. at 297:16-19 (Swainston, Marquez).

       226.    Lopez then told Marquez to “go back in, because there should be cocaine in the

vehicle.” Jan. 28, 2015, Tr. at 211:4-5 (Walz, Lopez). See Jan. 28, 2015, Tr. at 297:19-20

(Swainston, Marquez).

       227.    Marquez then searched the compartment in the trailer’s nose a second time and

found a black bag with cocaine inside. See Jan. 28, 2015, Tr. at 297:7-22 (Swainston, Marquez).

       228.    Marquez transported Gonzalez, Sr. to the detention facility for processing and to

do the arrest paperwork. See Jan. 28, 2015, Tr. at 304:18-21 (Swainston, Marquez).

       229.    While Gonzalez, Sr. and Marquez “were having conversations,” and while

Marquez was asking Gonzalez, Sr. about some horse trainers, Gonzalez, Sr. told Marquez that

“we had stopped him too soon. If we would have waited, we would have gotten the owner at the

Pilot in Acton.”36 Jan. 28, 2015, Tr. at 304:22-305:25 (Marquez)(internal quotation marks

omitted).

       230.    Gonzalez, Sr. said that “he was a small fish and the other ones would have been a

bigger catch.” Jan. 28, 2015, Tr. at 305:2-4 (Marquez)(internal quotation marks omitted).




       voluntarily, knowingly and intelligently. If, however, he indicates in any manner
       and at any stage of the process that he wishes to consult with an attorney before
       speaking there can be no questioning. Likewise, if the individual is alone and
       indicates in any manner that he does not wish to be interrogated, the police may
       not question him.

Miranda, 384 U.S. at 444-45.
       36
        Neither party has provided additional information explaining what “the Pilot in Acton”
means. Jan. 28, 2015, Tr. at 304:22-305:25 (Marquez).
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       231.    Marquez asked Gonzalez, Sr. if he was being followed or being checked on, and

Gonzalez, Sr. told Marquez that “he was in communication with somebody else on a push-to-talk

phone that was in the truck.” Jan. 28, 2015, Tr. at 306:4-8 (Marquez).

       232.    Marquez asked Gonzalez, Sr. why he had not told Marquez during the traffic stop

that he was possibly being followed; Gonzalez, Sr. said that “it was because he was in the unit

and there was nobody there.” Jan. 28, 2015, Tr. at 306:11-20 (Marquez).

       233.    Marquez did not take Gonzalez, Sr.’s statements, and he did not have Gonzalez,

Sr. sign them. See Jan. 28, 2015, Tr. at 307:4-9 (Walz, Marquez).

       234.    Marquez also did not record Gonzalez, Sr.’s statements. See Jan. 28, 2015, Tr. at

309:2-5 (Walz, Marquez).

       235.    After Gonzalez, Sr. was processed at the El Paso County Detention Facility,

Alberty Montoya, an El Paso County Sheriff’s Office detective, read Gonzalez, Sr. his Miranda

rights in Spanish. See Jan. 28, 2015, Tr. at 338:20-22 (Swainston, Montoya).

       236.    Gonzalez, Sr. signed the Miranda rights form, indicating that he had read his

rights and acknowledged them. See Jan. 28, 2015, Tr. at 339:2-11 (Swainston, Montoya);

Miranda Warning Form (dated Nov. 20, 2011), admitted at the January 28, 2105, evidentiary

hearing as Government Exhibit 3 (“Miranda Form”).

       237.    After signing the Miranda Form, Gonzalez, Sr. said he wanted to speak to an

attorney, and Montoya ended the interview. See Jan. 28, 2015, Tr. at 339:19-23 (Montoya).

       238.    As Gonzalez, Sr. and Montoya were waiting for the judge to arraign Gonzalez,

Sr., Gonzalez, Sr. blurted out in Spanish: “Once you’re in this business, if you don’t do what

they tell you to do, even your family is in danger.” Jan. 28, 2015, Tr. at 346:3-5 (Montoya).




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       239.    Gonzalez, Sr.’s statement was not in response any questioning. See Jan. 28, 2015,

Tr. at 340:15-19 (Swainston, Montoya).

       240.    Montoya is proficient in Spanish. See Jan. 28, 2015, Tr. at 340:13-14 (Swainston,

Montoya).

       241.    Montoya then asked Gonzalez, Sr. if he or his family was in any danger, to which

Gonzalez, Sr. responded: “No. I’m just saying.” Jan. 28, 2015, Tr. at 340:7-10 (Swainston,

Montoya).

                              PROCEDURAL BACKGROUND

       Gonzalez, Sr. is one of fifteen co-Defendants whom the United States indicted on January

24, 2012, in an indictment which charged the Defendants with: (i) conspiring to distribute

controlled substances, in violation of 21 U.S.C. § 846; (ii) distributing fifty grams or more of

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A); (iii) conspiring to launder

money, in violation of 18 U.S.C. § 1957; (iv) structuring transactions to evade reporting

requirements, in violation of 31 U.S.C. §§ 5323(a)(1), (d)(1), (d)(2); and (v) using a telephone to

facilitate drug trafficking, in violation of 21 U.S.C. § 843(b). See Indictment passim, filed

January 24, 2012 (Doc. 2).

       1.      The Motion.

       Gonzalez, Sr. filed the Motion on August 7, 2014. See Motion at 1. In the Motion,

Gonzalez, Sr. asks the Court to suppress any statements made or evidence seized as the fruit of

an unconstitutional stop of Gonzalez, Sr.’s truck and an unconstitutional search of his trailer on

November 11, 2011. See Motion at 1. Gonzalez, Sr. explains that, to satisfy the Fourth

Amendment’s requirements, an officer’s traffic stop of a vehicle must satisfy two steps: (i) the

stop must be justified at its inception; and (ii) it must be reasonably related in scope to the



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circumstances which justified the stop in the first place. See Motion at 3 (quoting Terry v. Ohio,

391 U.S. 1, 20 (1968)(“Terry”)). Gonzalez, Sr. asserts that an investigative stop usually must

last “no longer than necessary to effectuate the purpose of the stop.” Motion at 3 (citing United

States v. Lee, 73 F.3d 1034 (10th Cir. 1996)). Gonzalez, Sr. says that, once a driver has provided

proof that he is entitled to operate the vehicle, “he must be allowed to proceed on his way,

without being subject to further delay by police for additional questioning.”         Motion at 3

(quoting United States v. Morse, 15 F. App’x 590, 594 (10th Cir. 2001)(unpublished))(internal

quotation marks omitted).

       Gonzalez, Sr. points out that there are two exceptions to the general rule that a driver

must be allowed to proceed once he or she has provided evidence that he or she is allowed to

drive, and an officer has issued any warnings or traffic citations: (i) the officer has reasonable

suspicion that the driver is involved in illegal activity; or (ii) the driver consents to further

questioning. See Motion at 4 (citing United States v. Patten, 183 F.3d 1190, 1193 (10th Cir.

1999); United States v. W., 219 F.3d 1171, 1176 (10th Cir. 2000)(holding that a driver must be

permitted to leave after a routine traffic stop if a license and registration check reveal no reason

to detain the driver further, the officer has no reasonable suspicion, and the driver has not

consented to further questioning)). Gonzalez, Sr. asserts that there is a two-step process to

determine if consent is freely and voluntarily given. See Motion at 4. First, the United States

“must proffer clear and positive testimony that the consent was equivocal and specific, and freely

and intelligently given.” Motion at 5. Second, the United States must show that coercion or

duress did not give rise to the consent. See Motion at 5 (citing United States v. McRae, 81 F.3d

1528, 1537 (10th Cir. 1996)).




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       Gonzalez, Sr. contends that the Court should consider several factors to determine if he

gave consent voluntarily: (i) the presence of multiple officers; (ii) an officer’s use of a

threatening tone; (iii) an officer’s prolonged retention of personal documents; (iv) the “absence

of the public”; and (v) the officer not informing the individual that he or she is free to leave.

Motion at 5 (citing United States v. Ledesma, 447 F.3d 1307 (10th Cir. 2006); United States v.

Harmon, 785 F. Supp. 2d 1146, 1150 (D.N.M. 2011)(Browning, J.), aff’d 742 F.3d 451 (10th

Cir. 2014)). Gonzalez, Sr. maintains that, in the United States Court of Appeals for the Tenth

Circuit, there is a bright-line rule that an encounter which an officer initiates through a traffic

stop “cannot be consensual if the driver’s license and registration have not been returned to him.”

Motion at 5 (citing United States v. Gonzalez-Lerma, 14 F.3d 1479, 1483 (10th Cir. 1994)).

       Gonzalez, Sr. argues that there is insufficient information for the Court to conclude that

Almonte’s initial stop of Gonzalez, Sr.’s vehicle was justified, “as it was 4:00 am and it seems

unusual that a stop at this hour would be made for failing to display a proper license tag.”

Motion at 5.     Gonzalez, Sr. asserts that, after Almonte obtained Gonzalez, Sr.’s current

registration and permanent license plate, and verified that Gonzalez, Sr. did not have any

outstanding warrants, the initial reason for Almonte’s stop ended. See Motion at 6. Gonzalez,

Sr. contends that, at that point, Almonte should have issued him a citation, given him a warning,

or allowed him to leave. See Motion at 6.

       Gonzalez, Sr. states that, to continue his detention after the traffic stop’s purpose was

accomplished, Almonte and Marquez needed to obtain Gonzalez, Sr.’s consent or to have

reasonable suspicion of illegal activity. See Motion at 6. Gonzalez, Sr. asserts:

       There were no actions taken by Defendant that would lead to a reasonable
       suspicion that the Defendant was involved in any illegal activity. The deputy did
       not indicate that Defendant showed any signs of excessive nervousness or had any
       inconsistencies in his responses to the general questioning by the Deputy. The

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       Defendant owned the vehicle and it was not rented. He had proper proof of
       insurance and was properly licensed to drive. He did not try to hide his identity
       and has no prior criminal history. Further, there were no other factors which the
       deputy could have known of which would lead to a reasonable suspicion that
       illegal activity was afoot.

Motion at 6. Gonzalez, Sr. argues that, although Almonte was permitted to take Gonzalez, Sr.’s

driver’s license and proof of insurance to determine if there were any warrants against him, and,

if his license was legitimate, the stop become an impermissible seizure once those searches came

back clean and Almonte continued to hold onto those documents. See Motion at 6-7.

       Gonzalez, Sr. argues that he did not freely and voluntarily consent to be detained for

further questioning or to have his trailer searched. See Motion at 7. Gonzalez, Sr. says that there

were “at least” two deputies present, the deputies questioned Gonzalez, Sr. and obtained his

consent “at an early hour of the morning and on the side of Interstate 10,” there was “a general

absence of the public” on the side of the highway at 4:00 a.m., and Almonte did not return any of

Gonzalez, Sr.’s documents before obtaining his consent. Motion at 7. Gonzalez, Sr. argues that,

because the deputies did not have reasonable suspicion that he was involved in criminal activity,

and because they did not obtain his free and voluntary consent to search the trailer, the deputies

violated his Fourth Amendment rights to be free from unreasonable search and seizure. See

Motion at 7.

       Gonzalez, Sr. asserts that the Court must suppress any evidence obtained as a direct result

of the unlawful search as “fruit of the poisonous tree.” Motion at 7 (quoting United States v.

Harmon, 785 F. Supp. 2d at 1159)(internal quotation marks omitted). Gonzalez, Sr. argues that

“[a]s a result of the Constitutional violations all of the drugs seized during the illegal search of

Defendant’s truck and trailer should be suppressed because they were obtained during an

unlawful search in violation of Defendant Gonzalez’ Fourth Amendment rights.” Motion at 7.



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Gonzalez, Sr. urges that the Court should suppress any subsequent statements that he made “after

his arrest and prior to Defendant asking for an attorney during questioning by detectives,”

because those statements were a direct result of the drugs found during the illegal search.

Motion at 7-8.

       2.        The Response.

       The United States responded to the Motion on December 4, 2014. See United States’

Response to Defendant’s Motion to Suppress, filed December 4, 2014 (Doc. 720)(“Response”).

The United States asks the Court to deny the Motion for five reasons. First, the United States

argues that, based on his wiretap analysis, surveillance activities, and experience, Maestas had

probable cause to believe that Gonzalez, Sr. was engaged in illegal drug trafficking. Response at

21. The United States argues that the automobile exception to the Fourth Amendment’s warrant

requirement permits law enforcement officers who have probable cause to believe a car contains

contraband to search the car without obtaining a search warrant. See Response at 22 (citing

United States v. Beckstead, 500 F.3d 1154, 1165 (10th Cir. 2007)). The United States contends

that, when Almonte stopped Gonzalez, Sr., the DEA had in its possession “all of the intercepted

calls and surveillances,” and, in particular, “the final calls between Varela and Gonzalez, Sr., that

SA Maestas[] reasonably believed would result in the drug transaction that eventually

transpired.” Response at 22-23.

       Second, the United States argues that Almonte had a lawful basis to stop Gonzalez, Sr.’s

vehicle and to search his trailer, because of Almonte’s reasonable reliance on the DEA’s

investigation of the Varela DTO. See Response at 21. The United States points out that Lopez

instructed Almonte and Marquez that the DEA had an ongoing investigation into the Varela

DTO. See Response at 21. The United States maintains that, even if the Court decides that



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Almonte’s stop of Gonzalez, Sr. “was not based on a sufficient motor vehicle code violation,”

the DEA investigation provided sufficient probable cause for Almonte to conduct the stop.

Response at 21 (citing United States v. Whitley, 680 F.3d 1227, 1234 (10th Cir. 2012)(“[T]he

officer who makes the stop need not have reasonable suspicion that criminal activity is afoot.

Instead, the knowledge and reasonable suspicions of one officer can be imputed to another.”);

United States v. Chavez, 534 F.3d 1338, 1345-49 (10th Cir. 2008)(holding that police officers

may rely on the instructions of another law enforcement officer to initiate an automobile stop and

conduct a search under the automobile exception, even if the information forming the basis of

probable cause is not communicated)). The United States contends that the DEA’s investigation

also gave Almonte and Marquez probable cause to search Gonzalez, Sr.’s trailer. See Response

at 24.

          Third, the United States argues that Gonzalez, Sr. gave valid consent for the deputies to

search his trailer. See Response at 24. The United States points out that Gonzalez, Sr. “not only

consented but did so in writing.” Response at 24. According to the United States, there was no

undue duress or coercion of any kind, and Gonzalez, Sr. “did not know he was the subject of a

DEA wiretap investigation so he did not know the search of his . . . trailer would likely take

place even if he did not consent.” Response at 24. The United States contends that Gonzalez,

Sr. consented to the search “in the hopes that the Deputies would not locate[] the hidden stash of

drugs, so that he could be on his way.” Response at 24.

          Fourth, the United States urges that the DEA had probable cause to arrest Gonzalez, Sr.

See Response at 25. The United States asserts that, based on his training, experience, and the

evidence collected on the wiretap, Maestas had probable cause to believe that Gonzalez, Sr. was

engaged in “an active, fast moving conspiracy to transport drugs from Mexico to New Mexico



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for distribution, and that Gonzalez, Sr. would be the transporter of the drugs on or about

November 10, 2011.” Response at 25. The United States contends that, even without the seizure

of the drugs, Gonzalez, Sr. “could have been arrested for violation of using a telephone to

advance a drug trafficking crime, in violation of 21 U.S.C. § 843(b).” Response at 25.

       Fifth, the United States maintains that Gonzalez, Sr.’s post-arrest statements are

admissible. See Response at 25. The United States points out that, although Gonzalez, Sr. was

in custody when he “blurted out” the statements that he now seeks to suppress, he was not under

any express questioning or functional equivalent by any law enforcement officers at the time.

Response at 25. The United States argues that, as a result, his statements are admissible. See

Response at 25 (citing Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980)).

       3.     The Reply.

       Gonzalez, Sr. replied to the Response on January 2, 2015.         See Reply Supporting

Defendant’s Motion to Suppress, filed January 2, 2015 (Doc. 724)(“Reply”). Gonzalez, Sr.

begins the Reply by attacking the United States’ reliance on Maestas’ interpretations of the

intercepted communications between the Varela DTO’s members. Reply at 1-2. Gonzalez, Sr.

says that the United States does not provide a description of the parties’ coded language and

“fails to acknowledge that Defendant never once mentioned drugs in any of the recorded

conversations.” Reply at 2. Gonzalez, Sr. then reiterates his primary argument from the Motion

-- i.e., that the deputies ran afoul of the Fourth Amendment when they detained Gonzalez, Sr.

longer than was necessary to effectuate the purpose of the traffic stop -- and addresses each of

the United States’ five arguments from its Response. See Reply at 4-8.

       First, in response to the United States’ argument that Maestas had probable cause to

believe Gonzalez, Sr. possessed illegal drugs, Gonzalez, Sr. contends that Maestas “was not



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involved in the initial traffic stop or the subsequent questioning, search, and arrest” of Gonzalez,

Sr. Response at 6. Gonzalez, Sr. urges that, accordingly, whether Maestas had information on

which to base probable cause “is immaterial to the inquiry at hand.” Reply at 6. Second, in

response to the United States’ contention that the deputies had a lawful basis to stop and question

Gonzalez, Sr. based on the DEA investigation, Gonzalez, Sr. asserts that the United States has

provided no evidence that the deputies “had any knowledge of the DEA investigation or of

Defendant’s alleged complicity in a drug trafficking operation.” Reply at 7. Gonzalez, Sr.

maintains that, to the contrary, the incident reports from the traffic stop are devoid of such

information. See Reply at 7 (citing Incident/Investigation Report (dated Nov. 10, 2011), filed

August 7, 2014 (Doc. 675-1)(“Incident Report”)). Gonzalez, Sr. adds that the traffic stop alone

did not provide the deputies a basis for questioning about drugs or for a vehicle search

“regardless of whether consent was obtained.” Reply at 7.

       Third, addressing the United States’ assertion that “there was probable cause to believe

the vehicle contained drugs,” Gonzalez, Sr. says that the United States has not presented any

evidence that either Almonte or Marquez had any knowledge of the DEA’s investigation of the

Varela DTO or Maestas’ belief that Gonzalez, Sr. was transporting drugs. Reply at 7. Fourth, in

response to the United States’ contention that Gonzalez, Sr. voluntarily consented to the search

of his trailer, Gonzalez, Sr. says that the United States fails to address the cases that Gonzalez,

Sr. cited in the Motion which held that an individual cannot give voluntary consent when officers

retain his or her license and registration. See Reply at 7.

       Fifth, and finally, Gonzalez, Sr. challenges the United States’ assertion that his post-arrest

statement was voluntary. See Reply at 7. Gonzalez, Sr. contends that, although the United

States relies on Miranda’s progeny to support this argument, those cases are all inapposite. See



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Reply at 7. Gonzalez, Sr. asserts that, because his Fourth Amendment rights were violated, “any

evidence obtained as a result of that violation cannot be used by the government, including post-

arrest statements, whether made during a custodial interrogation or not.” Reply at 7-8 (citing

United States v. Baity, No. CR 05-186 JB, 2006 WL 1305035 (D.N.M. Jan. 25, 2006)(Browning,

J.)(suppressing evidence and the defendant’s statements that resulted from an officer’s

unconstitutional frisk of the defendant)).

       4.      The Suppression Hearings.

       The Court held hearings on the Motion on January 22, 2015, January 28, 2015, and

January 30, 2015. Before the United States began its opening statement, the parties discussed

whether the Court may use the collective knowledge doctrine to justify the stop of Gonzalez,

Sr.’s truck and the search of his trailer. See Jan. 22, 2015, Tr. at 9:9-17:8 (Court, Swainston,

Walz). The parties agreed that, generally, courts may use the collective knowledge doctrine to

impute reasonable suspicion and probable cause from one officer to another. See Jan. 22, 2015,

Tr. at 11:5-14:3 (Swainston, Walz); id. at 15:17-24 (Walz). Gonzalez, Sr. argued, however, that:

(i) the DEA’s investigation into the Varela DTO did not cultivate sufficient probable cause to

justify the stop of Gonzalez, Sr.’s vehicle or the search of his trailer; and (ii) even if the DEA’s

investigation established probable cause to stop Gonzalez, Sr.’s vehicle and to search his trailer,

the United States has not shown a sufficient connection between Maestas and the deputies for the

Court to impute the DEA’s probable cause to Almonte and Marquez. See Jan. 22, 2015, Tr. at

15:1-16:4 (Walz).

       The United States called Maestas to testify at the evidentiary hearing. Maestas testified

that, beginning on November 3, 2011, the DEA began to intercept calls between: (i) Varela and

J. Ibarra-Solis; (ii) Varela and A. Gonzalez; (iii) Varela and Gonzalez, Jr.; (iv) Varela and



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Chavez; and (v) Varela and Gonzalez, Sr. See Jan. 22, 2015, Tr. at 30:15-30:7 (Maestas).

Maestas said that, based on his investigation, he believed that Gonzalez, Sr. and A. Gonzalez

planned to transport cocaine from J. Ibarra-Solis to Varela. See Jan. 22, 2015, Tr. at 31:12-18

(Swainston, Maestas). On or about November 9, 2011, Maestas determined that this pending

drug shipment was going to occur in the next few days, and he directed other agents and officers

to intercept the shipment in El Paso through a walled-off stop. See Jan. 22, 2015, Tr. at 32:19-24

(Swainston). At different points in Maestas’ testimony on direct- and cross-examination, he

explained how he interpreted the coded language in the intercepted telephone calls to conclude

that the co-Defendants were planning a shipment of illegal drugs. See Jan. 22, 2015, Tr. at 54:4-

63:23 (Maestas, Walz); id. at 76:1-80:9 (Maestas, Walz); id. at 91:9-146:8 (Maestas, Swainston).

       Maestas also testified that there were no irregularities in Gonzalez, Sr.’s bank accounts or

financial records. See Jan. 22, 2015, Tr. at 83:6-9 (Maestas, Walz). Maestas said that the DEA’s

search of Gonzalez, Sr.’s property did not uncover any money. See Jan. 22, 2015, Tr. at 83:10-

21 (Maestas, Walz). Maestas testified that Gonzalez, Sr. is a horse trainer “of fairly national

recognition,” that video surveillance of Gonzalez, Sr.’s multiple homes did not reveal any

criminal activity, and that physical surveillance of Gonzalez, Sr. and A. Gonzalez at a racetrack

in Sunland, New Mexico, also did not reveal any criminal activity. See Jan. 22, 2015, Tr. at

42:10-51:16 (Maestas, Walz).

       The United States also called Gooch to the stand. Gooch testified that he was in charge

of the DEA’s surveillance operation in El Paso. See Jan. 28, 2015, Tr. at 156:19-23 (Swainston,

Gooch). Gooch explained that he initiated the operation when Maestas called and told him that,

based on intercepted telephone communications, he believed that Gonzalez, Sr. was going to

pick up a drug load in El Paso on or about November 10, 2011. See Jan. 28, 20115, Tr. at



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158:16-20 (Swainston, Gooch). Gooch detailed the DEA’s surveillance of Gonzalez, Sr. and A.

Gonzalez in and around El Paso, and explained how the surveillance team did not participate in

the stop of Gonzalez, Sr.’s truck or the search of his trailer, because they wanted to protect the

wiretap investigation. See Jan. 28, 2015, Tr. at 170:13-23 (Swainston, Gooch).

       Lopez testified that he worked as a DEA Task Force Officer during the lead-up to the El

Paso Drug Seizure. See Jan. 28, 2015, Tr. at 185:1-9 (Swainston, Lopez); id. at 206:22-207:14

(Walz, Lopez). Lopez explained how he enlisted Almonte and Marquez to conduct a walled-off

stop of Gonzalez, Sr.’s vehicle, so that the DEA could prevent the cocaine shipment from

reaching Albuquerque while protecting the ongoing wiretap investigation. See Jan. 28, 2015, Tr.

at 187:15-24 (Swainston, Lopez). Lopez said that he told Marquez that he and Almonte were

assisting the Albuquerque DEA office in a wiretap investigation and that the DEA needed them

to conduct a traffic stop of a vehicle that would likely be loaded with an unknown amount of

cocaine. See Jan. 28, 2015, Tr. at 189:5-15 (Swainston, Lopez); id. at 200:8-23 (Walz, Lopez).

Lopez explained how he pointed out Gonzalez, Sr.’s truck to Marquez on the morning of

November 10, 2011, and that he gave Marquez a DEA radio to communicate with Marquez

throughout the operation. See Jan. 28, 2015, Tr. at 193:7-194:14 (Swainston, Lopez). Lopez

also said that Marquez relayed his instructions to Almonte over the Sheriff’s Office radio. See

Jan. 28, 2015, Tr. at 194:11-14 (Swainston, Lopez).

       Marquez said that he relayed a description of Gonzalez, Sr.’s truck to Almonte and told

Almonte that the truck likely contained illegal drugs. See Jan. 28, 2015, Tr. at 250:16-20

(Swainston, Almonte); id. at 251:22-252:6 (Swainston, Almonte); id. at 253:7-10 (Walz,

Almonte); id. at 265:1-10 (Walz, Almonte). Marquez testified that, when Gonzalez, Sr. left his

hotel on the morning of November 10, 2011, he relayed Gonzalez, Sr.’s location to Almonte.



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See Jan. 28, 2015, Tr. at 194:7-196:22 (Swainston, Lopez). Almonte and Marquez explained the

circumstances of the stop of Gonzalez, Sr.’s truck and the search of his trailer, their discovery of

marijuana and cocaine in Gonzalez, Sr.’s trailer, and their subsequent arrest of Gonzalez, Sr. See

Jan. 28, 2015, Tr. at 226:22-263:1 (Swainston, Walz, Almonte); id. at 294:12-304:18 (Swainston,

Marquez). Marquez also testified that, while he was processing Gonzalez, Sr. at the detention

facility, Gonzalez, Sr. told Marquez that “we had stopped him too soon. If we would have

waited, we would have gotten the owner at the Pilot in Acton.”              Jan. 28, 2015, Tr. at

304:22-305:25 (Marquez). Marquez testified that Gonzalez, Sr. said that “he was a small fish

and the other ones would have been a bigger catch.” Jan. 28, 2015, Tr. at 305:2-4 (Marquez).

       The parties largely stuck to the briefing in their closings. See Transcript of Hearing

(taken Jan. 30, 2015) at 345:1-425:18 (Court, Swainston, Walz), filed March 30, 2015 (Doc.

755)(“Jan. 30, 2015, Tr.”). Gonzalez, Sr. advanced three arguments. First, he argued that the

United States did not develop sufficient probable cause through the DEA’s investigation of the

Varela DTO to stop Gonzalez, Sr.’s vehicle or to search his trailer. See Jan. 30, 2015, Tr. at

348:17-351:2 (Walz).     He contended that it does not appear, listening to the intercepted

telephone calls, reading the transcripts, and listening to the testimony of the DEA agents

involved in the surveillance operation in El Paso on November 9, 2011, and November 10, 2011,

that he was involved in any criminal activity. See Jan. 30, 2015, Tr. at 349:23-351:2 (Walz).

Second, Gonzalez, Sr. argued that, assuming that the deputies did not obtain probable cause to

conduct the stop and search from the DEA’s investigation, his consent to search the trailer was

invalid, because the deputies exceeded the traffic stop’s permissible scope when they did not

return Gonzalez, Sr.’s license and registration after his records check came back clean, and they

did not issue him a citation. See Jan. 30, 2015, Tr. at 352:11-353:13 (Walz). Third, Gonzalez,



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Sr. said that his allegedly nervous behavior and the presence of clothes and food wrappers in his

truck did not give the deputies reasonable suspicion to extend the traffic stop. See Jan. 30, 2015,

Tr. at 353:13-355:13 (Walz).

        When pressed, Gonzalez, Sr. said that the Court can deny the Motion if it finds that the

DEA’s investigation into the Varela DTO provided Almonte and Marquez probable cause to stop

Gonzalez, Sr.’s vehicle and to search his trailer. See Jan. 30, 2015, Tr. at 362:1-12 (Court,

Walz). Gonzalez, Sr. also conceded that the traffic stop was lawful, because his registration tag

was expired and he was not showing his license plate. See Jan. 30, 2015, Tr. at 369:5-23 (Court,

Walz). Gonzalez, Sr. asserted, however, that the deputies exceeded the traffic stop’s permissible

scope when they continued to hold onto his license and registration after resolving the reasons

for the traffic stop -- i.e., his expired registration tag and lack of a visible license plate. See Jan.

30, 2015, Tr. at 371:16-20 (Walz). Gonzalez, Sr. said that, from that point forward, the deputies’

actions were unlawful. See Jan. 30, 2015, Tr. at 371:21-25 (Walz). The Court asked Gonzalez,

Sr. whether it would have made a difference for the deputies to ask for his consent while they

were writing out the ticket; Gonzalez, Sr. replied that asking for consent in that scenario would

have been permissible. See Jan. 30, 2015, Tr. at 372:1-21 (Court, Walz).

        When the United States took the lectern, it stuck to its arguments from the briefing:

(i) the deputies obtained probable cause to stop Gonzalez, Sr.’s vehicle and to search his trailer

from the DEA’s investigation into the Varela DTO; (ii) even if the deputies did not obtain

probable cause to stop Gonzalez, Sr.’s vehicle from the DEA investigation, Almonte obtained

probable cause to stop him after he observed Gonzalez, Sr. commit two traffic violations;

(iii) even if Almonte had to rely on Gonzalez, Sr.’s traffic violations to stop his vehicle, he and

Marquez had reasonable suspicion to extend the traffic stop based on Gonzalez, Sr.’s behavior,



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and on the clothes and trash in his vehicle; and (iv) even if the deputies did not have probable

cause from the DEA investigation to search Gonzalez, Sr.’s trailer, Gonzalez, Sr. knowingly and

voluntarily consented to their search. See Jan. 30, 2015, Tr. at 379:13-415:25 (Swainston).

       At the end of the hearing, the Court said that it was inclined to deny the Motion. See Jan.

30, 2015, at 421:6-424:23 (Court). The Court said that it was inclined to think that the DEA’s

investigation of the Varela DTO cultivated sufficient probable cause to stop Gonzalez, Sr.’s

vehicle and to search his trailer, and that Maestas adequately conveyed that information to

Almonte and Marquez. See Jan. 30, 2015, Tr. at 421:15-422:10 (Court). The Court explained

that, even if the deputies did not have probable cause from the DEA investigation to stop

Gonzalez, Sr.’s vehicle, Almonte obtained probable cause to stop Gonzalez, Sr. after witnessing

him commit the traffic violations. See Jan. 30, 2015, Tr. at 422:8-12 (Court). The Court said

that, either way, the stop was likely lawful. See Jan. 30, 2015, Tr. at 422:11-12 (Court). The

Court asserted that the search of Gonzalez, Sr.’s trailer was likely lawful for two reasons: (i) the

deputies obtained probable cause for the search from the DEA investigation; and (ii) the deputies

obtained Gonzalez, Sr.’s knowing and voluntary consent to search his trailer. See Jan. 30, 2015,

Tr. at 422:13-23 (Court).

                        RELEVANT FOURTH AMENDMENT LAW

       The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

Fourth Amendment rights are enforceable against state actors through the Due Process Clause of

the Fourteenth Amendment to the Constitution of the United States. See Mapp v. Ohio, 367 U.S.

643, 655 (1961); United States v. Rodriguez-Rodriguez, 550 F.3d 1223, 1225 n.1 (10th Cir.

2008)(“[T]he Fourth Amendment applies against state law enforcement officials as incorporated



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through the Due Process Clause of the Fourteenth Amendment.”). “Not all searches require a

warrant. The hallmark of the Fourth Amendment is reasonableness.” United States v. Harmon,

785 F. Supp. 2d at 1157. See United States v. McHugh, 639 F.3d 1250, 1260 (10th Cir.

2011)(“[T]he ultimate touchstone of the Fourth Amendment is ‘reasonableness.’” (quoting

Brigham City v. Stuart, 547 U.S. 398 (1978))). The Supreme Court of the United States has

stated that “searches conducted outside the judicial process, without prior approval by judge or

magistrate, are per se unreasonable under the Fourth Amendment -- subject only to a few

specifically established and well-delineated exceptions.” Katz v. United States, 389 U.S. 347,

357 (1967)(footnotes omitted).

       1.      The Fourth Amendment “Standing” Analysis.

       “The Tenth Circuit has referred to the test whether a particular search implicates a

defendant’s Fourth Amendment interests -- whether the search violates the defendant’s

reasonable privacy expectation -- as one of ‘standing.’” Ysasi v. Brown, No. CIV 13-0183

JB/CG, 2014 WL 936835, at *8 (D.N.M. Feb. 28, 2014)(Browning, J.)(citing United States v.

Creighton, 639 F.3d 1281, 1286 (10th Cir. 2011)(“The Defendant has the burden of establishing .

. . standing, or, in other words, a subjective expectation of privacy in the [item searched] that

society is prepared to recognize as reasonable.”); United States v. Poe, 556 F.3d 1113, 1121

(10th Cir. 2009)(“[A] defendant raising a Fourth Amendment challenge must first demonstrate

that he has standing to object to the search.”)(citing United States v. Rubio-Rivera, 917 F.2d

1271, 1274 (10th Cir. 1990)); United States v. Shareef, 100 F.3d 1491, 1499 (10th Cir. 1996)(“A

Defendant has standing to challenge a search only if he or she has a reasonable expectation of

privacy in the area being searched.”)). Accordingly, the Court, following the Tenth Circuit’s

lead, has also referred to this test as one of standing. See, e.g., United States v. Harmon, 785 F.



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Supp. 2d at 1157 (“Standing requires the defendant to show ‘that he had a subjective expectation

of privacy in the premises searched and that society is prepared to recognize that expectation as

reasonable.’”)(quoting United States v. Poe, 556 F.3d at 1121). The Supreme Court’s decisions

suggest, however, that the “standing” test has now expressly been incorporated into the

substantive Fourth Amendment search analysis. United States v. Sweeney, No. CR 14-0020,

2014 WL 2514926, at *2 (E.D. Wisc. June 4, 2014)(Adelman, J.)(“Once referred to as

‘standing,’ this requirement is actually part of substantive Fourth Amendment law.”).

       In Rakas v. Illinois, 439 U.S. 128 (1978), the Supreme Court disapproved of labeling the

inquiry whether a search implicates a defendant’s personal Fourth Amendment interests “as one

of standing, rather than simply recognizing it as one involving the substantive question of

whether or not the proponent of the motion to suppress had his own Fourth Amendment rights

infringed by the search and seizure which he seeks to challenge.” 439 U.S. at 133. Dispensing

with this label, the Supreme Court noted:

       Had we accepted petitioners’ request to allow persons other than those whose own
       Fourth Amendment rights were violated by a challenged search and seizure to
       suppress evidence obtained in the course of such police activity, it would be
       appropriate to retain Jones’[37] use of standing in Fourth Amendment analysis.
       Under petitioners’ target theory, a court could determine that a defendant had
       standing to invoke the exclusionary rule without having to inquire into the
       substantive question of whether the challenged search or seizure violated the
       Fourth Amendment rights of that particular defendant. However, having rejected
       petitioners’ target theory and reaffirmed the principle that the “rights assured by
       the Fourth Amendment are personal rights, [which] . . . may be enforced by
       exclusion of evidence only at the instance of one whose own protection was
       infringed by the search and seizure,” Simmons v. United States, 390 U.S. [377,
       389 (1968)] . . . , the question necessarily arises whether it serves any useful
       analytical purpose to consider this principle a matter of standing, distinct from the
       merits of a defendant’s Fourth Amendment claim. We can think of no decided
       cases of this Court that would have come out differently had we concluded, as we
       do now, that the type of standing requirement discussed in Jones, and reaffirmed

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         Jones v. United States, 362 U.S. 257 (1960), overruled by United States v. Salvucci,
448 U.S. 83 (1980).
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        today is more properly subsumed under substantive Fourth Amendment doctrine.
        Rigorous application of the principle that the rights secured by this Amendment
        are personal, in place of a notion of “standing,” will produce no additional
        situations in which evidence must be excluded. The inquiry under either
        approach is the same. But we think the better analysis forthrightly focuses on the
        extent of a particular defendant’s rights under the Fourth Amendment, rather than
        on any theoretically separate, but invariably intertwined concept of standing. The
        Court in Jones, also may have been aware that there was a certain artificiality in
        analyzing this question in terms of standing because in at least three separate
        places in its opinion the Court placed that term within quotation marks.

439 U.S. at 138-39 (citations omitted). The Supreme Court emphasized:

        [N]othing we say here casts the least doubt on cases which recognize . . . as a
        general proposition, the issue of standing [generally.] . . . But this Court’s long
        history of insistence that Fourth Amendment rights are personal in nature has
        already answered many of these traditional standing inquiries, and we think that
        definition of those rights is more properly placed within the purview of
        substantive Fourth Amendment law than within that of standing.

439 U.S. at 139-40. In Minnesota v. Carter, 525 U.S. 83 (1998), the Supreme Court recognized

that Rakas v. Illinois put an end to the Fourth Amendment standing analysis as separate from the

substantive Fourth Amendment search analysis:

        The Minnesota courts analyzed whether respondents had a legitimate expectation
        of privacy under the rubric of “standing” doctrine, an analysis that this Court
        expressly rejected 20 years ago in Rakas . . . . Central to our analysis [in Rakas v.
        Illinois] was the idea that in determining whether a defendant is able to show the
        violation of his (and not someone else’s) Fourth Amendment rights, the
        “definition of those rights is more properly placed within the purview of
        substantive Fourth Amendment law than within that of standing.”

525 U.S. at 87-88 (citations omitted). The Supreme Court has, thus, noted that the analysis

under either approach -- the substantive Fourth Amendment doctrine that the rights that the

Amendment secures are personal versus the separate notion of “standing” -- is the same. Rakas

v. Illinois, 439 U.S. at 139.




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       2.      Whether a Fourth Amendment Search Occurred.

       A court cannot suppress evidence unless the search was a Fourth Amendment search. A

Fourth Amendment search occurs either where the government, to obtain information, trespasses

on a person’s property or where the government violates a person’s subjective expectation of

privacy that society recognizes as reasonable to collect information. See United States v. Jones,

132 S. Ct. at 947. “[T]he Katz reasonable-expectation-of-privacy test has been added to, not

substituted for, the common-law trespassory test.” United States v. Jones, 132 S. Ct. at 947

(emphasis in original)(citing Alderman v. United States, 394 U.S. 165 (1969); Soldal v. Cook

Cnty., 506 U.S. 56, 64 (1992)).

               a. Katz v. United States’ Reasonable-Expectations-of-Privacy Analysis.

       “‘Fourth Amendment rights are personal rights which, like some other constitutional

rights, may not be vicariously asserted.’”      Rakas v. Illinois, 439 U.S. at 133-34 (quoting

Alderman v. United States, 394 U.S. at 174). “A district court cannot suppress evidence unless

the movant proves that a search implicates personal Fourth Amendment interests.” United States

v. Jones, 44 F.3d 860, 871 (10th Cir. 1995)(emphasis in original). “‘[N]o interest legitimately

protected by the Fourth Amendment’ is implicated by governmental investigative activities

unless there is an intrusion into a zone of privacy, into ‘the security a man relies upon when he

places himself or his property within a constitutionally protected area.’” United States v. Miller,

425 U.S. 435, 440 (1976)(quoting Hoffa v. United States, 385 U.S. 293, 301-02 (1966)). The

Tenth Circuit has, thus, noted that “[a]n illegal search or seizure only harms those with legitimate

expectations of privacy in the premises searched.” United States v. Jones, 44 F.3d at 871 (citing

United States v. Roper, 918 F.2d 885, 886-87 (10th Cir. 1990)). Thus, “[t]he proper inquiry” to

determine whether a search implicates a defendant’s Fourth Amendment interests still depends,



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after conducting a trespass-based analysis, on “whether the defendant had an expectation of

privacy in the place searched and whether that expectation was objectively reasonable.” Kerns v.

Bd. of Comm’rs, 888 F. Supp. 2d 1176, 1219 (D.N.M. 2012)(Browning, J.) abrogated on other

grounds as recognized in Ysasi v. Brown, 2014 WL 936835, at *9 n.24.

       “Official conduct that does not ‘compromise any legitimate interest in privacy’ is not a

search subject to the Fourth Amendment.” Illinois v. Caballes, 543 U.S. at 409 (quoting United

States v. Jacobsen, 466 U.S. at 123). The Supreme Court has, thus, recognized that, rather than

determining whether law enforcement conduct was a search, it sometimes proves easier to

“assess[] when a search is not a search.” Kyllo v. United States, 533 U.S. at 32.

       In assessing when a search is not a search, we have applied somewhat in reverse
       the principle first enunciated in Katz v. United States. Katz involved
       eavesdropping by means of an electronic listening device placed on the outside of
       a telephone booth -- a location not within the catalog (“persons, houses, papers,
       and effects”) that the Fourth Amendment protects against unreasonable searches.
       We held that the Fourth Amendment nonetheless protected Katz from the
       warrantless eavesdropping because he “justifiably relied” upon the privacy of the
       telephone booth. As Justice Harlan’s oft-quoted concurrence described it, a
       Fourth Amendment search occurs when the government violates a subjective
       expectation of privacy that society recognizes as reasonable.

Kyllo v. United States, 533 U.S. at 32-33. The Supreme Court, thus, articulated the Katz v.

United States rule -- which Professor Wayne R. LaFave has noted is “somewhat inaccurately

stated as the ‘reasonable expectation of privacy’ test,” Wayne R. LaFave, Search and Seizure: A

Treatise on the Fourth Amendment § 2.1(b), at 435 (4th ed., 2004) -- which posits: “[A] Fourth

Amendment search does not occur . . . unless ‘the individual manifested a subjective expectation

of privacy in the object of the challenged search,’ and ‘society [is] willing to recognize that

expectation as reasonable.’”       Kyllo v. United States, 533 U.S. at 33 (emphasis in

original)(quoting California v. Ciraolo, 476 U.S. 207, 211 (1986)).




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         A “reasonable expectation of privacy” is “said to be an expectation ‘that has a source

outside of the Fourth Amendment, either by reference to concepts of real or personal property

law or to understandings that are recognized and permitted by society.’” United States v. Jones,

132 S. Ct. at 951. See United States v. Harmon, 785 F. Supp. 2d at 1157 (“To decide whether a

reasonable expectation of privacy exists, courts consider concepts of real or personal property

law . . . .”).   In analyzing whether an expectation of privacy is reasonable in the Fourth

Amendment context based on property law, “arcane distinctions developed in property and tort

law between guests, licensees, invitees, and the like, ought not to control.” Rakas v. Illinois, 439

U.S. at 143 & n.12. Although ownership or lawful possession is not determinative under the

Katz v. United States reasonable-expectation-of-privacy test, it is often a dispositive factor;

because the Fourth Amendment is a personal right, a defendant bears the burden of

demonstrating “that he gained possession [of the area searched] from the owner or someone with

the authority to grant possession.” United States v. Arango, 912 F.2d 441, 445-46 (10th Cir.

1990).

                       i.     Subjective Expectation of Privacy.

         A defendant maintains a subjective expectation of privacy when he or she “has shown

that ‘he sought to preserve something as private.’” Ysasi v. Brown, 2014 WL 936835, at *8

(quoting Bond v. United States, 529 U.S. at 338). Thus, there is no reasonable expectation of

privacy in otherwise private information disclosed to a third party. “[T]he Fourth Amendment

protects people, not places. What a person knowingly exposes to the public . . . is not a subject

of Fourth Amendment protection.” Katz v. United States, 389 U.S. at 351. The Supreme Court

has noted:

         This Court has held repeatedly that the Fourth Amendment does not prohibit the
         obtaining of information revealed to a third party and conveyed by him to

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       Government authorities, even if the information is revealed on the assumption that
       it will be used only for a limited purpose and the confidence placed in the third
       party will not be betrayed.

United States v. Miller, 425 U.S. at 443.

       The Supreme Court has recognized, however, that subjective expectations of privacy do

not always coincide with the interests that the Fourth Amendment is universally thought to

protect. In Smith v. Maryland, for instance, the Supreme Court identified situations in which it

would not follow the subjective approach:

       Situations can be imagined, of course, in which Katz’ two-pronged inquiry would
       provide an inadequate index of Fourth Amendment protection. For example, if
       the Government were suddenly to announce on nationwide television that all
       homes henceforth would be subject to warrantless entry, individuals thereafter
       might not in fact entertain any actual expectation or [sic] privacy regarding their
       homes, papers, and effects. Similarly, if a refugee from a totalitarian country,
       unaware of this Nation’s traditions, erroneously assumed that police were
       continuously monitoring his telephone conversations, a subjective expectation of
       privacy regarding the contents of his calls might be lacking as well. In such
       circumstances, where an individual’s subjective expectations had been
       “conditioned” by influences alien to well-recognized Fourth Amendment
       freedoms, those subjective expectations obviously could play no meaningful role
       in ascertaining what the scope of Fourth Amendment protection was. In
       determining whether a “legitimate expectation of privacy” existed in such cases, a
       normative inquiry would be proper.

Smith v. Maryland, 442 U.S. at 740 n.5. Most recently, in United States v. Jones, Justice

Sotomayor commented that, given the reality of technology in the twenty-first century, it may no

longer be sound to universally hold to the third-party disclosure rule to determine whether a

subjective expectation of privacy exists:

       [I]t may be necessary to reconsider the premise that an individual has no
       reasonable expectation of privacy in information voluntarily disclosed to third
       parties. This approach is ill suited to the digital age, in which people reveal a
       great deal of information about themselves to third parties in the course of
       carrying out mundane tasks. People disclose the phone numbers that they dial or
       text to their cellular providers; the URLs that they visit and the e-mail addresses
       with which they correspond to their Internet service providers; and the books,
       groceries, and medications they purchase to online retailers. Perhaps, as Justice

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       Alito notes, some people may find the “tradeoff” of privacy for convenience
       “worthwhile,” or come to accept this “diminution of privacy” as “inevitable,” and
       perhaps not. I for one doubt that people would accept without complaint the
       warrantless disclosure to the Government of a list of every Web site they had
       visited in the last week, or month, or year. But whatever the societal expectations,
       they can attain constitutionally protected status only if our Fourth Amendment
       jurisprudence ceases to treat secrecy as a prerequisite for privacy. I would not
       assume that all information voluntarily disclosed to some member of the public
       for a limited purpose is, for that reason alone, disentitled to Fourth Amendment
       protection.

132 S. Ct. at 957 (Sotomayor, J., concurring)(citations omitted). The Court notes, however, that,

regardless what the Supreme Court decides to do with social media on the internet, only the most

ignorant or gullible think that what they post on the internet is or remains private. See United

States v. Meregildo, 883 F. Supp. 2d 523, 526 (S.D.N.Y. 2012)(holding that a person posting to

his Facebook profile had “no justifiable expectation that his ‘friends’ would keep his profile

private”).

                      ii.     Privacy Expectation That Society Is Prepared to Recognize as
                              Reasonable.

       Under the second step of Katz v. United States’ reasonable-expectation-of-privacy

approach, courts must determine “whether society is prepared to recognize that [subjective

privacy] expectation as objectively reasonable.” United States v. Ruiz, 664 F.3d 833, 838 (10th

Cir. 2012)(United States v. Allen, 235 F.3d 482, 489 (10th Cir. 2000)). The Supreme Court has

cautioned: “The concept of an interest in privacy that society is prepared to recognize as

reasonable is, by its very nature, critically different from the mere expectation, however well

justified, that certain facts will not come to the attention of the authorities.” United States v.

Jacobsen, 466 U.S. 109, 122 (1984). “Determining whether society would view the expectation

as objectively reasonable turns on whether the government’s intrusion infringes on a legitimate

interest, based on the values that the Fourth Amendment protects.” United States v. Alabi, 943



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F. Supp. 2d 1201 (D.N.M. 2013)(Browning, J.)(citing California v. Ciraolo, 476 U.S. at 212

(explaining that “[t]he test of legitimacy is not whether the individual chooses to conceal

assertedly ‘private’ activity,” but instead “whether the government’s intrusion infringes upon the

personal and societal values protected by the Fourth Amendment”)), aff’d, 597 F. App’x 991

(10th Cir. 2015)(unpublished).     This second factor of Katz v. United States’ reasonable-

expectation-of-privacy analysis developed from Justice Harlan’s “attempt to give content to the

word ‘justifiably’ in the majority’s assertion that eavesdropping on Katz was a search because it

‘violated the privacy upon which he justifiably relied while using the telephone booth.’”

LaFave, § 2.1(d), at 439 (quoting Katz v. United States, 389 U.S. at 353). Thus, whether society

will recognize a certain expectation of privacy does not turn on whether the hypothetical

reasonable person would hold the same expectation of privacy, but rather on whether the

expectation of privacy is justified or legitimate. The Supreme Court has provided that, while no

single factor determines legitimacy, whether society recognizes a privacy interest as reasonable

is determined based on our societal understanding regarding what deserves protection from

government invasion:

       No single factor determines whether an individual legitimately may claim under
       the Fourth Amendment that a place should be free of government intrusion not
       authorized by warrant. In assessing the degree to which a search infringes upon
       individual privacy, the Court has given weight to such factors as the intention of
       the Framers of the Fourth Amendment, the uses to which the individual has put a
       location, and our societal understanding that certain areas deserve the most
       scrupulous protection from government invasion.

Oliver v. United States, 466 U.S. at 177-78 (citations omitted).

       The Supreme Court has held that “[o]fficial conduct that does not ‘compromise any

legitimate interest in privacy’ is not a search subject to the Fourth Amendment.” Illinois v.

Caballes, 543 U.S. at 409 (quoting United States v. Jacobsen, 466 U.S. at 123). In United States



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v. Place, 462 U.S. 696 (1983), the Supreme Court held that the “canine sniff” of a drug-sniffing

dog does “not constitute a ‘search’ within the meaning of the Fourth Amendment.” 462 U.S. at

707. The case arose when law enforcement seized the luggage of an airline passenger and

transported it to another location, where a drug-sniffing dog could sniff it. See 462 U.S. at 699.

The drug-sniffing dog alerted the officers that drugs were in the luggage, the officers obtained a

search warrant, and, upon opening the bags, the officers found over one-thousand grams of

cocaine. See 462 U.S. at 699. While recognizing that a person has a reasonable expectation of

privacy in the contents of his or her luggage, the Supreme Court held that the dog’s sniff test was

not a Fourth Amendment search and emphasized the unique nature of the investigative

technique, which could identify only criminal activity:

               We have affirmed that a person possesses a privacy interest in the contents
       of personal luggage that is protected by the Fourth Amendment. A “canine sniff”
       by a well-trained narcotics detection dog, however, does not require opening the
       luggage. It does not expose noncontraband items that otherwise would remain
       hidden from public view, as does, for example, an officer’s rummaging through
       the contents of the luggage. Thus, the manner in which information is obtained
       through this investigative technique is much less intrusive than a typical search.
       Moreover, the sniff discloses only the presence or absence of narcotics, a
       contraband item. Thus, despite the fact that the sniff tells the authorities
       something about the contents of the luggage, the information obtained is limited.
       This limited disclosure also ensures that the owner of the property is not subjected
       to the embarrassment and inconvenience entailed in less discriminate and more
       intrusive investigative methods.

               In these respects, the canine sniff is sui generis. We are aware of no other
       investigative procedure that is so limited both in the manner in which the
       information is obtained and in the content of the information revealed by the
       procedure. Therefore, we conclude that the particular course of investigation that
       the agents intended to pursue here -- exposure of respondent’s luggage, which
       was located in a public place, to a trained canine -- did not constitute a “search”
       within the meaning of the Fourth Amendment.

United States v. Place, 462 U.S. at 707.




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       In United States v. Jacobsen, the Supreme Court extended this holding to the chemical

field test of a white powdery substance to reveal that the substance was cocaine. See 466 U.S. at

122-24. A Federal Express employee and supervisor opened a damaged package, and exposed

four zip-lock plastic bags containing 6 ½ ounces of white powder. See 466 U.S. at 111. They

then called the DEA and repacked the contents in the original packaging before they provided

the package to the DEA officers. See 466 U.S. at 111. When the agents arrived, the agents

removed the exposed plastic bags from the broken package, opened each of the four bags, and

field-tested the white powder, identifying the powder as cocaine. See 466 U.S. at 111-12. The

Supreme Court first held that removal of the plastic bags from the tubes and the agent’s visual

inspection were not Fourth Amendment searches:

       The removal of the plastic bags from the tube and the agent’s visual inspection of
       their contents enabled the agent to learn nothing that had not previously been
       learned during the private search. It infringed no legitimate expectation of
       privacy and hence was not a “search” within the meaning of the Fourth
       Amendment.

466 U.S. at 120 (footnote omitted). The Supreme Court noted: “The question remains whether

the additional intrusion occasioned by the field test, which had not been conducted by the

Federal Express agents and therefore exceeded the scope of the private search, was an unlawful

‘search’ or ‘seizure’ within the meaning of the Fourth Amendment.” United States v. Jacobsen,

466 U.S. at 122. The Supreme Court, relying on United States v. Place, held that the additional

digital scan of the white substance was not a Fourth Amendment search, because the test

discloses only whether the substance is cocaine and “nothing [else] of special interest”:

              The field test at issue could disclose only one fact previously unknown to
       the agent -- whether or not a suspicious white powder was cocaine. It could tell
       him nothing more, not even whether the substance was sugar or talcum powder.
       We must first determine whether this can be considered a “search” subject to the
       Fourth Amendment -- did it infringe an expectation of privacy that society is
       prepared to consider reasonable?

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       ....

               A chemical test that merely discloses whether or not a particular substance
       is cocaine does not compromise any legitimate interest in privacy. This
       conclusion is not dependent on the result of any particular test. It is probably safe
       to assume that virtually all of the tests conducted under circumstances comparable
       to those disclosed by this record would result in a positive finding; in such cases,
       no legitimate interest has been compromised. But even if the results are negative
       -- merely disclosing that the substance is something other than cocaine -- such a
       result reveals nothing of special interest. Congress has decided -- and there is no
       question about its power to do so -- to treat the interest in “privately” possessing
       cocaine as illegitimate; thus governmental conduct that can reveal whether a
       substance is cocaine, and no other arguably “private” fact, compromises no
       legitimate privacy interest.

       ....

              Here, as in Place, the likelihood that official conduct of the kind disclosed
       by the record will actually compromise any legitimate interest in privacy seems
       much too remote to characterize the testing as a search subject to the Fourth
       Amendment.

United States v. Jacobsen, 466 U.S. at 122-24.

       Most recently, where a “dog sniff was performed on the exterior of respondent’s car

while he was lawfully seized for a traffic violation,” the Supreme Court, again relying on United

States v. Place, and also on United States v. Jacobsen, held that “[a]ny intrusion on respondent’s

privacy expectations does not rise to the level of a constitutionally cognizable infringement.”

Illinois v. Caballes, 543 U.S. at 409.38 The Supreme Court reasoned that the dog sniff in Illinois

v. Caballes fell squarely in line with the series of cases holding “that any interest in possessing

contraband cannot be deemed ‘legitimate,’ and th[at], governmental conduct that only reveals the

possession of contraband ‘compromises no legitimate privacy interests.’” 543 U.S. at 408



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         The Honorable John Paul Stevens, former Associate Justice of the Supreme Court,
penned the majority’s opinion in Illinois v. Caballes. Of the current Supreme Court Justices,
Justices Scalia, Kennedy, Thomas, and Breyer joined Justice Stevens’ majority opinion, while
Justice Ginsburg dissented. See 543 U.S. at 405.
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(quoting United States v. Jacobsen, 466 U.S. at 123)(emphasis in original). The Supreme Court

explained: “This is because the expectation ‘that certain facts will not come to the attention of

the authorities’ is not the same as an interest in ‘privacy that society is prepared to consider

reasonable.’” 543 U.S. at 408-09 (quoting United States v. Jacobsen, 466 U.S. at 122). The

Supreme Court in Illinois v. Caballes noted that its decision was consistent with Kyllo v. United

States, as the thermal imaging device in Kyllo v. United States could detect lawful, “intimate

details” in a home:

       This conclusion is entirely consistent with our recent decision that the use of a
       thermal-imaging device to detect the growth of marijuana in a home constituted
       an unlawful search. Kyllo v. United States, 533 U.S. 27 . . . (2001) . . . . Critical
       to that decision was the fact that the device was capable of detecting lawful
       activity -- in that case, intimate details in a home, such as “at what hour each night
       the lady of the house takes her daily sauna and bath.” Id., at 38 . . . . The
       legitimate expectation that information about perfectly lawful activity will remain
       private is categorically distinguishable from respondent’s hopes or expectations
       concerning the nondetection of contraband in the trunk of his car. A dog sniff
       conducted during a concededly lawful traffic stop that reveals no information
       other than the location of a substance that no individual has any right to possess
       does not violate the Fourth Amendment.

Illinois v. Caballes, 543 U.S. at 409-10.

       In United States v. Alabi, the defendants possessed thirty-one credit and debit cards,

“many of them in their own names, several of which had information on the magnetic strips that

related to persons other than the Defendants.” 943 F. Supp. 2d at 1275. The Court reluctantly

accepted the defendants’ assertion that they “subjectively intended not to disclose this

information to a third party -- i.e., intended not to use the cards,” 943 F. Supp. 2d at 1275, but

determined that “a privacy expectation in the account information stored on credit and debit

cards’ magnetic strips -- separate and beyond the credit and debit cards themselves -- is not

objectively reasonable,” 943 F. Supp. 2d at 1280. The Court explained that the Secret Service’s

scan of the cards’ magnetic strips “reveals only the same information revealed in a private search

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when the card is used as intended,” and, further, that, even if the cards had never been used, the

scan “discloses only information known by viewing the outside of the card, or information that

the cards and account information are possessed unlawfully . . . .” 943 F. Supp. 2d at 1281.

Noting the Supreme Court’s decision in Rakas v. Illinois, in which the Supreme Court “reasoned

that society is not prepared to recognize as reasonable an expectation of privacy in a burglar

robbing a summer cabin during the offseason,” the Court concluded that society would not

recognize “as reasonable a privacy expectation which, at least in contemporary society, would

benefit only criminals.” 943 F. Supp. 2d at 1287.

                b. Trespass-Based Analysis.

         In Florida v. Jardines, the Supreme Court explained that the Fourth Amendment

“establishes a simple baseline, one that for much of our history formed the exclusive basis for its

protections: When ‘the Government obtains information by physically intruding’ on persons,

houses, papers, or effects, ‘a search within the original meaning of the Fourth Amendment’ has

‘undoubtedly occurred.’” 133 S. Ct. at 1414 (quoting United States v. Jones, 132 S. Ct. at 950

n.3).    “[A]n actual trespass,” however, “is neither necessary nor sufficient to establish a

constitutional violation.” United States v. Jones, 132 S. Ct. at 951 n.5 (Scalia, J.)(emphasis

omitted)(quoting United States v. Karo, 468 U.S. 705, 713 (1984)). In determining whether a

search has occurred, “[t]respass alone does not qualify, but there must be conjoined with

that . . . an attempt to find something or to obtain information.” United States v. Jones, 132 S.

Ct. at 951 n.5. The Supreme Court has also noted that “[p]hysically invasive inspection is

simply more intrusive than purely visual inspection.” Bond v. United States, 529 U.S. 334, 337

(2000). Moreover, the Supreme Court, in Florida v. Jardines, suggested that the trespass-based




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analysis applies only when the trespass occurs in one of the four places or things listed in the

Fourth Amendment:

       The Fourth Amendment “indicates with some precision the places and things
       encompassed by its protections”: persons, houses, papers, and effects. The Fourth
       Amendment does not, therefore, prevent all investigations conducted on private
       property; for example, an officer may (subject to Katz) gather information in what
       we have called “open fields” -- even if those fields are privately owned -- because
       such fields are not enumerated in the Amendment’s text . . . . But when it comes
       to the Fourth Amendment, the home is first among equals.

133 S. Ct. at 1414.

       In United States v. Alabi, the Court analyzed whether the Secret Service’s digital scan of

electronic information contained in the defendants’ credit and debit cards’ magnetic strips was a

Fourth Amendment search under a trespass-based analysis, concluding that it was not, because

the Secret Service properly possessed the credit and debit cards, and the additional act of

scanning the cards to read the virtual data contained on the strips did not involve a physical

intrusion or physical penetration of space. See 943 F. Supp. 2d at 1264-65. The Court noted

that, “[e]ven if the Supreme Court were to extend the trespass-based analysis for Fourth

Amendment searches to virtual invasions, the Secret Service’s conduct scanning the thirty-one

credit and debit cards still would not amount to a Fourth Amendment search,” because the

magnetic strip, as opposed to the credit or debit card separately, is not a constitutionally

protected area. 943 F. Supp. 2d at 1267-68.

       When a law enforcement officer sees only the exterior of a credit or debit card,
       however, given that the financial institution which issues the card places the same
       information on the magnetic strip as embossed on the card’s exterior, the only
       instances in which the information inside the credit or debit card is not
       information already seen by and known to the officer is when the information has
       been reencoded for unlawful purposes. In these instances, not only does the
       person asserting his or her Fourth Amendment right not own or otherwise
       lawfully possess the information contained inside the card on the magnetic strip,
       but the person has stolen the information with the intent to use that information to
       steal further from the person whose information is on the magnetic strip.

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       Protecting this area from law enforcement search and seizure would thus not
       further the Fourth Amendment’s express purpose of protecting “[t]he right of the
       people to be secure in their persons, houses, papers, and effects . . . .” U.S. Const.
       amend IV.

943 F. Supp. 2d at 1273 (omission in case but not in quoted source)(emphasis in case but not in

quoted source).

               c.      Katz v. United States’ Reasonable-Expectation-of-Privacy Test
                       Remains Good Law.

       The Court has noted that, in light of the Supreme Court’s recent decisions in Florida v.

Jardines and United States v. Jones, both of which Justice Scalia wrote for the majority, and both

of which analyze whether government conduct constituted a Fourth Amendment search using the

trespass-based approach, “the question arises whether the Katz v. United States reasonable-

expectation-of-privacy test is still good law.” United States v. Alabi, 943 F. Supp. 2d at 1242

(citing Minnesota v. Carter, 525 U.S. at 97-98 (Scalia, J., concurring)). Justice Scalia has

consistently criticized this “notoriously unhelpful test”:

       In my view, the only thing the past three decades have established about the Katz
       test (which has come to mean the test enunciated by Justice Harlan’s separate
       concurrence in Katz . . .) is that, unsurprisingly, those “actual (subjective)
       expectation[s] of privacy” “that society is prepared to recognize as ‘reasonable,’”
       bear an uncanny resemblance to those expectations of privacy that this Court
       considers reasonable. When that self-indulgent test is employed (as the dissent
       would employ it here) to determine whether a “search or seizure” within the
       meaning of the Constitution has occurred (as opposed to whether that “search or
       seizure” is an “unreasonable” one), it has no plausible foundation in the text of the
       Fourth Amendment. That provision did not guarantee some generalized “right of
       privacy” and leave it to this Court to determine which particular manifestations of
       the value of privacy “society is prepared to recognize as ‘reasonable.’” Rather, it
       enumerated (“persons, houses, papers, and effects”) the objects of privacy
       protection to which the Constitution would extend, leaving further expansion to
       the good judgment, not of this Court, but of the people through their
       representatives in the legislature.

Minnesota v. Carter, 525 U.S. at 97-98 (Scalia, J., concurring)(emphasis in original)(citations

omitted). In both United States v. Jones and Florida v. Jardines, however, Justice Scalia, writing

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for the majority, never stated that the Supreme Court was substituting the trespass-based analysis

for Katz v. United States’ reasonable-expectation-of-privacy analysis.      Rather, his majority

opinions asserted that Katz v. United States’ reasonable-expectation-of-privacy analysis added to

the trespass-based analysis. See Florida v. Jardines, 133 S. Ct. at 1417 (“The Katz reasonable-

expectations test ‘has been added to, not substituted for,’ the traditional property-based

understanding of the Fourth Amendment.” (emphasis in original)(quoting United States v.

Jones, 132 S. Ct. at 952)). The Court concluded in United States v. Alabi that, “as the Supreme

Court now stands, Justices Alito, Breyer, Kagan, Ginsburg, and Sotomayor still adhere to

application of the Katz v. United States reasonable-expectation-of-privacy Fourth Amendment

analysis, at least as a possible approach alongside of the trespass-based approach.” 943

F. Supp. 2d at 1243.

       In June, 2013, Justice Scalia dissented from the Supreme Court’s decision in Maryland v.

King, 133 S. Ct. 1958 (2013), in which the Supreme Court held that “DNA identification of

arrestees is a reasonable search that can be considered part of a routine booking procedure.” 133

S. Ct. at 1980. Justice Scalia criticized the majority opinion for analogizing DNA testing to

taking an arrestee’s photograph by citing to Katz v. United States and pointing out that “we have

never held that merely taking a person’s photograph invades any recognized ‘expectation of

privacy.’” Maryland v. King, 133 S. Ct. at 1986 (Scalia, J., dissenting). Justice Scalia also

pointed out that a person’s “privacy-related concerns” in his or her body are weighty:

       We are told that the “privacy-related concerns” in the search of a home “are
       weighty enough that the search may require a warrant, notwithstanding the
       diminished expectations of privacy of the arrestee.” But why are the “privacy-
       related concerns” not also “weighty” when an intrusion into the body is at stake?
       (The Fourth Amendment lists “persons” first among the entities protected against
       unreasonable searches and seizures.).




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Maryland v. King, 133 S. Ct. at 1982 (Scalia J., dissenting)(emphases in original)(citations

omitted). Justice Scalia also suggested that the Founders would have shared these privacy-

related concerns:

         Today’s judgment will, to be sure, have the beneficial effect of solving more
         crimes; then again, so would the taking of DNA samples from anyone who flies
         on an airplane (surely the Transportation Security Administration needs to know
         the “identity” of the flying public), applies for a driver’s license, or attends a
         public school. Perhaps the construction of such a genetic panopticon is wise. But
         I doubt that the proud men who wrote the charter of our liberties would have been
         so eager to open their mouths for royal inspection.

Maryland v. King, 133 S. Ct. at 1989 (Scalia J., dissenting). The Court, therefore, concludes that

Justice Scalia and the Supreme Court may still rely on a person’s privacy expectation when

determining whether a search is reasonable for Fourth Amendment purposes, although Justice

Scalia may not turn to the expectations prong until after he runs the facts through the trespass

prong.

         3.     Search Warrants Require Probable Cause.

         “The Supreme Court requires that a magistrate judge be provided information sufficient

to determine the existence of probable cause before he or she issues a warrant.” United States v.

Romero, 743 F. Supp. 2d 1281, 1302 (D.N.M. 2010)(Browning, J.)(citing Illinois v. Gates, 462

U.S. 213, 239 (1983)), aff’d, 749 F.3d 900 (10th Cir. 2014). Probable cause requires “more than

mere suspicion but less evidence than is necessary to convict.” United States v. Burns, 624 F.2d

95, 99 (10th Cir. 1980). To establish probable cause to justify a search of a home, an affidavit in

support of a search warrant “must contain facts sufficient to lead a prudent person to believe that

a search would uncover contraband or evidence of criminal activity.” United States v. Danhauer,

229 F.3d 1002, 1006 (10th Cir. 2000). “Probable cause undoubtedly requires a nexus between




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suspected criminal activity and the place to be searched.” United States v. Corral-Corral, 899

F.2d 927, 937 (10th Cir. 1990). The task of the magistrate judge issuing the search warrant

       is simply to make a practical, common-sense decision whether, given all the
       circumstances set forth in the affidavit before him, including the veracity and
       basis of knowledge of persons supplying hearsay information, there is a fair
       probability that contraband or evidence of a crime will be found in a particular
       place.

United States v. Reed, 195 F. App’x 815, 821 (10th Cir. 2006)(unpublished)(quoting Illinois v.

Gates, 462 U.S. at 238).     See United States v. Glover, 104 F.3d 1570, 1578 (10th Cir.

1997)(finding that, in determining whether an affidavit supports a finding of probable cause, the

court must review the affidavit as a whole and look to the totality of the information contained

therein). In making his or her determination, the Magistrate Judge “may draw reasonable

inferences from the material provided in the warrant application.” United States v. Rowland,

145 F.3d 1194, 1205 (10th Cir. 1998).

        “A reviewing court should accord great deference to a magistrate’s determination of

probable cause.” United States v. Reed, 195 F. App’x at 822. The court’s duty is “simply to

ensure that the magistrate had a substantial basis for . . . conclud[ing] that probable cause

existed.” Illinois v. Gates, 462 U.S. at 236, 238-39. This deference is appropriate to further the

Fourth Amendment’s strong preference for warrants. See Massachusetts v. Upton, 466 U.S. 727,

733 (1984); United States v. Ventresca, 380 U.S. 102, 105-06 (1965)(“An evaluation of the

constitutionality of a search warrant should begin with the rule that the informed and deliberate

determinations of magistrates empowered to issue warrants . . . are to be preferred over the

hurried action of office[r]s.”). Because of the strong preference for warrants, “in a doubtful or

marginal case a search under a warrant may be sustainable where without one it would fall.”

United States v. Ventresca, 380 U.S. at 106.



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       “The deference accorded a magistrate judge’s probable cause determination, however, is

not boundless.” United States v. Alabi, 943 F. Supp. 2d at 1253 (citing United States v. Leon,

468 U.S. 897, 914 (1984)). The court should not defer to a Magistrate Judge’s probable-cause

determination where there is no substantial basis for concluding that the affidavit in support of

the warrant established probable cause. See United States v. Danhauer, 229 F.3d at 1006.

Specifically, the court should not defer to a Magistrate Judge’s probable-cause determination if it

“is a mere ratification of the bare conclusions or ‘hunches’ of others or where it involves an

improper analysis of the totality of the circumstances.” United States v. Reed, 195 F. App’x at

822 (citing United States v. Leon, 468 U.S. at 915; Massachusetts v. Upton, 466 U.S. at 734;

Illinois v. Gates, 462 U.S. at 239).

        4.     Search Warrants Require Particularity.

       The Fourth Amendment mandates that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.” U.S. Const. amend. IV. The Supreme Court has explained that

the “manifest purpose” of the particularity requirement is “to prevent general searches.”

Maryland v. Garrison, 480 U.S. 79, 84 (1987). “By limiting the authorization to search to the

specific areas and things for which there is probable cause to search, the requirement ensures that

the search will be carefully tailored to its justifications, and will not take on the character of the

wide-ranging exploratory searches the Framers intended to prohibit.” Maryland v. Garrison, 480

U.S. at 84. Moreover, a particular warrant “assures the individual whose property is searched or

seized of the lawful authority of the executing officer, his need to search, and the limits of his

power to search.” United States v. Chadwick, 433 U.S. 1, 9 (1977)(citations omitted). See




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Illinois v. Gates, 462 U.S. at 236 (“[P]ossession of a warrant by officers conducting an arrest or

search greatly reduces the perception of unlawful or intrusive police conduct.”).

       5.      The Automobile Exception to the Warrant Requirement.

       “Under the automobile exception to the Fourth Amendment’s warrant requirement,

‘police officers who have probable cause to believe there is contraband inside an automobile that

has been stopped on the road may search it without obtaining a warrant.’” United States v.

Vazquez, 555 F.3d 923, 930 (10th Cir. 2009)(quoting Florida v. Meyers, 466 U.S. 380, 381

(1984)). “Moreover, ‘[o]nce the officer[s’] suspicions rise to the level of probable cause, they

are empowered to search the entire vehicle, including the trunk and all containers therein that

might contain contraband.’” United States v. Vazquez, 555 F.3d at 930 (quoting United States v.

Chavez, 534 F.3d at 1345). “Probable cause to search an automobile exists ‘where the known

facts and circumstances are sufficient to warrant a man of reasonable prudence in the belief that

contraband or evidence of a crime will be found.’” United States v. Montes-Ramos, 347 F.

App’x 383, 395-96 (10th Cir. 2009)(unpublished)(quoting Ornelas v. United States, 517 U.S.

690, 696 (1996)). Courts must “look at the ‘totality of the circumstances’ of each case to see

whether the detaining officer has a ‘particularized and objective basis’ for suspecting legal

wrongdoing.” United States v. Ledesma, 447 F.3d at 1316 (10th Cir. 2006)(citations omitted).

“The ultimate question is whether the facts and circumstances within the officers’ knowledge,

and of which they have reasonably trustworthy information, are sufficient in themselves to

warrant a man of reasonable caution in the belief that an offense has been or is being

committed.”     United States v. Ledesma, 447 F.3d at 1316 (internal quotation marks

omitted)(citations omitted).




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       The extent to which a search’s scope is permissible can expand if probable cause

develops during the performance of an otherwise lawful automobile search. See United States v.

Carbajal-Iriarte, 586 F .3d 795, 802 (10th Cir. 2009)(holding that, even if a defendant’s consent

did not authorize an officer to “cut open his spare tire, the search [is] nonetheless permissible [if]

the officers obtained probable cause to search the tire during the portion of the search to which

the defendant did consent”). In United States v. Carbajal-Iriarte, for example, the Tenth Circuit

held that the district court did not err in refusing to suppress drugs recovered from the seat of a

vehicle after officers cut open the upholstery. See 596 F.3d at 802. The defendant argued that

the officers exceeded the scope of his consent when they cut open the upholstery of the seat. See

596 F.3d at 802. The Tenth Circuit stated:

       Here, the officers had an independent legal basis upon which to proceed because
       the dog’s positive alert to the presence of drugs in the van provided probable
       cause. See United States v. Ludwig, 10 F.3d 1523, 1527-28 (10th Cir. 1993). As
       a result, it is immaterial whether Carbajal-Iriarte consented to cutting open the
       seat. Once the officers had probable cause to search the seat, his consent was no
       longer necessary.

586 F.3d at 802. See United States v. Morales-Zamora, 914 F.2d 200, 205-06 (10th Cir. 1990)

(finding that it need not “reach the issue of consent because probable cause to search was

supplied when the dog alerted to the vehicles” and stating that, under the “vehicle exception to

the general rule that searches are reasonable only if conducted pursuant to a valid search

warrant,” no warrant was necessary for the search of the vehicles to be reasonable under the

Fourth Amendment).39




       39
          Although the Supreme Court has not narrowed the scope of the automobile exception to
the warrant requirement, it has recently held that officers may not use the search incident to a
lawful arrest exception to justify the search of a defendant’s cell phone. See Riley v. California,
134 S. Ct. 2473, 2493 (2014)(“[A] warrant is generally required before such a search, even when
a cell phone is seized incident to arrest.”).
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                   RELEVANT LAW ON THE EXCLUSIONARY RULE

       “When evidence is obtained in violation of a person’s constitutional rights, the

government is prohibited from using that evidence in a criminal prosecution of that person.”

United States v. Villaba, No. CR 13-0664 JB, 2013 WL 4782206, at *27 (D.N.M. Aug. 21,

2013)(Browning, J.)(citing United States v. Calandra, 414 U.S. 338, 347 (1974)(“Under this rule,

evidence obtained in violation of the Fourth Amendment cannot be used in a criminal proceeding

against the victim of the illegal search and seizure.”)). In addition, a court must also suppress

any other evidence deemed to be the “fruit of the poisonous tree,” because it is evidence which

was discovered as a direct result of the unlawful law enforcement activity. United States v.

Olivares-Rangel, 458 F.3d 1104, 1108-09 (10th Cir. 2006). “To suppress evidence that was

derived following unlawful activity, the defendant must show that there is a factual nexus

between the illegality and the challenged evidence.”        United States v. Villaba, 2013 WL

4782206, at *27 (citing United States v. Olivares-Rangel, 458 F.3d at 1109; United States v.

Nava-Ramirez, 210 F.3d at 1131).

       “For the exclusionary rule to apply, the defendant must show, by a preponderance of the

evidence: (i) a constitutional violation, and (ii) a causal nexus between the violation and the

evidence sought to be excluded.” United States v. Villaba, 2013 WL 4782206, at *27 (citing

United States v. Torres-Castro, 470 F.3d 992, 999 (10th Cir. 2006)). Once the defendant makes

this showing, if the prosecutor still desires to proffer the challenged evidence, the burden shifts

to the prosecution to establish that an exception to the exclusionary rule applies. See United

States v. Torres-Castro, 470 F.3d at 999.




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       1.      The Good-Faith Exception.

       Recognizing that the “sole purpose” of the exclusionary rule “is to deter future Fourth

Amendment violations,” the Supreme Court has held that evidence will not be excluded where

the officer who obtained the evidence through an unlawful search or seizure acted in good faith.

United States v. Davis, 131 S. Ct. 2419, 2426 (2011). To determine whether the good-faith

exception applies, courts must balance the deterrent effect of excluding the evidence against “the

substantial social costs generated by the rule.” 131 S. Ct. at 2427. The Supreme Court has

explained that “[t]he basic insight of the Leon line of cases is that the deterrence benefits of

exclusion vary with the culpability of the law enforcement conduct at issue.” 131 S. Ct. at 2427.

Consequently, “[w]hen the police exhibit deliberate, reckless, or grossly negligent disregard for

Fourth Amendment rights, the deterrent value of exclusion is strong and tends to outweigh the

resulting costs.” United States v. Davis, 131 S. Ct. at 2438 (citation omitted). By contrast,

“[w]hen the police act with an objectively reasonable good-faith belief that their conduct is

lawful, or when their conduct involves only simple, isolated negligence, the deterrence rationale

loses much of its force, and exclusion cannot pay its way.” United States v. Davis, 131 S. Ct. at

2427-28 (citations omitted)(internal quotation marks omitted).

               a.   Warrants based on illegally obtained information.

       “When a search is conducted pursuant to a warrant that is based on illegally obtained

information, a court is not to blindly apply the good-faith exception.” United States v. Alabi,

943 F. Supp. 2d at 1260. “Instead, the court is to consider the warrant with the illegally obtained

information excluded and determine, based on the remaining information, whether probable

cause nevertheless existed.” United States v. Alabi, 943 F. Supp. 2d at 1260. If the remaining




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content of the warrant affidavit establishes probable cause, the search pursuant to that warrant

was appropriate, and the evidence need not be excluded:

       When a warrant is tainted by some unconstitutionally obtained information, we
       nonetheless uphold the warrant if there was probable cause absent that
       information. An affidavit containing erroneous or unconstitutionally obtained
       information invalidates a warrant if that information was critical to establishing
       probable cause. If, however, the affidavit contained sufficient accurate or
       untainted evidence, the warrant is nevertheless valid.

United States v. Sims, 428 F.3d 945, 954 (10th Cir. 2005). See United States v. Cusumano, 83

F.3d 1247, 1250 (10th Cir. 1996)(“In our review, we may disregard allegedly tainted material in

the affidavit and ask whether sufficient facts remain to establish probable cause.”); United States

v. Snow, 919 F.2d 1458, 1460 (10th Cir. 1990)(“An affidavit containing erroneous or

unconstitutionally obtained information invalidates a warrant if that information was critical to

establishing probable cause. If, however, the affidavit contained sufficient accurate or untainted

evidence, the warrant is nevertheless valid.”). “The apparent rationale for this rule is that one

officer cannot execute a warrant ‘in good faith’ if it contains information that he or a fellow

officer obtained illegally.” United States v. Alabi, 943 F. Supp. 2d at 1260 (quoting United

States v. Herrera, 444 F.3d 1238, 1249 (10th Cir. 2006)).

               b. United States v. Leon.

       In United States v. Leon, the Supreme Court faced the question whether to apply the

good-faith exception when a police officer mistakenly thought a warrant, from which he obtained

evidence, was supported by probable cause. See 468 U.S. at 905. The Supreme Court noted that

excluding this evidence would not deter police misconduct. See 468 U.S. at 918-19. The officer

had taken all of the necessary steps to comply with the Fourth Amendment and reasonably

thought the warrant, and, thus, his search, was valid. See 468 U.S. at 918-19. The Supreme

Court explained that, when a warrant is issued on less than probable cause, the person whose

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conduct the law wishes to deter is the issuing judge and that excluding the evidence would not

have a significantly deterrent effect on judicial conduct. See 468 U.S. at 916-17. The Supreme

Court, thus, concluded that a court need not suppress evidence seized pursuant to a facially valid

warrant which later turns out to lack probable cause, as long as police were acting in good-faith

reliance on that warrant. See 468 U.S. at 922-23.

       “The Tenth Circuit, therefore, now applies the rule that, in cases where the police

obtained a warrant but the affidavit supporting the warrant does not establish probable cause,

suppression of the evidence found is inappropriate so long as the officers relied on the warrant in

good faith.” United States v. Martinez, 696 F. Supp. 2d 1216, 1244 (D.N.M. 2010)(Browning,

J.)(citing United States v. Tuter, 240 F.3d 1292, 1300 (10th Cir. 2001); United States v.

Danhauer, 229 F.3d 1002, 1007 (10th Cir. 2000)), aff’d, 643 F.3d 1292 (10th Cir. 2011).

       [T]he suppression of evidence obtained pursuant to a warrant should be ordered
       only in those unusual cases in which exclusion will further the purposes of the
       exclusionary rule[.] Where an officer acting with objective good faith obtains a
       search warrant from a detached and neutral magistrate and the executing officers
       act within its scope, there is nothing to deter.

United States v. Tuter, 240 F.3d at 1298-99. Furthermore, the Tenth Circuit has explained that,

“[u]nder Leon, we presume good-faith when an officer acts pursuant to a warrant unless one of

‘four contexts’ appl[ies].” United States v. Barajas, 710 F.3d 1102, 1110 (10th Cir. 2013).

       First, evidence should be suppressed if the issuing magistrate was misled by an
       affidavit containing false information or information that the affiant would have
       known was false if not for his “reckless disregard for the truth.” Second, the
       exception does not apply when the “issuing magistrate wholly abandon[s his]
       judicial role.” Third, the good-faith exception does not apply when the affidavit
       in support of the warrant is “so lacking in indicia of probable cause as to render
       official belief in its existence entirely unreasonable.” Fourth, the exception does
       not apply when a warrant is so facially deficient that the executing officer could
       not reasonably believe it was valid.




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United States v. Danhauer, 229 F.3d at 1007 (quoting United States v. Leon, 468 U.S. at

922-23)(citations omitted). See United States v. Perrine, 518 F.3d 1196, 1206-07 (10th Cir.

2008). “If any of these situations is present, the good-faith exception should not be applied, and

the evidence should be excluded.” United States v. Romero, 743 F. Supp. 2d at 1316.

               c. Herring v. United States.

       In Herring v. United States, officers arrested Herring pursuant to an arrest warrant listed

in the Dale County, Alabama, warrant database. See 555 U.S. at 137. In the search incident to

that arrest, officers found drugs and a gun on Herring’s person. See 555 U.S. at 137. Herring

was then indicted on federal gun and drug-possession charges. See 555 U.S. at 138. It turned

out, however, that the warrant under which the officers arrested Herring had been recalled, but

the database had not been updated to reflect that recall. See 555 U.S. at 138. Asserting that the

evidence found during the search was fruit of an unlawful arrest, Herring sought to suppress it.

See 555 U.S. at 138. The district court denied Herring’s motion to suppress, and the United

States Court of Appeals for the Eleventh Circuit affirmed. See 555 U.S. at 138.

       The Supreme Court upheld the Eleventh Circuit’s decision, based primarily on the good-

faith exception to the exclusionary rule. See 555 U.S. at 140-46. The Supreme Court agreed

with the Eleventh Circuit that, although the failure of the police to update the warrant database to

reflect the fact that Herring’s warrant was withdrawn was negligent, it was not reckless or

deliberate. See 555 U.S. at 140. The Supreme Court reiterated its holding from United States v.

Leon: “When police act under a warrant that is invalid for lack of probable cause, the

exclusionary rule does not apply if the police acted ‘in objectively reasonable reliance’ on the

subsequently invalidated search warrant.” 555 U.S. at 142 (citing United States v. Leon, 468

U.S. at 922). Tracing the history of cases applying and declining to apply the exclusionary rule,



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the Supreme Court distilled a general principle: “To trigger the exclusionary rule, police conduct

must be sufficiently deliberate that exclusion can meaningfully deter it, and sufficiently culpable

that such deterrence is worth the price paid by the justice system.” 555 U.S. at 144. The

Supreme Court further explained that “evidence should be suppressed only if it can be said that

the law enforcement officer had knowledge, or may properly be charged with knowledge, that

the search was unconstitutional.” 555 U.S. at 143. As long as the “police have [not] been shown

to be reckless in maintaining [the] warrant system, or to have knowingly made false entries to lay

the groundwork for future false arrests,” exclusion of evidence is not warranted when the arrest

was made on objectively reasonable reliance on a warrant that had been subsequently recalled.

555 U.S. at 146.

               c.     Davis v. United States.

       In Davis v. United States, the Supreme Court confronted the question whether to apply

the exclusionary rule when police conduct a search in objectively reasonable reliance on binding

judicial precedent. See 131 S. Ct. at 2428. At the time of the officer’s search, the Supreme

Court had not yet decided Arizona v. Gant, 556 U.S. 332 (2009) -- which held that the Fourth

Amendment requires officers to demonstrate a continuing threat to their safety that the arrestee

poses or a need to preserve evidence related to the crime of the arrest to justify a warrantless

vehicular search incident to arrest. See 556 U.S. at 341-48. The United States Court of Appeals

for the Eleventh Circuit had interpreted the Supreme Court’s decision in New York v. Belton,

453 U.S. 454 (1981), as establishing a bright-line rule authorizing the search of a vehicle’s

passenger compartment incident to a recent occupant’s arrest. See United States v. Gonzalez, 71

F.3d 819, 825 (11th Cir. 1996). Although the officers’ search incident to the defendant’s arrest




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“was in strict compliance with then-binding Circuit law and was not culpable in any way,” it was

unconstitutional under Arizona v. Gant. United States v. Davis, 131 S. Ct. at 2428.

       The Supreme Court determined that the “acknowledged absence of police culpability

dooms [the defendant’s] claim.” United States v. Davis, 131 S. Ct. at 2428. The Supreme Court

explained that “[p]olice practices trigger the harsh sanction of exclusion only when they are

deliberate enough to yield meaningful deterrence, and culpable enough to be worth the price paid

by the justice system.” 131 S. Ct. at 2428 (citations omitted)(internal quotation marks omitted).

The Supreme Court stated: “[T]he conduct of the officers here was neither of these things. The

officers who conducted the search did not violate [the defendant’s] rights deliberately, recklessly,

or with gross negligence. Nor does this case involve any recurring or systemic negligence on the

part of law enforcement.”      131 S. Ct. at 2428 (citations omitted)(internal quotation marks

omitted). The Supreme Court concluded that, “[u]nless the exclusionary rule is to become a

strict-liability regime, it can have no application in this case.” United States v. Davis, 131 S. Ct.

at 2429.

       2.      The Inevitable Discovery Exception.

       Under the inevitable discovery exception, “illegally obtained evidence may be admitted if

it ‘ultimately or inevitably would have been discovered by lawful means.’” United States v.

Christy, 739 F.3d at 540 (quoting Nix v. Williams, 467 U.S. at 444). “The government possesses

the burden of proving by a preponderance of the evidence that the evidence at issue would have

been discovered without the Fourth Amendment violation.” United States v. Cunningham, 413

F.3d 1199, 1203 (10th Cir. 2005)(citation omitted). In United States v. Owens, 782 F.2d 146

(10th Cir. 1986), the Tenth Circuit noted that, for the inevitable discovery exception to apply,

there must be a “lawful police investigation [that] inevitably would have discovered” the



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evidence in question. 782 F.2d at 152. Relying on this statement from United States v. Owens,

the Court stated in United States v. Christy, 810 F. Supp. 2d 1219 (D.N.M. 2011)(Browning, J.),

aff’d, 739 F.3d 534 (10th Cir. 2014), that the inevitable discovery exception “permits evidence to

be admitted if an independent, lawful police investigation inevitably would have discovered

it.” 810 F. Supp. 2d at 1274 (citations omitted)(internal quotation marks omitted). On appeal,

however, the Tenth Circuit clarified that the inevitable discovery exception does not require an

independent investigation that would have discovered the evidence in question. See United

States v. Christy, 739 F.3d at 540. The Tenth Circuit explained:

               In Cunningham and [United States v. ]Souza[, 223 F.3d 1197 (10th Cir.
       2000),] we applied inevitable discovery to situations like the one here -- where
       there was “one line of investigation that would have led inevitably to the
       obtaining of a search warrant by independent lawful means but was halted
       prematurely by a search subsequently contended to be illegal.” Cunningham, 413
       F.3d at 1204 n.1. In Cunningham, police searched the defendant’s home after
       getting his consent. Id. at 1202. The defendant later contested the search,
       claiming his consent was coerced. Id. We held that even if the search was illegal,
       the evidence was admissible because the officers “would have obtained a search
       warrant” if the search had not occurred. Id. at 1205. In Souza, police illegally
       opened a UPS package that contained drugs. 223 F.3d at 1200, 1202. We held
       the evidence admissible under inevitable discovery because the officers “would
       have obtained a warrant” had the illegal search not occurred. Id. at 1206. Thus,
       our case law does not require a second investigation when the first (and only)
       investigation would inevitably have discovered the contested evidence by lawful
       means.

       ....

               Thus, lest there be any doubt, we reaffirm the notion that inevitable
       discovery requires only that the lawful means of discovery be “independent of the
       constitutional violation,” Larsen, 127 F.3d [984,] 987[ (10th Cir. 1997)], and
       conclude that a second investigation is not required.

United States v. Christy, 739 F.3d at 540-41.

       In United States v. Souza, the Tenth Circuit “set forth the standard for considering

whether the inevitable discovery doctrine applies to a warrantless search,” United States v.



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Cunningham, 413 F.3d at 1203, when “there is no exception to the warrant requirement that

could serve as a basis for the inevitable discovery exception,” United States v. Souza, 223 F.3d at

1203. The Tenth Circuit stated that, “a court may apply the inevitable discovery exception only

when it has a high level of confidence that the warrant in fact would have been issued and that

the specific evidence in question would have been obtained by lawful means.” United States v.

Souza, 223 F.3d at 1205. The Tenth Circuit adopted four factors to determine “how likely it is

that a warrant would have been issued and that the evidence would have been found pursuant to

a warrant”:

       1) the extent to which the warrant process has been completed at the time those
       seeking the warrant learn of the search; 2) the strength of the showing of probable
       cause at the time the search occurred; 3) whether a warrant ultimately was
       obtained, albeit after the illegal entry; and 4) evidence that law enforcement
       agents “jumped the gun” because they lacked confidence in their showing of
       probable cause and wanted to force the issue by creating a fait accompli.

United States v. Souza, 223 F.3d at 1204 (citing United States v. Cabassa, 62 F.3d 470, 473-74,

473 n.2 (2d Cir. 1995))(citations omitted)(internal quotation marks omitted). Applying the first

factor, the Tenth Circuit stated:

       [T]he prerequisite to a consideration of the inevitable discovery exception in these
       cases, steps taken to obtain a warrant prior to the unlawful search, is present in
       this case. Special Agent Rowden took steps to alert his office that he would be
       coming back to prepare a warrant for the package and made sure that the affidavit
       form would be ready when he got back to his office. Also, the package was
       specifically placed on the floor behind Detective Sloan for the purpose of
       obtaining a warrant.

223 F.3d at 1205. Regarding the second factor, the Tenth Circuit stated:

       [A]t the time the illegal search occurred, probable cause to believe the package
       contained contraband was extremely strong. The package itself contained several
       suspicious characteristics, including all of the openings on the box being heavily
       taped, the box having been sent through third party shipping, the sender having
       only used a first name, and the box being solid so that no side of it could be
       compressed. Moreover, the box was alerted to by a certified narcotics dog, which
       is itself sufficient to create probable cause.

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223 F.3d at 1205-06. The Tenth Circuit noted that a sergeant eventually obtained a search

warrant. See 223 F.3d at 1206. Regarding the third factor, the Tenth Circuit stated that, unlike

“Cabassa, there is no question . . . concerning the inevitability of discovery of the evidence if the

police had obtained a search warrant because the package was secured by the officers and there

was no chance that it would not still be there when the warrant actually was issued.” 223 F.3d at

1206. The Tenth Circuit did not reach the fourth factor, but concluded that, although it was

       very reluctant to apply the inevitable discovery exception in situations where the
       government fails to obtain a search warrant and no exception to the warrant
       requirement exists, in this case the inevitability of discovery of the evidence
       convince[d] [it] that [the case before it was] one of those occasions when the
       doctrine should apply.

223 F.3d at 1206.

       In United States v. Owens, the Tenth Circuit emphasized the “danger of admitting

unlawfully obtained evidence on the strength of some judge’s speculation that it would have

been discovered legally anyway.” 782 F.2d at 152-53. The Tenth Circuit considered whether

contraband seized without a warrant could still be admitted under the inevitable discovery

doctrine. See 782 F.2d at 152-53. Rejecting the United States’ position that the motel maids’

routine cleaning of the defendant’s room for the next occupant would have revealed the

contraband and that, therefore, discovery of the evidence was inevitable, the Tenth Circuit found:

       Several factors suggest that motel employees performing routine cleaning may not
       have inevitably discovered the cocaine. First, if the [motel]’s staff had cleared
       [the defendant’s] room, they would not necessarily have opened and searched all
       his luggage and closed containers. In fact, such an intrusion would have been a
       significant invasion of his privacy. Second, even if the room had been cleared
       and the white powder inside the closed bag had been discovered by the motel
       staff, the lack of any police involvement in routine room cleanings suggests that
       police discovery of the evidence would not have been inevitable. The evidence
       certainly does not demonstrate that the [motel]’s staff would necessarily have
       recognized the powder as cocaine or have called the police if they had so
       recognized it. Finally, absent the unlawful search, [the defendant] might have

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        posted bail on the charge of receiving stolen property and could have returned to
        his motel room before either the cleaning staff or the police discovered the
        contraband. Alternatively, a friend could have returned to claim the closed bag.

United States v. Owens, 782 F.2d at 153. “United States v. Owens suggests that courts should be

realistic, if not skeptical, when assessing the probability that law-enforcement officers would

inevitably have uncovered the challenged evidence through an independent investigation.”

United States v. Martinez, 696 F. Supp. 2d at 1244.

        In United States v. Cunningham, the Tenth Circuit “appl[ied] the inevitable discovery

doctrine, . . . because [it was] convinced that without Mr. Cunningham’s disputed consent, the

warrant to search his house would have been issued and the incriminating evidence would have

been discovered.” 413 F.3d at 1205. The Tenth Circuit, in addressing the first factor -- the

extent to which the warrant process had been completed at the time those seeking the warrant

learn of the search -- stated:

        Here, the officers took substantial steps to obtain a warrant before the contested
        search occurred.      The record demonstrates that they had focused their
        investigation on 1175 and 1179 East 76th Terrace, and had drafted an affidavit to
        support a search warrant for one of these homes. As a result of their conversation
        with the AUSA, the officers decided that further surveillance on the two homes
        was necessary before they specifically selected one to search, and they proceeded
        to conduct that surveillance immediately. The officers’ actions clearly indicate
        they took steps to obtain a search warrant and that they intended to obtain the
        warrant for either 1175 or 1179 East 76th Terrace as soon as possible.

413 F.3d at 1204. Regarding the second factor -- the strength of the showing of probable cause

at the time the search occurred -- the Tenth Circuit stated:

        The officers also possessed strong probable cause for their search of 1179 East
        76th Terrace by the time Mr. Cunningham arrived at the home. Prior to that time,
        they had acquired background information about the alleged check-writing ring,
        narrowed their investigation to one residential block, and focused on the two
        homes sharing a common driveway. The officers’ surveillance had uncovered the
        following additional information: a red car containing two individuals identified
        earlier in the investigation arrived, parked briefly, and then pulled out from
        behind 1179 East 76th Terrace; a black pickup truck previously observed in the

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       investigation was stopped containing Mr. Cunningham, who said that he lived at
       1179 East 76th Terrace; the residents of 1175 East 76th Terrace told officers that
       the home next door had been receiving all of the traffic that evening, and the
       officers ruled out 1175 East 76th Terrace as the location visited by the alleged
       check supplier; and a gray Blazer previously observed in the investigation was
       seen parked by 1179 East 76th Terrace. The government thus had sufficient
       probable cause for a search of 1179 East 76th Terrace at the time of Mr.
       Cunningham’s disputed consent to search his home.

413 F.3d at 1204-05. Regarding the third factor -- whether a warrant ultimately was obtained,

albeit after the illegal entry -- the Tenth Circuit stated: “Moreover, the officers ultimately did

obtain a warrant, albeit based in part on information retrieved from inside Mr. Cunningham’s

home.” 413 F.3d at 1205. Regarding the fourth factor -- evidence that the officers “jumped the

gun,” because they lacked confidence in their showing of probable cause and wanted to force the

issue by creating a fait accompli -- the Tenth Circuit stated:

       There is also no evidence the officers “jumped the gun” due to a lack of
       confidence about probable cause and out of a desire to force the issue. Instead,
       the record indicates that the search occurred at the time it did because of the
       coincidental arrival of Mrs. Cunningham. Her presence on the scene led to a
       series of events that culminated in her son’s release from jail, his return home, and
       his consent to search. As a result, we are satisfied the government has
       demonstrated that, as in Souza, but for Mrs. Cunningham’s arrival at 1179 East
       76th Terrace on the evening of the search, the officers would have obtained a
       search warrant and the evidence in question would have been found.

413 F.3d at 1205 (citations omitted).      The Tenth Circuit, therefore, applied the inevitable

discovery doctrine. See 413 F.3d at 1205.

       In United States v. Christy, the Court applied the four United States v. Souza factors and

determined that the inevitable discovery exception applied. Regarding the first factor -- the

extent to which the warrant process had been completed at the time those seeking the warrant

learn of the search -- the Court stated: “The deputies did not take any steps to obtain a warrant

before entering Christy’s residence. The United States concedes that they did not attempt to

obtain a warrant before entering Christy’s residence. . . . This factor thus weighs against

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applying the inevitable discovery exception.” 810 F. Supp. 2d at 1275 (citations omitted). As to

the second factor -- the strength of the showing of probable cause at the time the search occurred

-- the Court concluded:

       The Court finds that [Investigator Carvo] had strong probable cause that Christy
       committed crimes. At the time of the search, Carvo believed he had probable
       cause for the California crime of unlawful sexual intercourse, because Christy and
       K.Y. exchanged naked pictures through electronic mail transmissions over the
       internet and then arranged a meeting in the middle of the night for K.Y. to run
       away with Christy.

       ....

       Because [the officer] knew that K.Y. and Christy were exchanging naked pictures,
       “the belief that there was a sexual relationship or sexual interest between the two
       was reasonable.” Amended Memorandum Opinion and Order at 57. These
       circumstances are sufficient to form “a reasonable ground for belief of [Christy’s]
       guilt,” . . . for the California crime of unlawful sexual intercourse.

       [The officer] also had strong probable cause for the federal crime of coercion or
       enticement. Carvo believed that he had probable cause for the federal crime of
       enticement or coercion, because of Christy’s and K.Y.’s communications through
       the internet and electronic mail transmissions, because Christy sent K.Y. naked
       pictures of himself and solicited pictures of K.Y., which showed her breasts, and
       because cellular telephone evidence shows that Christy traveled across state lines
       to bring K.Y. to New Mexico.

       ....

       Because [the officer] knew that Christy and K.Y. communicated through
       electronic mail transmissions, that Christy sent K.Y. naked pictures of himself and
       solicited pictures of K.Y., because evidence showed that Christy traveled across
       state lines with K.Y., and because Carvo had strong probable cause that Christy
       committed the California crime of unlawful sexual intercourse, Carvo had “a
       reasonable ground for belief of [Christy’s] guilt,” . . . for the federal crime of
       coercion or enticement. Because Carvo had strong probable cause for the
       California crime of unlawful sexual intercourse and for the federal crime of
       enticement or coercion, this factor weighs in favor of application of the inevitable
       discovery doctrine.

810 F. Supp. 2d at 1276-78 (brackets in original)(citations omitted). Regarding the third factor --

whether a warrant ultimately was obtained, albeit after the illegal entry -- the Court held:



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       The deputies “ultimately did obtain a warrant, albeit based in part on information
       retrieved” from Littlefield’s actions of peering through a crack in the blinds in
       Christy’s window, and from the deputies’ entry into Christy’s residence and
       subsequent interview of Christy. United States v. Cunningham, 413 F.3d at 1205.
       Although portions of the affidavits supporting the warrants were based on
       information the Court has found illegally obtained, the affidavits also included
       information from the California investigation. Although the Tenth Circuit
       appears to rely on illegally obtained information in its inevitable discovery
       analysis, the Court does not believe that it can do so. Carvo had strong probable
       cause that Christy committed California and federal crimes, and Carvo’s probable
       cause was based on his investigation, and not on any information he learned from
       the BCSO or from the Albuquerque FBI. . . . Because Carvo had strong probable
       cause for a California crime and a federal crime, based on information that he
       learned in his investigation, and not based on information he learned from the
       BCSO or from the Albuquerque FBI, Carvo would have obtained search warrants
       that were not based on illegally obtained information. Based upon Carvo’s belief
       that he had probable cause for both violations of California state law and
       violations of federal law, he would “have asked [the Bernalillo County Sheriff’s
       Office (“BCSO”) and/or -- either one -- the FBI to obtain a search warrant for
       [Christy’s] Albuquerque residence, vehicle, computers, cell phones, things of that
       nature.” . . . If the BCSO or Albuquerque FBI were not able to obtain a search
       warrant for these locations, Carvo would have written a federal search warrant
       himself and come to the District of New Mexico to seek the warrant with himself
       as the affiant. . . . Carvo is cross designated to acquire both state and federal
       search warrants. . . . This factor thus weighs in favor of application of the
       inevitable-discovery doctrine.

United States v. Christy, 810 F. Supp. at 1278-79. As to the fourth factor -- the existence of

evidence that the officers jumped the gun because they lacked confidence in their showing of

probable cause and wanted to force the issue by creating a fait accompli -- the Court determined:

       There is “no evidence that the officers ‘jumped the gun’ due to a lack of
       confidence about probable cause and out of a desire to force the issue.” United
       States v. Cunningham, 413 F.3d at 1205. The record indicates that the search
       occurred when it did because the deputies believed that they had exigent
       circumstances to enter Christy’s residence. This factor thus weighs in favor of
       application of the inevitable discovery doctrine.

United States v. Christy, 810 F. Supp. 2d at 1279. Consequently, the Court applied the inevitable

discovery doctrine. See 810 F. Supp. 2d at 1279.




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          On appeal, the Tenth Circuit affirmed the Court’s decision. See 739 F.3d at 539-544.

Addressing the United States v. Souza factors, the Tenth Circuit pointed out that the defendant

challenged only the Court’s ruling on factors two and four -- the strength of the probable cause

showing when the unlawful search occurred and whether the officers “jumped the gun” to

sidestep the warrant requirement. 739 F.3d at 541. Regarding the second factor -- the strength

of the showing of probable cause at the time the unlawful search occurred -- the Tenth Circuit

stated:

          The district court found that Officer Carvo knew that K.Y. was a minor, there was
          a large age difference between her and Mr. Christy, the two exchanged sexually
          explicit pictures, and that Mr. Christy traveled across state lines with K.Y. . . .
          Given those factual findings, it is a reasonable inference that a sexual relationship
          existed between Mr. Christy and K.Y. Officer Carvo also knew that K.Y. was
          potentially suicidal, had left her depression medication behind, and ran away from
          home with Mr. Christy. . . . Based on that knowledge, Officer Carvo’s belief that
          K.Y. was at risk for sexual victimization and assault was reasonable. Thus,
          Officer Carvo had reasonable grounds to believe that Mr. Christy engaged in
          sexual activity in violation of California law and coerced or enticed K.Y. to travel
          across state lines to engage in criminal sexual activity in violation of federal
          law. . . . The district court was correct in weighing this factor in favor of applying
          inevitable discovery.

United States v. Christy, 739 F.3d at 542. Analyzing the fourth factor -- evidence that the

officers jumped the gun because they lacked confidence in their showing of probable cause and

wanted to force the issue by creating a fait accompli -- the Tenth Circuit explained:

          Mr. Christy argues that the deputies “jumped the gun” by forcing entry into his
          home due to their lack of confidence about probable cause. . . . Yet as the district
          court found, no evidence supports the theory that the deputies forced entry for that
          reason. . . . Instead, the deputies forced entry because they believed K.Y. was in
          danger. . . . Mr. Christy argues that the search was not in fact justified by exigent
          circumstances and points to the district court’s conclusion that it was not. . . . But
          that is beside the point. The record fully supports the reasonableness of the
          deputies’ assessment of danger. The district court was correct in weighing this
          factor in favor of the government.




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United States v. Christy, 739 F.3d at 543. The Tenth Circuit concluded, therefore, that the Court

properly applied the United States v. Souza factors. See 739 F.3d at 542.

          LAW REGARDING THE COLLECTIVE KNOWLEDGE DOCTRINE

       “Under the collective-knowledge doctrine -- also called the ‘fellow officer rule’ -- the

knowledge of one officer supporting a search or seizure may be imputed to other law

enforcement officers acting in conjunction with the knowledgeable officer.” James v. Chavez,

830 F. Supp. 2d 1208, 1260 (D.N.M. 2011)(Browning, J.)(citing United States v. Hensley, 469

U.S. 221, 232-33 (1985); United States v. Wilkinson, 633 F.3d 938, 941 (10th Cir. 2008)). The

collective knowledge doctrine originates from United States v. Hensley, in which the Supreme

Court held that evidence uncovered in the police officers’ stop of a defendant based on a notice

that another state issued about the defendant’s outstanding warrant was admissible. See 469 U.S.

at 223. The collective knowledge doctrine has two categories -- horizontal and vertical. See

United States v. Chavez, 534 F.3d at 1345.

       Vertical collective knowledge exists “if one officer actually has probable cause and

instructs another officer to act without communicating the information he knows that would

justify the action.”   Felders ex rel. Smedly v. Malcom, 755 F.3d 870, 881 (10th Cir.

2014)(emphasis in original). By contrast, horizontal collective knowledge exists “when many

officers have pieces of the probable cause puzzle, but no single officer possesses information

sufficient for probable cause.” Felders ex rel. Smedly v. Malcom, 755 F.3d at 881 (citations

omitted)(internal quotation marks omitted). In the latter situation, courts may consider whether

officers who are acting together collectively have enough information to support probable cause,

provided that the officers actually communicated the information to each other. See United

States v. Shareef, 100 F.3d 1491, 1503-05 (10th Cir. 1996)(noting that horizontal collective



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knowledge only applies if information is shared); United States v. Christy, 810 F. Supp. 2d 1219,

1261 (D.N.M. 2011)(Browning, J.).       Horizontal and vertical collective knowledge are not

mutually exclusive doctrines; for example, “the officer who has probable cause may possess that

information as a result of communication from other officers.” United States v. Chavez, 534

F.3d at 1345 n.12.

                     RELEVANT LAW REGARDING MIRANDA RIGHTS

       Law enforcement officials must give the Miranda warnings to a person subject to

“custodial interrogation.” United States v. Hudson, 210 F.3d 1184, 1190 (10th Cir. 2000)(citing

Miranda, 384 U.S. at 444)(internal quotations omitted). A person is in custody if “his freedom of

action is curtailed to a degree associated with formal arrest.” United States v. Hudson, 210 F.3d

at 1190 (citing Berkemer v. McCarty, 468 U.S. 420, 440 (1984))(internal quotations omitted).

The Court must examine “whether a reasonable [person] in the suspect’s position would have

understood his situation . . . as the functional equivalent of formal arrest.” United States v.

Hudson, 210 F.3d at 1190 (brackets in original)(internal quotation marks omitted)(citations

omitted). The Tenth Circuit has articulated the “[t]wo discrete inquiries . . . essential to the

determination” of custody: “first, what were the circumstances surrounding the interrogation; and

second, given those circumstances, would a reasonable person have felt he or she was not at

liberty to terminate the interrogation and leave.” United States v. Erving L., 147 F.3d 1240,

1245 (10th Cir. 1998).

       1.     Waiver of Rights Under Miranda.

       Waiver of a person’s Fifth Amendment privilege against self-incrimination must be made

“voluntarily, knowingly and intelligently.” United States v. Burson, 531 F.3d 1254, 1256 (10th

Cir. 2008)(citations omitted). An express statement of waiver is not required; the waiver can be



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inferred from the defendant’s actions and words. See United States v. Nelson, 450 F.3d 1201,

1211 (10th Cir. 2006)(citation omitted). “Whether this standard is met ‘depends in each case

upon the particular facts and circumstances surrounding that case, including the background,

experience, and conduct of the accused.’” United States v. Burson, 531 F.3d at 1256 (citations

omitted). The government generally bears the burden of proving that a valid waiver by a

preponderance of the evidence. See United States v. Burson, 531 F.3d at 1256; United States v.

Nelson, 450 F.3d at 1210-11. The Tenth Circuit has noted that this standard incorporates two

distinct requirements:

               First, the relinquishment of the right must have been voluntary in the sense
       that it was the product of a free and deliberate choice rather than intimidation,
       coercion, or deception. Second, the waiver must have been made with a full
       awareness of both the nature of the right being abandoned and the consequences
       of the decision to abandon it. Only if the totality of the circumstances
       surrounding the interrogation reveal both an uncoerced choice and the requisite
       level of comprehension may a court properly conclude that the Miranda rights
       have been waived.

United States v. Morris, 287 F.3d 985, 988 (10th Cir. 2002)(citations omitted). In determining

whether a waiver of rights was knowing and intelligent, the Tenth Circuit employs a totality of

the circumstances approach.     See United States v. Burson, 531 F.3d at 1256-57 (citation

omitted). A waiver is knowingly and intelligently made when it is made “with a full awareness

of both the nature of the right being abandoned and the consequences of the decision to abandon

it.” United States v. Burson, 531 F.3d at 1257 (citations omitted). “In determining whether

rights were voluntarily waived, we consider: the suspect’s age, intelligence, and education;

whether the suspect was informed of his or her rights; the length and nature of the suspect’s

detention and interrogation; and the use or threat of physical force against the suspect.” United

States v. Smith, 606 F.3d 1270, 1276 (10th Cir. 2010)(citations omitted).




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       2.      Invocation of the Right to Remain Silent.

       Under Miranda, an interrogation must cease immediately when an “individual indicates

in any manner, at any time prior to or during questioning, that he wishes to remain silent.”

United States v. McCarthy, 382 F. App’x 789, 792 (10th Cir. 2010)(citation omitted).

Statements elicited after a defendant invokes this right are inadmissible. See United States v.

McCarthy, 382 F. App’x at 792 (citation omitted). To fall within the ambit of this rule, however,

a defendant’s invocation of his right to remain silent must be clear and unambiguous. See

United States v. McCarthy, 382 F. App’x at 792 (citing United States v. Rambo, 365 F.3d 906,

910 (10th Cir. 2004)).

       3.      Requests for an Attorney.

       The Fifth and Fourteenth Amendments provide the accused a “right to have counsel

present during custodial interrogation.” Edwards v. Arizona, 451 U.S. 477, 481 (1981). Once an

individual subject to custodial interrogation expresses a desire for counsel, that individual is “not

subject to further interrogation by the authorities until counsel has been made available to him,

unless the accused himself initiates further communication, exchanges, or conversations with the

police.” 451 U.S. at 484-85. In Miranda, the Supreme Court stated:

       If the individual states that he wants an attorney, the interrogation must cease until
       an attorney is present. At that time, the individual must have an opportunity to
       confer with the attorney and to have him present during any subsequent
       questioning. If the individual cannot obtain an attorney and he indicates that he
       wants one before speaking to police, they must respect his decision to remain
       silent.

384 U.S. at 474.

       The request for counsel must be clear and unequivocal. See Davis v. United States, 512

U.S. 452, 459 (1994). “Invocation of the Miranda right to counsel ‘requires, at a minimum,

some statement that can reasonably be construed to be an expression of a desire for the assistance

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of an attorney.’” Davis v. United States, 512 U.S. at 459 (quoting McNeil v. Wisconsin, 501

U.S. 171, 178 (1991)). “If an accused makes a statement concerning the right to counsel ‘that is

ambiguous or equivocal’ or makes no statement, the police are not required to end the

interrogation, or ask questions to clarify whether the accused wants to invoke his or her Miranda

rights.” Berghuis v. Thompkins, 560 U.S. 370, 381 (2010)(quoting Miranda, 512 U.S. at 461-

62). The Supreme Court has said that an individual’s “ambiguous” or “equivocal” references to

an attorney that “a reasonable officer in light of the circumstances would have understood only

that the suspect might be invoking the right to counsel,” do not give rise to an invocation of the

right to counsel such that police must cease questioning. Davis v. United States, 512 U.S. at 459

(emphasis in original).

        In United States v. Lux, 905 F.2d 1379 (10th Cir. 1990), the Tenth Circuit affirmed a

district court finding that a defendant did not make an unambiguous request for counsel when

she asked “how long it would take if she wanted a lawyer and if she would have to stay in jail

while she waited for a lawyer.” 905 F.2d at 1382. The Tenth Circuit, without elaborating on its

reasoning, found that, based upon its “independent review” of the record, with deference to the

trial court’s findings of fact, the defendant did not make a request for an attorney. 905 F.2d at

1382.

                                           ANALYSIS

        The Court will deny the Motion. Under the collective knowledge doctrine, the DEA’s

investigation of the Varela DTO gave Almonte and Marquez probable cause to stop Gonzalez,

Sr.’s truck and to search his trailer. The Court thus will not suppress the cocaine and marijuana

that the deputies discovered in Gonzalez, Sr.’s trailer, and will not suppress Gonzalez, Sr.’s post-

arrest statements as the fruit of an unconstitutional search or seizure. If the Court could not



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impute Maestas’ probable cause to the deputies, however, their search of Gonzalez, Sr.’s trailer

was unlawful, and the Court would suppress the drugs that they discovered during their search,

and Gonzalez, Sr.’s post-arrest statements as the fruit of an unlawful search and seizure.

I.     UNDER THE COLLECTIVE KNOWLEDGE DOCTRINE, THE DEA’S
       INVESTIGATION OF THE VARELA DTO GAVE ALMONTE AND MARQUEZ
       PROBABLE CAUSE TO STOP GONZALEZ, SR.’S TRUCK AND TO SEARCH
       HIS TRAILER.

       The Court’s analysis proceeds in three steps. First, the Court concludes that Maestas had

probable cause to believe that Gonzalez, Sr.’s trailer contained narcotics based on the DEA’s

investigation of the Varela DTO. Second, the Court holds that -- under the collective knowledge

doctrine -- it may impute Maestas’ probable cause to Almonte and Marquez to justify their stop

of Gonzalez, Sr.’s truck, and their search of his trailer. Third, because Almonte and Marquez

had probable cause to stop Gonzalez, Sr.’s truck and to search his trailer, they lawfully

discovered the marijuana and cocaine in his trailer, and Gonzalez, Sr.’s post-arrest statements

were not the fruit of an unlawful search or an unlawful seizure. Accordingly, the Court will not

suppress the drugs or Gonzalez, Sr.’s statements.

       A.      MAESTAS DEVELOPED PROBABLE CAUSE TO STOP GONZALEZ,
               SR.’S TRUCK AND TO SEARCH HIS TRAILER BASED ON THE DEA’S
               INVESTIGATION OF THE VARELA DTO.

       Gonzalez, Sr. argues that Maestas did not develop sufficient probable cause through the

DEA’s investigation of the Varela DTO to stop Gonzalez, Sr.’s vehicle or to search his trailer.

See Jan. 30, 2015, Tr. at 348:17-351:2 (Walz). Gonzalez, Sr. has not disputed that Varela and J.

Ibarra-Solis were actively involved in drug trafficking. Instead, he asks the Court to conclude

that it was a mere coincidence that he was mentioned during those calls, and that, because he has

trained horses for Varela, he had “a legitimate reason to contact him and discuss various matters

with him.” Jan. 30, 2015, Tr. at 348:20-21 (Walz).

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       Through the DEA’s investigation into the Varela DTO, Maestas developed probable

cause to believe that Gonzalez, Sr. was trafficking drugs. “Probable cause is a matter of

probability, not certainty. Probable cause requires only a probability or substantial chance of

criminal activity, not an actual showing of such activity.” United States v. Gutierrez, No. CR 07-

1014 JB, 2008 WL 2397668, at *32 (D.N.M. Jan. 4, 2008)(Browning, J.)(citation

omitted)(internal quotation marks omitted). Maestas’ probable cause was based on: (i) his

interpretation of intercepted telephone calls between various members of the Varela DTO from

November 3, 2011, to November 10, 2011; and (ii) the DEA surveillance operation’s

corroboration of those calls by observing Gonzalez, Sr.’s activities in El Paso.

       First, the intercepted telephone calls indicate that Gonzalez, Sr. planned to transport a

large quantity of illegal drugs from El Paso to Albuquerque on or about November 10, 2011.

See United States v. Beltran, 11 F. App’x 786, 787 (9th Cir. 2001)(unpublished)(“We see no

reason why the district court could not rely on [the agent’s] interpretations [of intercepted

conversations] to find probable cause.”); United States v. Carr, No. CR 07-40034 JAR, 2007 WL

2253200, at *4 (D. Kan. July 31, 2007)(finding that “cryptic or coded conversations can support

a finding of probable cause”); United States v. Feola, 651 F. Supp. 1068, 1096 (S.D.N.Y.

1987)(holding that the agents’ interpretations of intercepted telephone calls “properly contributed

to a finding of probable cause”). The DEA intercepted over twenty telephone calls between

November 3, 2011, and November 10, 2011. Many of those calls mention specific amounts --

like twenty, thirty, or forty -- but never connect those amounts to a particular item. See Call 11

at 4 (“Varela said that sometimes he would have a pile, and he would ask them for 30 or 40, and

they would tell him not to worry because there was more coming, and for Varela to receive it,

then send whatever (money).”); Call 491 at 22 (noting that J. Ibarra-Solis told Varela “that he



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had promised him that he would have a 2,0 [NFI] there [NFI] on Tuesday.”); Call 795 at 31

(“Varela advised that at least those 4 [NFI] are there and that he (Jaime) should tell his brother

[NFI] to give Varela some 15 [NFI] at least to do something . . . .”). Varela used this code in his

conversations with: (i) J. Ibarra-Solis, see Call 293 at 3 (“Varela asked UM471 how many total

there are. UM471 said that all together there are about 35 or 40. . . . Varela asked if there are at

least 30. UM471 said that like 35 or 40 for sure.”); (ii) Gonzalez, Jr., see Call 418 at 12

(explaining that Varela told Gonzalez, Jr. that the Ibarra-Solises “have 45 right now, and they

want for Varela to bring them [NFI]”); Call 895 at 5 (“Gonzalez Jr. asked about this dude [UNK]

and asked if they [UNK] had arrived late. Varela negated and said that at the end they [UNK]

did send some and 20 [NFI] would arrive.”); (iii) Chavez, see Call 688 at 13 (“Steve asked if it

would be no less than 20 [NFI]. Varela affirmed.”); and (iv) Gonzalez, Sr., see Call 329 at 11

(“Varela informed Ramon that they (Jaime et al) had 45 there [NFI].”); id. (“Varela replied . . . it

was 32 and told Ramon the dude would have to make three trips. . . . Varela said that was what

they didn’t want to have to do and added they wanted it all at once.”).

       Maestas interpreted these figures as kilograms of cocaine. See Jan. 22, 2015, Tr. at

96:15-97:3 (Maestas). Gonzalez, Sr. has not offered a lawful interpretation of these calls, and

the Court has not been able to come up with one -- for example, that the individuals were all

discussing transporting thirty or forty horses or thirty- to forty-kilogram horses. See Jan. 22,

2015, Tr. at 97:13-18 (Maestas). There is no indication that Varela and J. Ibarra-Solis regularly

transported horses or other lawful items across the Mexico-United States border together.

Gonzalez, Sr. has not explained why Varela and J. Ibarra-Solis would have so many

conversations in such a short period of time about transporting horses, how many horses they

could transport at a single time, when those horses could be transported, who could transport



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them, and who would receive the horses on Varela’s behalf. That Varela and J. Ibarra-Solis had

so many conversations about these issues and were so concerned about them is more consistent

with them planning a shipment of illegal drugs across the border than with them planning a

shipment of lawful items. It would also be strange for Varela to joke about being sent to jail for

transporting forty-five horses, as he did in a November 6, 2011, telephone call with Gonzalez, Jr.

See Call 457 at 17 (“Varela agreed and added those 45 [NFI] were there [NFI] and added he

didn’t know what he was going to do. Varela added he might have to go alone. [Gonzalez, Jr.]

laughed.   Varela told [Gonzalez, Jr.] to wait for the call in case he (Varela) called him

[Gonzalez, Jr.] from jail.”). Moreover, if Varela was discussing lawful items, there is no sound

reason for him and the people with whom he communicated to use vague numbers without

identifying the items to which they were referring. Although one or two conversations like this

may be unremarkable, that Varela used the same code in multiple conversations with multiple

individuals suggests that he was purposefully trying to conceal illegal activity.

       Contrary to Gonzalez, Sr.’s contentions, the intercepted telephone conversations do not

indicate that he was planning only to transport or to train Varela’s horses. A November 6, 2011,

telephone call between Varela and Gonzalez, Sr. is instructive. During that call, Varela

       informed Ramon that they (Jaime et al) had 45 there [NFI]. Ramon advised that
       they (Jaime et al) didn’t have anyone to train their horses [NFI] right now. Varela
       replied that they do have, but only 16 [NFI] fit and they wanted it all at once.
       Varela added the dude was going to take off right now after all but with 16 [NFI]
       and added the dude was going to have to do two trips. Varela asked Ramon what
       16 and 16 were. Varela replied to himself that it was 32 and told Ramon the dude
       would have to make three trips. Ramon agreed. Varela said that was what they
       didn’t want to have to do and added they wanted it all at once. Ramon replied
       they would burn themselves there crossing and crossing and added the
       maestros/teachers [NFI] were not stupid. Ramon chuckled and asked if Varela
       understood. Varela affirmed. Ramon told Varela that one of those falls [NFI] for
       those guys would be fucked up and added they would lose a shit load of money.

Call 329 at 11.

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       It is possible that this conversation is about whether Gonzalez, Sr. could transport or train

Varela’s or some other individual’s horses, but there are a few problems with that interpretation.

Throughout this conversation, Varela and Gonzalez, Sr. refer to forty-five, thirty-two, or sixteen

with the singular pronoun “it” rather than “them,” which suggests that they were describing a

quantity of a single item -- i.e., cocaine or marijuana -- rather than multiple horses. It would also

be strange for Gonzalez, Sr. to be able to transport thirty-two -- or even sixteen -- horses in a

single trip. There was no testimony about how many horses the average horse trailer holds, but

the Court would find it hard to believe that the average horse trailer pulled by a pick-up truck can

hold such a large number of horses at one time. Most problematic for Gonzalez, Sr.’s position,

however, is that he mentions “burn[ing] themselves” from “crossing and crossing,” and that, if

“one of those falls . . . they would lose a shit load of money.” Call 329 at 11. If Gonzalez, Sr.

was transporting horses -- or other lawful items -- for Varela or others, he would have no reason

to be concerned about anyone getting “burn[ed]” from “crossing” -- presumably, the

Mexico-United States border -- having a load “fall[]” or “los[ing] a shit load of money.” Call

329 at 11. On the other hand, if Gonzalez, Sr. was involved in a shipment of illegal drugs, he

would likely be concerned that more shipments would make it more likely that law enforcement

would intercept a load, seize it, and cause them to lose “a shit load of money.” Call 329 at 11.

       A November 9, 2011, telephone call between Varela and Gonzalez, Sr. also undercuts

Gonzalez, Sr.’s argument. That day -- a day before Gonzalez, Sr. and A. Gonzalez picked up the

drug shipment -- Varela informed Gonzalez, Sr. that “the machine was in place.” Call 994 at 22.

Gonzalez, Sr. “affirmed and added it was red alert there,” and later said that “he saw it since he

got there.” Call 994 at 22. Gonzalez, Sr. then told Varela that “he would take off at four in the

morning” and then added: “[W]hy take a risk?” Call 994 at 22. Maestas interpreted this

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conversation as Varela and Gonzalez, Sr. talking about an active Border Patrol checkpoint

between Albuquerque and El Paso, and that Gonzalez, Sr. planned to leave El Paso at 4:00 a.m.

in the hopes that the checkpoint would not be active at that time. Gonzalez, Sr. has offered no

lawful explanation for this conversation, and the Court cannot come up with one. If Gonzalez,

Sr. were only transporting horses, it is unclear about which “machine” he is talking that is on

“red alert.” It is also unclear what “risk” about which he would be worried that he could avoid if

he left at four in the morning. If Gonzalez, Sr. was only transporting horses, there was no reason

for him to have these concerns.        For these reasons, the Court concludes that Maestas’

interpretation of the intercepted telephone calls supported a finding a probable cause.

       Second, the DEA’s surveillance operation confirmed Maestas’ interpretation of the

intercepted telephone calls as setting up a plan for Gonzalez, Sr. to transport a large quantity of

illegal drugs from El Paso to Albuquerque. Based on the intercepted telephone calls, Maestas

determined that Gonzalez, Sr. would pick up a drug load in El Paso on approximately November

10, 2011, and transport it to Albuquerque. See Jan. 28, 2015, Tr. at 158:16-20 (Swainston,

Gooch). On November 9, 2011, the DEA surveillance team encountered Gonzalez, Sr. and A.

Gonzalez heading south on I-25 towards El Paso. See Jan. 28, 2105, Tr. at 158:16-159:8

(Gooch). DEA agents observed a meeting in El Paso among A. Gonzalez, Gonzalez, Sr. and two

unidentified female subjects in a mall parking lot at approximately 8:30 p.m., and later followed

Gonzalez, Sr. from his hotel to a nearby storage facility -- where the agents believed that

Gonzalez, Sr. picked up illegal drugs -- and observed Gonzalez, Sr. and A. Gonzalez settle down

at their hotel for the night.    See Jan. 28, 2015, Tr. at 159:1-167:7 (Swainston, Gooch).

Throughout the surveillance operation, Gooch and Maestas were in constant communication, and

Maestas was giving Gooch instructions based on the communications that he was intercepting.



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See Jan. 28, 2015, Tr. at 167:8-15 (Swainston, Gooch). Maestas told Gooch that, based on the

intercepted telephone conversations, he expected A. Gonzalez and Gonzalez, Sr. to leave El Paso

at approximately 4:00 a.m. on November 10, 2011.            See Jan. 28, 2015, Tr. at 167:1-7

(Swainston, Gooch). Sure enough, at almost 4:00 a.m., Gonzalez, Sr. and A. Gonzalez left their

hotel, driving towards Albuquerque. See Jan. 28, 2015, Tr. at 169:9-14 (Gooch).

       Gonzalez, Sr. correctly points out that the surveillance team did not see him “loading the

trailer, touching any boxes” or openly carrying illegal drugs. Jan. 30, 2015, Tr. at 350:24-351:2

(Walz). That Gonzalez, Sr. went to a storage facility in El Paso at 9:00 p.m. to pick up some

unidentified items and then headed back to Albuquerque at 4:00 a.m. the following day,

however, undercuts Gonzalez, Sr.’s story that he was transporting or training horses for Varela.

It is unlikely that Varela kept his horses in storage facilities, especially in the amounts that he

was discussing with Gonzalez, Sr. over the telephone. If he did keep his horses in the storage

facility, there is no reason for Gonzalez, Sr. and A. Gonzalez to transport those horses in the

middle of the night. Gonzalez, Sr.’s actions are more consistent with the plan set forth in the

intercepted communications: Gonzalez, Sr. would travel to El Paso, pick up illegal drugs, and

transport them back to Albuquerque at 4:00 a.m. to avoid the Border Patrol checkpoint.

       “Probable cause is a flexible common-sense standard.” United States v. McKenzie, No.

CR 08-1669 JB, 2010 WL 1795173, at *15 (D.N.M. April 13, 2010)(Browning, J.)(citations

omitted)(internal quotation marks omitted). A finding of probable cause rests not on whether

particular conduct is “innocent” or “guilty,” but on the “degree of suspicion that attaches” to the

United States’ evidence. Illinois v. Wardlow, 528 U.S. at 128. Probable cause “does not

demand any showing that such a belief be correct or more likely true than false,” but instead

requires only that “the facts available to the officer would warrant a man of reasonable caution in



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the belief that certain items may be contraband or stolen property or useful as evidence of a

crime.”     United States v. McKenzie, 2010 WL 1795173, at *15 (citation omitted)(internal

quotation marks omitted). Although it is possible that the intercepted telephone communications

set forth a plan for Gonzalez, Sr. to transport horses or to train horses for Varela, and it is

possible that Gonzalez, Sr. and A. Gonzalez travelled to a storage facility in El Paso at 9:00 p.m.

and left for Albuquerque at 4:00 a.m. the following day all for lawful reasons, Maestas -- an

experienced DEA agent -- interpreted the telephone calls and Gonzalez, Sr.’s and A. Gonzalez’

actions in El Paso as setting forth and executing a plan to transport illegal drugs. After reviewing

all of the intercepted telephone calls -- both the calls’ original content and Maestas’

interpretations of those calls -- and Gonzalez, Sr.’s actions in El Paso, the Court concludes that

the DEA investigation developed probable cause for Maestas to stop Gonzalez, Sr.’s vehicle and

to search his trailer.

          Other courts have found that officers established probable cause in similar circumstances.

See, e.g., United States v. Ramirez, 60 F. App’x 130, 132 (9th Cir. 2003)(unpublished)(finding

that officers had probable cause where they believed the defendant was involved in the delivery

of cocaine because they had intercepted a series of drug-sale-related telephone calls, witnessed

the defendant’s arrival and departure, noted that these events coincided with the placement of

relevant telephone calls, and observed the defendant depart in the direction indicated that his

boss indicated); United States v. Ridge, 329 F.3d 535, 540-51 (6th Cir. 2003)(holding that

officers were justified in stopping defendant’s vehicle where they had intercepted a telephone

call that “Danny’s on the way with the money,” they had been informed that Danny cooked

methamphetamine, and they observed a van arriving approximately twenty minutes later);

United States v. Lee, No. CR 06-125(9), 2007 WL 1567098, at *11-12 (E.D. Tex. May 29,



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2007)(holding that federal agents’ knowledge, provided by intercepted calls, that truck drivers in

tractor-trailers were utilized as couriers to distribute narcotics, coupled with agents’ observation

of duffle bags being placed in truck with call afterwards confirming “everything was cool,”

provided sufficient probable cause to believe defendant was transporting cocaine); United States

v. Wright, 171 F. Supp. 2d 1195, 1202 (D. Kan. 2001)(concluding that traffic stop was justified

where officers had reason to believe defendants were transporting drugs based on intercepted

telephone calls and surveillance leading up to the traffic stop). Given the relatively low showing

required to establish probable cause -- “only a probability or substantial chance of criminal

activity, rather than an actual showing of such activity,” United States v. Rey, 663 F. Supp. 2d

1086, 1113 (D.N.M. 2009)(Browning, J.)(citation omitted)(internal quotation marks omitted) --

the Court concludes that the intercepted telephone calls between the Varela DTO’s members and

the DEA surveillance operation’s corroboration of Maestas’ interpretation of those calls is

sufficient to establish probable cause that Gonzalez, Sr. was transporting illegal drugs on

November 10, 2011.

       B.      THE COURT MAY IMPUTE MAESTAS’ PROBABLE CAUSE TO
               ALMONTE AND MARQUEZ.

       That Maestas had probable cause to stop Gonzalez, Sr.’s truck and to search his trailer

does not end the Court’s inquiry, however. The Court must also conclude that there was a

sufficient connection between Maestas and the deputies to impute Maestas’ probable cause to

them under the collective knowledge doctrine. This case implicates only the vertical permutation

of the collective knowledge doctrine: it is a situation “where one officer has probable cause and

instructs another officer to act, but does not communicate the corpus of information known to the




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first officer that would justify the action.”40    United States v. Chavez, 534 F.3d at 1345

(emphasis omitted). The Court holds that Maestas’ probable cause may be imputed to Almonte

and Marquez.

       Gonzalez, Sr. asserts that the United States “provides no evidence whatsoever that the

officers involved in the stop had any knowledge of the DEA investigation or of Defendant’s

alleged complicity in a drug trafficking operation.” Reply at 7. During his opening statement at

the suppression hearing, Gonzalez, Sr. mentioned in passing that he had concerns whether

Maestas’ imputation of probable cause to Almonte and Marquez “was really a true imputation of

knowledge” and was “something that could be relied upon by officers in that situation,” Jan. 22,

2015, Tr. at 14:14-18 (Walz), but he did not expand on this argument. In his closing argument,

Gonzalez, Sr. focused primarily on Maestas’ probable cause determination, see Jan. 30, 2015, Tr.

at 349:17-350:6 (Walz), and did not explain why there was an insufficient connection between

Maestas and the deputies for the collective knowledge doctrine to apply.

       The Tenth Circuit has held that officers may use traffic stops as a pretext to intercept drug

shipments identified in wiretap investigations. In United States v. Chavez, for example, a

confidential informant acting under the DEA’s direction sold one kilogram of cocaine to

Servando Moreno. See 534 F.3d at 1340. The following day, the DEA agents observed Moreno

get into a truck that the defendant, Victor Chavez, drove. See 534 F.3d at 1340. As the DEA

surveillance team followed the truck on Interstate 40, a DEA task force officer described the

truck to a New Mexico State Police officer, and instructed him to “develop his own probable

cause” and to conduct a traffic stop of the vehicle. 534 F.3d at 1341. Regarding the DEA’s

       40
         By contrast, the horizontal permutation of the collective knowledge doctrine applies
where “a number of individual law enforcement officers have pieces of the probable cause
puzzle, but no single officer possesses information sufficient for probable cause.” United States
v. Chavez, 534 F.3d at 1345.
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investigation, the task force officer said only that “the white pick-up was carrying ‘coke.’” 534

F.3d at 1341. The officer then “pretended that he had stopped Mr. Chavez for failing to turn on

his headlights in a safety corridor” -- a failure which the officer incorrectly believed violated

New Mexico’s motor vehicle regulations -- searched Chavez’ truck and discovered cocaine. See

534 F.3d at 1342. The Tenth Circuit upheld the stop and the search, concluding that the DEA’s

investigation cultivated probable cause, and that the officer “acted on the strength of the DEA’s

probable cause” when he stopped and searched the truck. 534 F.3d at 1347. The Tenth Circuit

noted that “[d]isguising the stop as a traffic stop was a valid law enforcement tactic calculated to

ensure an officer’s safety” and “safeguard . . . the integrity of the DEA investigation.” 534 F.3d

at 1348 (citation omitted)(internal quotation marks omitted).

       Other Courts of Appeals have upheld the use of walled-off stops in similar circumstances.

In United States v. Rodriguez, 831 F.2d 162 (7th Cir. 1987), for example, DEA agents gathered

enough reasonable suspicion to stop the defendant’s car based on a wiretap investigation and

physical surveillance. See 831 F.2d at 165. Without conveying any details about the ongoing

investigation, the agents asked local law enforcement to conduct a “routine traffic stop” of the

defendant. 831 F.2d at 165. Although the United States conceded that the stop was pretextual

and designed to protect the DEA’s investigation, the United States Court of Appeals for the

Seventh Circuit held that the officers properly relied on the DEA’s reasonable suspicion that the

defendant was transporting drugs.      See 831 F.2d at 165.      The Seventh Circuit said: “The

requesting DEA agent had good grounds for articulable suspicion and the detaining officer had a

reasonable basis for believing the request to be well-founded -- even though she did not

personally know the facts giving rise to the suspicion.” 831 F.2d at 166.




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       The collective knowledge doctrine does has limits, however.           See United States v.

Williams, No. CR 08-777-11 DHC, 2009 WL 4172989, at *3 (N.D. Ill. Nov. 24, 2009)(“There

must be some connection between the officer(s) on the beat and the ultimate source(s) of the

agency’s probable cause, or the collective-knowledge doctrine will degenerate into an end run

around the Fourth Amendment.”). The Tenth Circuit has explained that, for the collective

knowledge doctrine to apply, “there must be some communication between the officer or officers

with probable cause and the officer who executes the stop or search.” United States v. Chavez,

534 F.3d at 1347 n.13. See Wood v. Crouse, 436 F.2d 1077 (10th Cir. 1971)(holding that the

arresting officer properly relied on sheriff’s arrest order where sheriff has probable cause). This

communication “confirms that the officers are functioning as a team.” United States v. Chavez,

534 F.3d at 1347 n.13.      Accordingly, the Tenth Circuit has refused to use the collective

knowledge doctrine to pool information known to two officers independently where there is no

evidence of communication between them. See United States v. Shareef, 100 F.3d at 1503-05.

       This case is not one where two officers independently had information that could provide

probable cause, but failed to communicate with each other. If anything, the communication

between Lopez, Almonte, and Marquez was even greater than the bare-bones description of a

vehicle and its license plate that triggered the application of the collective knowledge doctrine in

United States v. Chavez. Emrich -- an agent in the Albuquerque DEA office who was in

communication with Gooch and Maestas -- asked Lopez to obtain the assistance of deputies with

the El Paso Sheriff’s office to conduct a walled-off stop of Gonzalez, Sr.’s vehicle. See Jan. 28,

2015, Tr. at 185:1-186:10 (Swainston, Lopez); id. at 206:22-207:14 (Walz, Lopez). The El Paso

Sheriff’s Office assigned Almonte and Marquez to conduct the stop. See Jan. 28, 2015, Tr. at

187:15-24 (Swainston, Lopez). On November 9, 2011, Lopez explained to Marquez that he and



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Almonte were assisting the Albuquerque DEA office in a wiretap investigation, and that the

DEA needed him and Marquez to conduct a traffic stop on a vehicle that was possibly loaded

with an unknown amount of cocaine. See Jan. 28, 2015, Tr. at 189:5-15 (Swainston, Lopez).

Lopez gave Marquez a DEA radio, see Jan. 28, 2015, Tr. at 188:19-189:4 (Swainston, Lopez),

and, later that day, pointed out Gonzalez, Sr.’s vehicle to Marquez at Gonzalez, Sr.’s hotel, see

Jan. 28, 2015, Tr. at 192:14-193:4 (Swainston, Lopez).

       Throughout the operation, Lopez communicated with Marquez on the DEA radio;

Marquez then relayed Lopez’ instructions to Almonte through the Sheriff’s Office’s radio. See

Jan. 28, 2015, Tr. at 194:11-14 (Swainston, Lopez). When Gonzalez, Sr. left his hotel, Lopez

followed him and relayed his location to Marquez, who then relayed his location to Almonte,

who conducted the stop shortly thereafter. See Jan. 28, 2015, Tr. at 194:7-196:22 (Swainston,

Lopez); id. at 202:18-22 (Walz, Lopez); id. at 226:1-16 (Swainston, Almonte). The close

cooperation between Lopez, Almonte, and Marquez satisfies the Tenth Circuit’s relatively low

threshold that there be “some communication between the officer or officers with probable cause

and the officer who executes the stop or search.” United States v. Chavez, 534 F.3d at 1347

n.13. Beyond that basic level of communication, “the underlying facts constituting probable

cause . . . need not be communicated” to the officers in the field to satisfy the Fourth

Amendment. United States v. Shareef, 100 F.3d at 1503 n.4. See United States v. Whitley, 680

F.3d at 1233 (“An arrest or stop is justified when an officer having probable cause or reasonable

suspicion instructs another officer to act, even without communicating all of the information

necessary to justify the action.”). Because Almonte and Marquez stopped Gonzalez, Sr. and

searched his trailer at the DEA’s direction, the Court may use the collective knowledge doctrine

to impute Marquez’ probable cause to Almonte and Marquez.



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       That Maestas did not communicate directly with Almonte and Marquez does not affect

the collective knowledge analysis. In United States v. Nafzger, 974 F.2d 906 (7th Cir. 1992),

FBI Agent Thomas Marquardt had reasonable suspicion to stop the defendant, and relayed that

information to a “command post” at the local sheriff’s office that sheriff’s deputies and FBI

agents manned. 974 F.2d at 908. Based on the information from Marquardt, FBI agents told the

sheriff’s deputies that the defendant was “suspected of being involved in a stolen car ring.” 974

F.2d at 908. One of those deputies executed a traffic stop of the defendant’s vehicle. See 974

F.2d at 908. Upholding the stop, the Seventh Circuit emphasized that Marquardt “was an active

member of the joint FBI state-investigative team,” and that “[b]oth Marquardt and the briefing

agents were part of a coordinated investigation, and were all in close communication with the

command post.” 974 F.2d at 914. The Seventh Circuit explained that, because Marquardt

developed reasonable suspicion to stop the defendant, “and this suspicion was presumably

relayed, via the command post, to the briefing officials, who then relayed it to [the deputy], his

stop of the defendant did not violate the Fourth Amendment.” 974 F.2d at 914. The Seventh

Circuit added that, “[w]here officers are capable of instant communication at any time,”

Marquardt’s presence “should not make any difference, so long as his justified suspicion

travelled through reliable channels . . . and eventually reached the briefing officials and then [the

deputy].” 974 F.2d at 915.

       Likewise, it is immaterial that Maestas did not brief Almonte and Marquez directly about

Gonzalez, Sr.’s pending drug shipment. Maestas’ instructions travelled through reliable channels

-- Emrich and Lopez -- and ultimately reached Almonte and Marquez. When the ultimate aim of

the Fourth Amendment is reasonableness, it seems overly formalistic to require the agent or

agents with firsthand knowledge of the information providing probable cause to brief the



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arresting officers directly. So long as the instructions of the agent with firsthand knowledge are

communicated through reliable channels -- dispatchers, formal briefings, radio broadcasts, or

other law enforcement officers -- requiring a direct line of communication would be unduly

burdensome without providing any commensurate benefits. See United States v. Williams, 429

F.3d 767, 771-72 (8th Cir. 2005)(“[W]e also hold that the collective knowledge of the DEA team

was sufficient to provide reasonable suspicion to stop [the co-defendant’s] vehicle, and such

knowledge was imputed to the officer at the scene when he received [another officer’s] radioed

request.”); United States v. Wilson, 894 F.2d 1245, 1254 (11th Cir. 1990)(“[W]hen a group of

officers is conducting an operation and there exists at least minimal communication between

them, their collective knowledge is determinative of probable cause.”).

       The Supreme Court cases that established the collective knowledge doctrine reinforce

this flexible approach. In Whiteley v. Warden, Wyo. State Penitentiary, 401 U.S. 560 (1971), a

county sheriff issued a statewide dispatch relaying the arrest warrant for an individual suspected

of a burglary. See 401 U.S. at 563. The message went first through a state transmission

network, a different county’s sheriff department received it, and then the message was relayed to

another police department whose officers subsequently arrested the defendant. See 401 U.S. at

563. The Supreme Court first noted that, despite receiving the information third- or forth-hand,

the officers “were entitled to act on the strength of the radio bulletin.” 401 U.S. at 568. The

Supreme Court ultimately found the stop unreasonable, however, because the initial officers who

issued the bulletin lacked probable cause to arrest the defendant. See 401 U.S. at 568.

       In United States v. Hensley, a law enforcement department issued a “wanted flyer” to

other police departments in the area that provided the defendant’s description, stated that he was

involved in a bank robbery, and asked the other departments to look for him and to, if possible,



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apprehend him. 469 U.S. at 232. The flyer did not communicate any of the underlying facts that

led the department to issue the flyer, however. See 469 U.S. at 226. Although a different police

department found the defendant and detained him, the Supreme Court found that the flyer

provided a sufficient connection between the departments for the collective knowledge doctrine

to apply. See 469 U.S. at 232-33. The Supreme Court reasoned that,

       [i]n an era when criminal suspects are increasingly mobile and increasingly likely
       to flee across jurisdictional boundaries, this rule is a matter of common sense: it
       minimizes the volume of information concerning suspects that must be
       transmitted to other jurisdictions and enables police in one jurisdiction to act
       promptly in reliance on information from another jurisdiction.

United States v. Hensley, 469 U.S. at 231. The pragmatic concerns that animated the Supreme

Court’s holding in United States v. Henley apply with equal force here. In an era when national

law enforcement agencies conduct nationwide investigations involving a large number of

defendants, confidential informants, undercover officers, and intercepted communications, it

makes little sense to require the agents who have firsthand knowledge of probable cause to brief

each officer who executes a search or arrest directly. Such an approach would hamstring law

enforcement officers when time is often of the essence in apprehending suspects, or in

intercepting shipments of weapons or drugs to keep them from reaching the streets. See United

States v. Robinson, 536 F.2d 1298, 1300 (9th Cir. 1976)(“[E]ffective law enforcement cannot be

conducted unless police officers can act on directions and information transmitted by one officer

to another and that officers, who must often act swiftly, cannot be expected to cross-examine

their fellow officers about the foundation for the transmitted information.”). So long as agents

and officers use reliable channels to communicate their instructions to other officers, and those

instructions accurately reach those officers, the collective knowledge doctrine allows courts to

impute the directing officers’ probable cause to the officers in the field.



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II.    THE COURT WILL NOT SUPPRESS THE COCAINE AND MARIJUANA
       DISCOVERED IN GONZALEZ, SR.’S TRAILER OR GONZALEZ, SR.’S
       STATEMENTS AS FRUIT OF AN UNLAWFUL SEARCH AND SEIZURE.41

       Once Almonte and Marquez had probable cause to believe that Gonzalez, Sr.’s trailer

contained illegal drugs, the automobile exception to the Fourth Amendment’s warrant

requirement permitted them to search “the entire [trailer], all containers therein that might

contain contraband,” without obtaining a search warrant. United States v. Bradford, 423 F.3d

1149, 1160 (10th Cir. 2005). See United States v. Sauzamedz-Mendoza, 595 F. App’x 769, 776

(10th Cir. 2014)(unpublished)(noting that the automobile exception “has been applied to trailers

as well”). Because Gonzalez, Sr.’s trailer could reasonably contain contraband, Marquez and

Almonte were entitled to search it. See United States v. Olvera, 178 F. App’x 373, 374-75 (5th

Cir. 2006)(per curiam)(unpublished)(finding wiretap surveillance and observations of suspect

provided agents with probable cause to search vehicle, including any area where contraband

could be found). Accordingly, the Court will not suppress the marijuana and cocaine that

Almonte and Marquez discovered in Gonzalez, Sr.’s trailer.

       In addition to asking the Court to suppress the illegal drugs discovered in his trailer as the

fruit of an unconstitutional search and seizure, Gonzalez, Sr. asks the Court to suppress the

statements that he made to Marquez and Montoya after he was arrested. See Motion at 7-8.

After Gonzalez, Sr. was arrested, Marquez asked him about horse trainers, and Gonzalez, Sr. told

Marquez that “[they] had stopped him too soon. If [they] would have waited, [they] would have

gotten the owner at the Pilot in Acton.” Jan. 28, 2015, Tr. at 304:22-305:25 (Marquez)(internal

quotation marks omitted). Gonzalez, Sr. told Marquez that he “was a small fish and the other

       41
         Gonzalez, Sr. has not challenged the scope of the deputies’ search of his trailer. For the
sake of thoroughness, however, the Court concludes that the automobile exception allowed them
to search “the entire vehicle, including the trunk and all containers that might contain
contraband.” United States v. Bradford, 423 F.3d at 1160.
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ones would have been a bigger catch.”       Jan. 28, 2015, Tr. at 305:2-4 (Marquez)(internal

quotation marks omitted). Marquez asked Gonzalez, Sr. if he was being followed or being

monitored, and Gonzalez, Sr. told Marquez that he “was in communication with somebody else

on a push-to-talk phone that was in the truck.” Jan. 28, 2015, Tr. at 306:4-8 (Marquez)(internal

quotation marks omitted). Marquez asked Gonzalez, Sr. why he had not told Marquez during the

traffic stop that he was possibly being followed; Gonzalez, Sr. said that “it was because he was

in the unit and there was nobody there.” Jan. 28, 2015, Tr. at 306:11-20 (Marquez)(internal

quotation marks omitted). Subsequently, as Gonzalez, Sr. was waiting for the judge to arraign

him, he blurted out in Spanish to Montoya: “Once you’re in this business, if you don’t do what

they tell you to do, even your family is in danger.”           Jan. 28, 2015, Tr. at 346:3-5

(Montoya)(internal quotation marks omitted). Montoya then asked Gonzalez, Sr. if he or his

family was in any danger, to which Gonzalez, Sr. responded: “No. I’m just saying.” Jan. 28,

2015, Tr. at 340:7-10 (Swainston, Montoya)(internal quotation marks omitted).

       In the Motion, Gonzalez, Sr. does not raise any Fifth Amendment challenges to those

statements, but argues only that they are “fruit of the poisonous tree[,] because the arrest and

comments made were a direct result of the drugs found during the illegal search.” Motion at 8.

Because the Court has concluded that Almonte and Marquez had probable cause to stop

Gonzalez, Sr.’s truck and to search his trailer based on the DEA’s investigation of the Varela

DTO, any subsequent statements that Gonzalez, Sr. made were not the fruit of an unlawful

search or seizure. Consequently, the Court will not suppress Gonzalez, Sr.’s statements on those

grounds.




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III.    IF THE COURT COULD NOT IMPUTE MAESTAS’ PROBABLE CAUSE TO
        ALMONTE AND MARQUEZ, THEIR SEARCH OF GONZALEZ, SR.’S
        TRAILER WOULD HAVE VIOLATED THE FOURTH AMENDMENT.

        If the Court could not impute Maestas’ probable cause to the deputies, their search of

Gonzalez, Sr.’s trailer would have violated the Fourth Amendment. Almonte’s initial traffic stop

of Gonzalez, Sr. was justified based on witnessing Gonzalez, Sr. commit two traffic infractions.

Once Gonzalez, Sr.’s record check came back negative, however, Almonte could not continue

holding onto his license and insurance card without reasonable suspicion that he was involved in

criminal activity. Because Almonte and Marquez did not have such reasonable suspicion, if the

Court could not impute Maestas’ probable cause to Marquez and Almonte, it would have to

suppress any contraband that the deputies discovered in a subsequent search of Gonzalez, Sr.’s

trailer, and any post-arrest statements that he made as the fruit of an unlawful search and seizure.

        A.     ALMONTE’S INITIAL TRAFFIC STOP OF GONZALEZ, SR. WAS
               JUSTIFIED.

        A routine traffic stop is “a relatively brief encounter” and “is more analogous to a so-

called Terry stop . . . than to a formal arrest.”        Knowles v. Iowa, 525 U.S. 113, 116

(1998)(internal quotation marks omitted). The first step in analyzing the reasonableness of a

routine traffic stop is determining “whether the officer’s action was justified at its inception.”

United States v. Wilson, 96 F. App’x 640, 643 (10th Cir. 2004)(unpublished). “A traffic stop is

valid under the Fourth Amendment if the stop is based on an observed traffic violation or if the

police officer has reasonable articulable suspicion that a traffic or equipment violation has

occurred or is occurring.” United States v. Reyes-Vencomo, 866 F. Supp. 2d 1304, 1334

(D.N.M. 2012)(Browning, J.)(citations omitted)(internal quotation marks omitted). Almonte was

justified in temporarily detaining Gonzalez, Sr., because he saw Gonzalez, Sr. commit two traffic

offenses: (i) displaying an expired temporary registration tag; and (ii) failing to have a license

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plate on his truck’s rear bumper.42 See Whren v. United States, 517 U.S. at 808, 819 (“Here the

District Court found that the officers had probable cause to believe that the petitioners had

violated the traffic code. That rendered the stop reasonable under the Fourth Amendment . . . .”).

       Gonzalez, Sr. concedes that the traffic stop was lawful, because he committed two traffic

violations. See Jan. 30, 2015, Tr. at 369:5-23 (Court, Walz). Although the Incident Report

mentions only that Gonzalez, Sr. “display[ed] an expired temporary registration,” Incident at 2,

and says nothing about his failure to have a license plate on his rear bumper, Almonte testified at

the suppression hearing that he saw Gonzalez, Sr. commit both violations, see Jan. 28, 2015, Tr.

at Jan. 28, 2015, Tr. at 226:22-230:11 (Swainston, Almonte).          Accordingly, Almonte was

justified in stopping Gonzalez, Sr., because he saw Gonzalez, Sr. commit two traffic infractions.

       B.      MARQUEZ AND ALMONTE IMPERMISSIBLY EXTENDED THE
               TRAFFIC STOP WHEN THEY FAILED TO RETURN GONZALEZ, SR.’S
               LICENSE AND INSURANCE.

       Like a Terry stop, a traffic stop that is lawful at its inception can violate the Fourth

Amendment if it “lasts longer than is necessary to effectuate [its] purpose.” Rodriguez v. United

States, 135 S. Ct. 1609, 1614 (2015)(citation omitted). Ordinarily, “this limits the officer to a

request for the driver’s license and registration, a computer check on the car and driver, an

inquiry about the driver’s travel plans, and the issuance of a citation.” United States v. Cervine,

347 F.3d 865, 871 (10th Cir. 2003). Once the officer completes these tasks, the driver “must be

allowed to proceed on his way unless reasonable suspicion exists that the driver is engaged in

       42
          Neither the Incident Report nor the United States identifies which sections of the Texas
Transportation Code Gonzalez, Sr. violated. Displaying an expired registration tag violates
§ 502.407(a)(1) of the Texas Transportation Code, which prohibits “operat[ing] on a public
highway . . . a motor vehicle, trailer, or semitrailer” with an expired registration tag. Tex.
Transp. Code § 502.407(a)(1). Failing to display a license plate on a vehicle’s rear bumper
violates § 504.493(a) of the Texas Transportation Code, which prohibits “operat[ing] on a public
highway . . . a motor vehicle that does not display two license plates.” Tex. Transp. Code §
504.493(a).
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criminal activity or the driver consents to additional questioning.” United States v. Gregoire,

425 F.3d 872, 879 (10th Cir. 2005).          “[I]f the officer returns the [driver’s] license and

registration” after completing those tasks, however, “and asks questions without further

constraining the driver,” the traffic stop “may become a consensual encounter, requiring no

reasonable suspicion.” United States v. West, 219 F.3d 1171, 1176 (10th Cir. 2000). The Tenth

Circuit has held that “an encounter initiated by a traffic stop may not be deemed consensual

unless the driver’s documents have been returned to [him or her].”43 United States v. Guerrero-

Espinoza, 462 F.3d 1302, 1308-09 (10th Cir. 2006)(emphasis in original)(citation

omitted)(internal quotation marks omitted).

       Almonte testified that, after obtaining Gonzalez, Sr.’s license and insurance, and asking

him a few questions, he left Marquez with Gonzalez, Sr., so that he could run a record check on

Gonzalez, Sr. in his patrol car. See Jan. 28, 2015, Tr. at 232:4-8 (Swainston, Almonte); id. at

284:7-10 (Swainston, Marquez). Almonte said that Gonzalez, Sr.’s record check came back

negative, indicating that he had no outstanding arrest warrants. See Jan. 28, 2015, Tr. at 238:8-

10 (Swainston, Almonte). Rather than returning Gonzalez, Sr.’s license and insurance to him,

however, Almonte left them in his patrol car, see Jan. 28, 2015, Tr. at 248:11-24 (Swainston,

Almonte); id. at 260:10-20 (Walz, Almonte), and proceeded to ask Gonzalez, Sr. a series of

questions -- if he had anything illegal, any cocaine, marijuana, methamphetamine, or heroin in


       43
          The Tenth Circuit has said that, during a “routine traffic stop, an officer’s retention of a
defendant’s documents is significant because it indicates that the defendant, as a general rule, did
not reasonably feel free to terminate the encounter and, therefore, the government cannot rely on
the defendant’s consent to justify further detention, questioning, or a search.” United States v.
Burch, 153 F.3d 1140, 1143 (10th Cir. 1998). Accordingly, although examining whether an
officer and driver are engaged in a consensual encounter “typically requires the court to focus on
the totality of the circumstances in a particular case, this circuit has consistently applied at least
one bright-line rule: an officer must return a driver’s documentation before the detention can
end.” United States v. Mendez, 118 F.3d 1426, 1430 (10th Cir. 1997).

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his truck, see Jan. 28, 2015, Tr. at 239:7-17 (Almonte). Gonzalez, Sr. answered no to each of

these questions. See Jan. 28, 2015, Tr. at 239:7-17 (Almonte). Only after asking this series of

questions did Almonte ask for Gonzalez, Sr.’s consent to search his trailer. See Jan. 28, 2015,

Tr. at 239:18-20 (Almonte).

       Although Almonte and Marquez could lawfully ask Gonzalez, Sr. questions “during a

lawful traffic stop that are unrelated to the stop,” their questioning could not extend the length of

stop. United States v. Guerrero-Espinoza, 462 F.3d at 1308 n.6 (emphasis in original). Once

Almonte completed the records check, and chose not to issue Gonzalez, Sr. a citation or a

warning, the purpose of the traffic stop was complete.           Because Almonte did not return

Gonzalez, Sr.’s license and insurance at that point, he needed reasonable suspicion that

Gonzalez, Sr. was involved in criminal activity to prolong the stop. See United States v. Lopez,

443 F.3d 1280, 1285-86 (10th Cir. 2006)(holding unconstitutional an officer’s five-minute

continued detention of the defendant by failing to return his driver’s license after the justification

for the initial stop was dispelled); United States v. Gregorie, 426 F.3d at 879 (“In a routine traffic

stop, a trooper may request a driver’s license, vehicle registration and other required papers, run

necessary computer checks, and then issue any warning or citation. . . . Once those tasks are

completed, a driver must be allowed to proceed on his way unless reasonable suspicion

exists . . . .”). As Almonte conceded at the suppression hearing, Gonzalez, Sr. was not free to

leave when Almonte continued asking him questions, but failed to return his license and

insurance. See Jan. 28, 2015, Tr. at 260:10-20 (Almonte).

       The United States argues that Almonte and Marquez had reasonable suspicion to extend

the traffic stop, because: (i) Gonzalez, Sr. appeared “a little more nervous than somebody who

has just committed a traffic violation,” Jan. 28, 2015, Tr. at 285:16-18 (Marquez); (ii) the interior



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of Gonzalez, Sr.’s truck was dirty: there were clothes and luggage in the back seat, several empty

water bottles, uneaten food on the floorboards, and several empty food wrappers, see Jan. 28,

2015, Tr. at 235:19-236:5 (Swainston, Almonte); id. at 298:1-25 (Swainston, Marquez); and

(iii) there were a number of inconsistencies between Gonzalez, Sr.’s answers to the deputies’

questions, see Jan. 28, 2015, Tr. at 233:23-234:14 (Swainston, Almonte); id. at 284:15-285:13

(Swainston, Marquez). These factors -- even when taken together -- did not provide Almonte

and Marquez reasonable suspicion to extend the stop.

               1.     Gonzalez, Sr.’s Alleged Nervousness.

       Gonzalez, Sr.’s alleged nervousness does not weigh heavily in favor of finding

reasonable suspicion. “The Tenth Circuit has ‘held consistently that nervousness is of limited

significance in determining whether reasonable suspicion exists.’” United States v. Hernandez-

Lopez, 761 F. Supp. 2d 1172, 1201 (D.N.M. 2010)(Browning, J.)(quoting United States v.

Simpson, 609 F.3d 1140, 1147 (10th Cir. 2010)). “Nervousness is of limited value in assessing

reasonable suspicion for two reasons.” United States v. Simpson, 609 F.3d at 1147. First, “it is

common for most citizens -- whether innocent or guilty -- to exhibit signs of nervousness when

confronted by a law enforcement officer.” United States v. Simpson, 609 F.3d at 1147 (citation

omitted)(internal quotation marks omitted). See United States v. Santos, 403 F.3d 1120, 1127

(10th Cir. 2005)(“[N]ervousness is a sufficiently common -- indeed natural -- reaction to

confrontation with the police that unless it is unusually severe or persistent, or accompanied by

other, more probative, grounds for reasonable suspicion, it is of limited significance in

determining whether reasonable suspicion exists.” (citation omitted)(internal quotation marks

omitted)). Second, “unless the police officer has had significant knowledge of a person, it is

difficult, even for a skilled police officer, to evaluate whether a person is acting normally for



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them or nervously.” United States v. Simpson, 609 F.3d at 1147. The Tenth Circuit has thus

rejected a Border Patrol agent’s bare assertion that the defendant was nervous as insufficient to

provide the agent reasonable suspicion, because he had no baseline to which he could compare

the defendant’s behavior:

       Nothing in the record indicates whether [a Border Patrol agent] had any prior
       knowledge of Defendant, so we do not understand how [the agent] would know
       whether Defendant was acting nervous and excited or whether he was merely
       acting in his normal manner. Rather, Defendant’s appearance to [the agent] is
       nothing more than an inchoate suspicion or hunch.

United States v. Bloom, 975 F.2d 1447, 1458 (10th Cir. 1992), overruled on other grounds by

United States v. Little, 18 F.3d 1499, 1504 n.5 (10th Cir. 1994)(en banc).

       Accordingly, “to take into account a suspect’s nervousness in any encounter with a law

enforcement officer, the officer must have some opportunity from which to determine a baseline

behavior, with which the officer can compare the suspect’s later nervousness.” United States v.

Villaba, 2013 WL 4782206, at *36. In United States v. Valles, 292 F.3d 678 (10th Cir. 2002),

for example, a DEA agent detained the defendant’s luggage after his behavior changed from

“very easygoing” to “extreme nervousness” when the agent asked him about his luggage. 292

F.3d at 679. Holding that the defendant’s nervousness contributed to a finding of reasonable

suspicion, the Tenth Circuit noted that the agent had the opportunity to observe the defendant’s

behavior before he directed the conversation to the defendant’s bags, “thereby giving [the agent]

a baseline behavior to which he could compare [the defendant]’s later extreme nervousness.”

292 F.3d at 681.     The Tenth Circuit found it particularly significant that the defendant’s

nervousness “greatly impacted his ability to communicate” and that the agent testified that the

defendant “wasn’t the same guy [he] was talking to thirty seconds prior.” 292 F.3d at 681.




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       Gonzalez, Sr.’s alleged nervousness does not weigh in favor of finding reasonable

suspicion, because Marquez never had an opportunity to determine Gonzalez, Sr.’s baseline

behavior.   Unlike the defendant in United States v. Valles, whose behavior completely

transformed when the DEA agent asked him about his bags, there is no evidence that Gonzalez,

Sr.’s behavior changed considerably while he interacted with Marquez when Almonte was

conducting the records check.44 That Marquez observed Gonzalez, Sr. for a only a few minutes

on the side of the road during a traffic stop at 4:00 in the morning makes it even less likely that

he had an opportunity to determine Gonzalez, Sr.’s baseline behavior. See Jan. 28, 2015, Tr. at

285:14-286:2 (Marquez).

       Although “[e]xtreme and persistent nervousness . . . is entitled to somewhat more

weight,” United States v. Simpson, 609 F.3d at 1147 (citation omitted)(internal quotation marks

omitted), Gonzalez, Sr.’s nervousness was neither extreme nor persistent. Marquez testified that

Gonzalez, Sr. “had a certain level of nervousness” that was “a little more nervous than somebody

who has just committed a traffic violation.”        Jan. 28, 2015, Tr. at 285:16-18 (Marquez).

Marquez did not find Gonzalez, Sr.’s nervousness significant enough to note it in the Incident

Report, however, and Almonte apparently did not notice it at all -- Almonte did not mention that

Gonzalez, Sr. appeared nervous at any point during his testimony at the suppression hearing. For




       44
         Marquez noted that Gonzalez, Sr.’s demeanor changed “[w]hen he asked about the drug
dog” -- he started laughing, despite the fact that they were not having a “humorous
conversation[].” Jan. 28, 2015, Tr. at 328:10-13 (Marquez). Marquez testified, however, that
Gonzalez, Sr. asked about the drug dog after Almonte asked for his consent to conduct a search,
and after Gonzalez, Sr. signed the Consent Form. See Jan. 28, 2015, Tr. at 327:9-15 (Marquez).
Neither Marquez nor Almonte testified that Gonzalez, Sr.’s demeanor changed in the key
timeframe before Almonte finished the records check and began asking Gonzalez, Sr. more
questions. Because the deputies impermissibly prolonged the traffic stop by not returning
Gonzalez, Sr.’s license and registration after his records check came back clean, it is irrelevant to
the reasonable suspicion analysis that his demeanor changed after he signed the Consent Form.
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these reasons, the Court is reluctant to give much weight to this factor in the reasonable-

suspicion analysis.

               2.      The Messy Interior of Gonzalez, Sr.’s Truck.

       The presence of trash, clothing, and uneaten food in Gonzalez, Sr.’s truck also does not

weigh heavily in favor of finding reasonable suspicion. Almonte testified that Gonzalez, Sr.’s

truck was “very dirty” -- there was “some clothing and luggage on the rear bench seat,” several

empty water bottles, “uneaten food on the floor boards, and several food wrappers and containers

empty in the vehicle.” Jan. 28, 2015, Tr. at 235:24-236:4 (Almonte). Almonte testified that the

items inside Gonzalez, Sr.’s truck were “indicative of narcotics trafficking, because traffickers

like to go from point A to point B [in] . . . as short a time as possible without stopping.” Jan. 28,

2015, Tr. at 236:22-25 (Almonte). Marquez gave an almost identical explanation why the empty

food containers in Gonzalez, Sr.’s truck were suspicious. See Jan. 28, 2015, Tr. at 289:9-15

(Marquez)(“[W]hen we find a lot of food wrappers, beverage[s] . . . , clothing thrown around, it

tells us that this person wants to get from point A to point B as quickly as possible, either

because they’ve already got contraband [or] they’re on the way to pick up contraband.”).

       The Tenth Circuit has held that the presence of trash, fast-food wrappers, and empty food

containers in a vehicle does not add much to the reasonable-suspicion calculus, because “a very

large category of presumably innocent travelers” possess such items. United States v. Wood,

106 F.3d 942, 947 (10th Cir. 1997)(“Remnants from fast-food restaurants can probably be found

on the floor of many cars traveling the interstate highways . . . .”). See United States v. Olivares-

Campos, 276 F. App’x 816, 823 (10th Cir. 2008)(unpublished)(“[A]s anyone who travels cross-

country on I-70 well knows, fast food exists in overabundance and fuels many long haul

drives.”). Other circuits agree. See Karnes v. Skrutski, 62 F.3d 485, 496 (3d Cir. 1995)(noting



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that fast-food wrappers “have become ubiquitous in modern interstate travel and do not serve to

separate the suspicious from the innocent traveler”). Drug traffickers may “like to go from point

A to point B [in] . . . as short of time as possible without stopping,” Jan. 28, 2015, Tr. at 236:22-

25 (Almonte), but so do many travelers who are not involved in illegal activities. The Court

often travels to Texas and southeastern New Mexico, and regularly eats along the way to save

time. Some of the trash from those meals inevitably ends up in the passenger seat or on the

floorboard of the Court’s vehicle. That Gonzalez, Sr. may have eaten his dinner on the road and

not have kept his truck’s interior clean does not distinguish him from the average lawful driver.

Accordingly, “any suspicion associated with these items is virtually nonexistent.” United States

v. Wood, 106 F.3d at 947.

       That there was clothing strewn about the interior of Gonzalez, Sr.’s truck also does not

weigh heavily in favor of reasonable suspicion. The United States has not provided -- and the

Court has been unable to find -- a case in which a court found the presence of clothing in a

vehicle significant in a reasonable-suspicion analysis. Although an officer’s observation that the

defendant’s amount of luggage is inconsistent with the stated purpose of his or her trip

sometimes bolsters a finding of reasonable suspicion, see United States v. Jones, 44 F.3d 860,

872 (10th Cir. 1995)(finding lack of luggage suspicious for an alleged two week trip); United

States v. Mendez, 118 F.3d 1426, 1431 (10th Cir. 1997)(noting that no luggage in either trunk or

back seat on a long-distance trip could be suspicious), the United States has not advanced that

argument here. The Court sees no reason why the presence of clothing in Gonzalez, Sr.’s

truck -- in and of itself -- suggests that he was involved in criminal activity. This factor thus

provides little support to a finding of reasonable suspicion.




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               3.      Gonzalez, Sr.’s Inconsistent Answers to the Deputies’ Questions.

       Gonzalez, Sr.’s inconsistent answers to Almonte’s and Marquez’ questions weigh in

favor of finding reasonable suspicion.       A defendant’s “[i]nconsistent answers to routine

questions” from law enforcement officers “may give rise to a reasonable suspicion.” United

States v. Gutierrez, 2008 WL 2397668, at *26 (citation omitted). See United States v. Turner,

928 F.2d 956, 959 (10th Cir. 1991)(finding reasonable suspicion established where defendant

claimed to be mechanic but had clean, well-manicured hands, expensive clothes, and a large CD

collection; car was not registered to defendant or passenger; and defendant was increasingly

nervous throughout the encounter); United States v. Pena, 920 F.2d 1509, 1514 (10th Cir.

1990)(finding reasonable suspicion where defendant had an Illinois driver’s license but drove a

car with California plates, could not provide registration for the vehicle, and gave inconsistent

answers to officers regarding his destination).

       Gonzalez, Sr. gave two inconsistent answers to the deputies’ questions on two occasions.

First, while Gonzalez, Sr. told Almonte that he was on his way to pick up a horse, see Jan. 28,

2015, Tr. at 233:23-234:14 (Swainston, Almonte), he told Marquez that he was on his way to

pick up two mares and a colt, see Jan. 28, 2015, Tr. at 284:15-23 (Swainston, Marquez). Second,

while Gonzalez, Sr. initially told Marquez that he was going to pick up two mares and a colt that

“were his,” Incident Report at 9, he later told Marquez that he was going to pick up horses “that

belonged to the owner of the farm,” Incident Report at 9. Because “[c]onfusion about details is

often an indication that a story is being fabricated on the spot,” United States v. Santos, 403 F.3d

at 1131, this factor weights in favor of finding reasonable suspicion.




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               4.      If the Court Could Not Impute Maestas’ Probable Cause to the
                       Deputies, the Totality of the Circumstances Did Not Provide the
                       Deputies Reasonable Suspicion to Continue to Detain Gonzalez, Sr.

       None of the factors on which the United States relies would, standing alone, justify the

prolonged detention of Gonzalez, Sr. Indeed, the United States acknowledges that, when viewed

independently, each of the factors is “completely innocuous.” Jan. 30, 2015, Tr. at 397:21

(Swainston). The Tenth Circuit has instructed, however, that the Court “may not . . . engage in a

divide-and-conquer analysis, evaluating and disposing of each factor individually.”          United

States v. Karam, 496 F.3d 1157, 1165 (10th Cir. 2007)(citation omitted)(internal quotation marks

omitted). The Court must instead consider “the totality of the circumstances -- the whole

picture” in determining whether Almonte and Marquez had a “particularized and objective basis

for suspecting [Gonzalez, Sr.] of criminal activity.” United States v. Cortez, 449 U.S. at 417-18.

       The Court concludes that, without imputing Maestas’ probable cause to Almonte and

Marquez, the deputies did not have reasonable suspicion that Gonzalez, Sr. was involved with

criminal activity to prolong the traffic stop. Two of the three factors upon which the deputies

relied -- that the interior of Gonzalez, Sr.’s truck was dirty and that Gonzalez, Sr. appeared “a

little more nervous than somebody who has just committed a traffic violation,” Jan. 28, 2015, Tr.

at 285:16-18 (Marquez) -- merit little to no weight in the reasonable-suspicion calculus. While

the final factor -- the inconsistencies between Gonzalez, Sr.’s statements -- weighs in favor of

finding reasonable suspicion, the totality of the circumstances is insufficient to meet the

reasonable-suspicion standard.

       Once the information from the DEA’s investigation into the Varela DTO is taken out of

the equation, this case presents similar circumstances to those in United States v. Wood. There,

the district court upheld an officer’s prolonged stop of the defendant based on five factors: (i) the



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defendant’s “unusual” travel plans: he planned a two-week vacation in California, flew there

one-way in a commercial airplane, rented a car in California, and then planned to drive the rental

car back to Kansas; (ii) the defendant was “extremely nervous” during the traffic stop; (iii) the

defendant had prior convictions involving illegal drugs; (iv) the defendant said that he rented the

car in San Francisco, California, when he had actually rented the car in Sacramento, California;

and (v) the officer saw fast-food wrappers and open maps in the passenger compartment of the

defendant’s rental car. See 106 F.3d at 946-48. The Tenth Circuit reversed, explaining that,

“[a]lthough the nature of the totality of the circumstances test makes it possible for individually

innocuous factors to add up to reasonable suspicion, it is impossible for a combination of wholly

innocent factors to combine into a suspicious conglomeration unless there are concrete reasons

for such an interpretation.” 106 F.3d at 948 (citation omitted)(internal quotation marks omitted).

The Tenth Circuit cautioned that, “[t]o sanction a finding that the Fourth Amendment permits a

seizure based on such a weak foundation would be tantamount to subjecting the traveling public

to virtually random seizures, inquisitions to obtain information which could then be used to

suggest reasonable suspicion, and arbitrary exercises of police power.” 106 F.3d at 948.

       The United States asks the Court to find reasonable suspicion for the deputies to prolong

their traffic stop of Gonzalez, Sr. based on a weaker foundation than the Tenth Circuit found

insufficient in United States v. Wood. Like the defendant in United States v. Wood, Gonzalez,

Sr. made inconsistent statements, appeared nervous during the traffic stop, and had a dirty truck.

Unlike the defendant in United States v. Wood, however, Gonzalez, Sr. had no criminal record.

Moreover, Gonzalez, Sr.’s inconsistent statements were not any more egregious than the

defendant’s in United States v. Wood. While the defendant in United States v. Wood misstated

where he picked up his rental car, Gonzalez, Sr. misstated how many horses he planned to pick



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up and to whom they belonged. Especially in light of the fact that Gonzalez, Sr. made his

statements while answering questions from two uniformed deputies on the side of the highway at

4:00 in the morning, the Court is reluctant to find that his conduct established reasonable

suspicion when the facts of this case track so closely to that of United States v. Wood. The

Court thus concludes that Marquez and Almonte impermissibly extended the traffic stop.

       If the Court could not impute Maestas’ probable cause to Marquez and Almonte, and the

deputies did not have reasonable suspicion to prolong the traffic stop, any subsequent consent

that they obtained from Gonzalez, Sr. to search his trailer was invalid.45 See United States v.

Gregory, 79 F.3d 973, 979-80 (10th Cir. 1996)(holding a search unlawful, because the preceding

illegal detention tainted it); United States v. Thompson, 712 F.2d 1356, 1361 (11th Cir.

1983)(“Because Thompson was illegally detained when he gave his consent, however, the

district court’s conclusion that Thompson’s consent was voluntary is insufficient to validate the

seizure and search.”). Accordingly, if the deputies could not rely on Maestas’ probable cause,

the Court would suppress the marijuana and cocaine, and Gonzalez, Sr.’s statements to Marquez

and Montoya as the fruit of an unlawful search. See United States v. Elliott, 107 F.3d 810, 813

       45
          The United States does not argue that, even if the deputies impermissibly prolonged the
traffic stop of Gonzalez, Sr., their unlawful seizure did not taint Gonzalez, Sr.’s subsequent
consent. In any event, the Court concludes that the taint of the deputies’ unlawful seizure of
Gonzalez, Sr. was not purged by the time the deputies obtained his consent. If a defendant’s
consent is given after an illegal stop, the United States “carries a heavy burden of showing that
the primary taint of the illegal stop was purged.” United States v. Gregory, 79 F.3d at 978. The
United States must prove, from the totality of the circumstances, a sufficient attenuation or
“break in the causal connection between the illegal detention and the consent.” United States v.
McSwain, 29 F.3d 558, 562 n.2 (10th Cir. 1994). Given the absence of any intervening
circumstances and that Gonzalez, Sr. consented to the search while the illegal detention was still
ongoing, the Court finds that the taint of the illegal seizure -- if the deputies did not have
probable cause from the DEA’s investigation -- was not purged when Gonzalez, Sr. consented to
the search. See United States v. Fernandez, 18 F.3d 874, 883 (10th Cir. 1994)(finding taint not
purged where “only moments” passed between the illegal detention and the defendant giving
consent); United States v. Maez, 872 F.2d 1444, 1447, 1455 (10th Cir. 1989)(concluding taint
not purged where defendant signed a consent form signed thirty minutes after illegal arrest).
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(10th Cir. 1997)(holding that, after a traffic stop ends, and absent reasonable suspicion or

voluntary consent to additional questioning, “any evidence derived from that questioning (or a

resulting search) is impermissibly tainted in Fourth Amendment terms”).

       C.      IF THE DEPUTIES HAD REASONABLE SUSPICION TO FURTHER
               DETAIN GONZALEZ, SR., THEIR SEARCH OF HIS TRAILER WAS
               VALID PURSUANT TO GONZALEZ, SR.’S CONSENT.

       In addition to arguing that the deputies “lacked reasonable suspicion to further detain”

him after the traffic’s stop purpose was complete, Gonzalez, Sr. also argues that he did not

voluntarily consent to the deputies’ search of his trailer. Motion at 8. “Searches conducted

pursuant to consent constitute one exception to the Fourth Amendment’s search warrant and

probable-cause requirements.” United States v. Alabi, 2013 WL 2284956, at *42. “A person

who is being detained may still give a voluntary consent,” so long as the detention was lawful.

United States v. McRae, 81 F.3d 1528, 1537 (10th Cir. 1996)(“A person who is being detained

may still give a voluntary consent.”). The United States has the burden of proving valid consent

to a warrantless search. See United States v. Cody, 7 F.3d 1523, 1526 (10th Cir. 1993). The

Tenth Circuit’s two-part test for determining whether consent is given voluntarily requires that

the United States: “(1) proffer clear and positive testimony that consent was unequivocal and

specific and intelligently given, and (2) the officers must have used no implied or express duress

or coercion.” United States v. Sanchez, 608 F.3d 685, 690 (10th Cir. 2010).

        Determining whether a party’s consent was free and voluntary is a question of fact to be

determined from the totality of the circumstances. See United States v. Peña, 143 F.3d 1363,

1366 (10th Cir. 1998). The Supreme Court and the Tenth Circuit have developed a non-

exhaustive list of factors that courts should consider when determining whether a defendant’s

consent was voluntarily given:



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       (i) the threatening presence of several officers; (ii) the use of aggressive language
       or tone of voice indicating that compliance with an officer’s request is
       compulsory, or, conversely, the officer’s pleasant manner and tone of voice;
       (iii) the prolonged retention of a person’s personal effects such as identification,
       or, conversely, the prompt return of the defendant’s identification and papers;
       (iv) the absence of other members of the public, or, conversely, whether the stop
       occurs in a public location such as the shoulder of an interstate highway, in public
       view; (v) the officer’s failure to advise the defendant that [he or] she is free to
       leave; . . . (vi) the display of a weapon[;] and (vii) physical touching by the
       officer.

United States v. Sedillo, No. CR 08-1419 JB, 2010 WL 965743, at *12 (D.N.M. Feb. 19,

2010)(Browning, J.)(citations omitted)(internal quotation marks omitted).

       If the deputies had reasonable suspicion to prolong the traffic stop, Gonzalez, Sr.

voluntarily consented to a search of his trailer under the totality of the circumstances. First, the

Court notes that Gonzalez, Sr. signed a consent-to-search form. Superimposing Gonzalez, Sr.’s

statements onto the English portion of the form, the Consent Form reads as follows:

               I, Ramon D. Gonzalez Dob 7-15-66, have been informed of my
       constitutional right guaranteed under the Fourth Amendment of the U.S.
       Constitution, not to have a search made hereinafter mentioned without a search
       warrant, and of my right to refuse consent to a search. I hereby authorize Luis
       Almonte M. Marquez, K9 Remo and K9 Remo (Police Dog), Deputy Sheriff(s) of
       the El Paso County Sheriff’s Department, to conduct a complete search of my
       2012 Dodge Truck NM72640 Sundowner Horse Trailer (premises, vehicles),
       located at Interstate 10 West Redd Rd., El Paso County, Texas. These officers are
       authorized by me to take any letter, papers, materials, or other property, which
       they may deem necessary. This written permission is given by me to the above
       named officers voluntarily and without threats, promises, or coercion of any kind.

Consent Form at 1. See Jan. 28, 2015, Tr. at 241:17-243:22 (Swainston, Almonte). The Consent

Form contains Gonzalez, Sr.’s signature, dated November 10, 2011. See Consent Form at 1.

The form does not completely resolve the question whether the consent was voluntary, but it is a

factor weighing strongly in favor of finding that it was voluntary. See United States v. Romero,

247 F. App’x 955, 961-62 (10th Cir. 2007)(unpublished)(“Consent is a factual issue to be

determined by the totality of the circumstances, not by per se rules. In other words, no one factor

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-- including the execution of a consent-to-search form -- is dispositive.”). Gonzalez, Sr. took

approximately two minutes to read and fill out the Consent Form, see Jan. 28, 2015, Tr. at

244:11-13 (Swainston, Almonte), suggesting that he had a sufficient amount of time to read and

understand it.

       That two deputies were present when Gonzalez, Sr. consented to the search and that the

deputies did not return Gonzalez, Sr.’s driver’s license and insurance both weigh in favor of

finding that Gonzalez, Sr.’s consent was involuntary. Those factors are not dispositive, however.

See United States v. Fuller, 374 F.3d 617, 622 (8th Cir. 2004)(concluding that the district court

did not clearly err in finding voluntary consent to search where the officer requesting consent

was holding the individual’s driver’s license at the time and three armed police officers were

present). Most of the other circumstances also weigh in favor of finding that Gonzalez, Sr.’s

consent was voluntary. Gonzalez, Sr. was also not in a private, isolated place when he gave his

consent; he was in the full view of the public on the side of the interstate. See United States v.

Romero, 743 F. Supp. 2d 1281, 1337 (D.N.M. 2010)(Browning, J.)(finding that the defendant’s

consent to search was voluntary, and relying, in part, on the fact that the defendant was not in a

private, isolated place when the officers asked for permission to search; rather, the defendant was

in full view of the public through the windows of the officer’s vehicle). When Gonzalez, Sr.

read and signed the Consent Form, Almonte’s drug-detection dog, Remo, was in Almonte’s

patrol car. See Jan. 28, 2015, Tr. at 245:12-19 (Swainston, Almonte). Before Gonzalez, Sr.

signed the Consent Form, his discussion with Almonte was “conversational, . . . low voice tone,

and cooperative.” Jan. 28, 2015, Tr. at 245:7-11 (Swasinton, Almonte). Almonte did not tell

Gonzalez, Sr. that he had to sign the consent or “force him to sign the consent in any way.” Jan.

28, 2015, Tr. at 245:12-15 (Swainston, Almonte). When Almonte gave the Consent Form to



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Gonzalez, Sr., Marquez took a couple steps away from Gonzalez, Sr. so that he did not feel

intimidated by two deputies being right next to him.        See Jan. 28, 2015, Tr. at 288:3-18

(Swainston, Marquez). When Gonzalez, Sr. reviewed and signed the Consent Form, he appeared

calm and was mainly silent, except when Almonte asked if he would consent to the search, and

Gonzalez, Sr. said “yes.” Jan. 28, 2015, Tr. at 245:20-246:2 (Swainston, Almonte). There was

also no evidence of “physical mistreatment, violence, threats, threats of violence, promises or

inducements or deception or trickery.” United States v. Romero, 743 F. Supp. 2d at 1338.

       The Court finds that, under the totality of circumstances, Gonzalez, Sr. voluntarily

consented to his trailer’s search. See United States v. Herrell, 41 F. App’x 224, 232-33 (10th

Cir. 2002)(unpublished)(finding that, given the totality of the circumstances, the defendant’s

consent to search the van and its contents was voluntary where: (i) the defendant signed a written

consent form consenting to the search, which informed the defendant that he did not have to sign

the form; (ii) although the defendant may not have read the form before signing it, he was within

hearing distance when another officer read the form to another person; (iii) there was no

testimony that the officer threatened the defendant, used a hostile tone of voice, touched the

defendant, or displayed his weapon; and (iv) although the defendant was detained, this factor was

not determinative); United States v. Santurio, 29 F.3d 550, 553 (10th Cir. 1994)(holding that the

district court properly found that the defendant’s consent was voluntary where the defendant read

the form before he signed it, and the district court found that the officer did not threaten the

defendant). Accordingly, if the deputies had reasonable suspicion to prolong the traffic stop of

Gonzalez, Sr., their subsequent search would have been valid pursuant to Gonzalez, Sr.’s

knowing and voluntary consent.46



       46
            Gonzalez, Sr. has not argued that the deputies’ search exceeded his consent’s
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       In sum, the Court concludes that Maestas developed probable cause to stop Gonzalez,

Sr.’s truck and to search his trailer based on the DEA’s investigation into the Varela DTO, and

that Almonte and Marquez lawfully stopped Gonzalez, Sr.’s truck and searched his trailer based

on that probable cause.47 Because the stop and search was lawful, the Court will not suppress the



permissible scope. In any event, the Court concludes that the deputies did not exceed his
consent’s permissible scope. Gonzalez, Sr. consented to a search of his truck and his trailer. See
Consent Form at 1. Pursuant to that consent, Almonte conducted a search with his drug
detection dog, Remo, who alerted to the presence of drugs in Gonzalez, Sr.’s trailer.
        It is well-settled law in the Tenth Circuit that a trained drug detecting dog’s alert, without
more, provides law enforcement officers with probable cause to search the vehicle. See United
States v. Ludwig, 10 F.3d 1523, 1527 (10th Cir. 1993); United States v. Carbajal-Iriate, 586 F.3d
at 803 (explaining that the drug detection dog’s “positive alert to the drugs in the van provided
probable cause”). Once probable cause is found, the entire vehicle may be searched, including
containers and its contents. See United States v. Ross, 456 U.S. 798, 799 (1982).
        Almonte and Marquez had probable cause to search Gonzalez, Sr.’s trailer based on
Remo’s alert. When Almonte and Remo approached Gonzalez, Sr.’s trailer, Remo immediately
alerted to the presence of drugs at the trailer’s rear. See Jan. 28, 2015, Tr. at 246:12-15
(Almonte). Remo then alerted several times along the side of the trailer and once at the trailer’s
nose. See Jan. 28, 2015, Tr. at 246:16-21 (Almonte). Almonte and Marquez thus had probable
cause to believe that there were narcotics in the trailer after Remo alerted. See United States v.
Carbajal-Iriarte, 586 F.3d at 802-03 (“Here, the officers had an independent legal basis upon
which to proceed because the dog’s positive alert to the presence of drugs in the van provided
probable cause.”).
       47
         The deputies did not disclose to Gonzalez, Sr. during the traffic stop that they obtained
probable cause to stop him and to search his trailer from the DEA’s investigation into the Varela
DTO. In fact, the Consent Form suggested that they did not have such probable cause when it
said that Gonzalez, Sr. had a “right to refuse consent to a search.” Consent Form at 1. The
deputies’ failure to inform Gonzalez, Sr. of the DEA’s investigation of the Varela DTO and the
Consent Form’s statement did not make their search of Gonzalez, Sr.’s trailer unlawful, however.
Cf. United States v. Williams, 627 F.3d at 253 (“[T]he collective knowledge doctrine is
unaffected by an officer’s use of a cover story to disguise a stop as a mere traffic stop.”).
Relying on the Supreme Court’s holding in Whren v. United States that an officer’s
“[s]ubjective intentions play no role in ordinary, probable-cause Fourth Amendment analysis,”
517 U.S. at 813, courts have held that officers may validly conduct a stop and a search of a
vehicle based on probable cause from an ongoing investigation, even where the officers do not
reveal the ongoing investigation, and instead rely on the pretext of a traffic stop and the
defendant’s consent to conduct the search. See United States v. Chavez, 660 F.3d 1215, 1225
(10th Cir. 2011)(finding a defendant validly consented to officer’s search of his vehicle, even
though the officer never disclosed that he had probable cause from an ongoing drug
investigation); United States v. Bivens, 204 F. App’x 835, 836 (11th Cir. 2006)(holding that the
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marijuana and cocaine that the deputies discovered in Gonzalez, Sr.’s trailer, or Gonzalez, Sr.’s

statements as the fruit of an unlawful search or seizure. If the Court could not impute Maestas’

probable cause to the deputies, their search of Gonzalez, Sr.’s trailer would have violated the

Fourth Amendment, and the Court would have to suppress the drugs that the deputies discovered

in Gonzalez, Sr.’s trailer, and Gonzalez, Sr.’s statements as the fruit of an unlawful search and

seizure.

          IT IS ORDERED that the Motion to Suppress, filed August 7, 2014 (Doc. 675), is

denied.

                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE

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defendant validly consented to the officer’s search, even though the officer’s Terry stop of the
defendant was a pretext to disguise a money-laundering investigation that the officer did not
disclose to the defendant.). Although the deputies’ failure to disclose the information that they
gleaned from the DEA investigation can be viewed as deceiving, pretextual stops in general are a
deceiving practice: they use the pretext of a traffic stop to conceal an officer’s true motivations
for conducting the stop. Given that the Supreme Court has made clear that an officer’s
subjective motivations for conducting a stop are irrelevant, the Court sees no sound reason why
an officer’s subjective motivations for conducting a search have any bearing on whether the
search was reasonable under the Fourth Amendment.
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